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                               EXHIBIT 6
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                                                Exhibit 6
                                   New York State (Other) Computations

  Week                                                      State     Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending               Name                                Minimum      Regular Half-Time Overtime Back
                                          Rate Week
  Date                                                     Wage       Rate Due     Due       Wages Due
  2/5/2017 Alberto Rosario - Used Cars   $11.00   59.83   $    9.70              $   109.08   $     109.08
 2/12/2017 Alberto Rosario - Used Cars   $11.00   52.35   $    9.70              $    67.93   $      67.93
 2/19/2017 Alberto Rosario - Used Cars   $11.00   61.13   $    9.70              $   116.23   $     116.23
 2/26/2017 Alberto Rosario - Used Cars   $11.00   67.15   $    9.70              $   149.33   $     149.33
  3/5/2017 Alberto Rosario - Used Cars   $11.00   61.07   $    9.70              $   115.87   $     115.87
 3/12/2017 Alberto Rosario - Used Cars   $11.00   61.08   $    9.70              $   115.96   $     115.96
 3/19/2017 Alberto Rosario - Used Cars   $11.00   45.82   $    9.70              $    31.99   $      31.99
 3/26/2017 Alberto Rosario - Used Cars   $11.00   61.73   $    9.70              $   119.53   $     119.53
  4/2/2017 Alberto Rosario - Used Cars   $11.00   61.58   $    9.70              $   118.71   $     118.71
  4/9/2017 Alberto Rosario - Used Cars   $11.00   62.08   $    9.70              $   121.46   $     121.46
 4/16/2017 Alberto Rosario - Used Cars   $11.00   63.80   $    9.70              $   130.90   $     130.90
 4/23/2017 Alberto Rosario - Used Cars   $11.00   64.22   $    9.70              $   133.19   $     133.19
 4/30/2017 Alberto Rosario - Used Cars   $11.00   58.13   $    9.70              $    99.73   $      99.73
  5/7/2017 Alberto Rosario - Used Cars   $11.00   59.42   $    9.70              $   106.79   $     106.79
 5/14/2017 Alberto Rosario - Used Cars   $11.00   62.38   $    9.70              $   123.11   $     123.11
 5/21/2017 Alberto Rosario - Used Cars   $11.00   61.30   $    9.70              $   117.15   $     117.15
 5/28/2017 Alberto Rosario - Used Cars   $11.00   61.25   $    9.70              $   116.88   $     116.88
  6/4/2017 Alberto Rosario - Used Cars   $11.00   49.80   $    9.70              $    53.90   $      53.90
 6/11/2017 Alberto Rosario - Used Cars   $11.00   61.70   $    9.70              $   119.35   $     119.35
 6/18/2017 Alberto Rosario - Used Cars   $11.00   61.73   $    9.70              $   119.53   $     119.53
 6/25/2017 Alberto Rosario - Used Cars   $11.00   52.02   $    9.70              $    66.09   $      66.09
  7/2/2017 Alberto Rosario - Used Cars   $11.00   62.82   $    9.70              $   125.49   $     125.49
  7/9/2017 Alberto Rosario - Used Cars   $11.00   51.13   $    9.70              $    61.23   $      61.23
 7/16/2017 Alberto Rosario - Used Cars   $11.00   60.90   $    9.70              $   114.95   $     114.95
 7/30/2017 Alberto Rosario - Used Cars   $11.00   65.55   $    9.70              $   140.53   $     140.53
  8/6/2017 Alberto Rosario - Used Cars   $11.00   62.48   $    9.70              $   123.66   $     123.66
 8/13/2017 Alberto Rosario - Used Cars   $11.00   62.38   $    9.70              $   123.11   $     123.11
 8/20/2017 Alberto Rosario - Used Cars   $11.00   59.77   $    9.70              $   108.72   $     108.72
 8/27/2017 Alberto Rosario - Used Cars   $11.00   61.22   $    9.70              $   116.69   $     116.69
  9/3/2017 Alberto Rosario - Used Cars   $11.00   61.70   $    9.70              $   119.35   $     119.35
 9/10/2017 Alberto Rosario - Used Cars   $11.00   48.93   $    9.70              $    49.13   $      49.13
 9/17/2017 Alberto Rosario - Used Cars   $11.00   59.05   $    9.70              $   104.78   $     104.78
 9/24/2017 Alberto Rosario - Used Cars   $11.00   59.27   $    9.70              $   105.97   $     105.97
 10/1/2017 Alberto Rosario - Used Cars   $11.00   60.23   $    9.70              $   111.28   $     111.28
 10/8/2017 Alberto Rosario - Used Cars   $11.00   58.73   $    9.70              $   103.03   $     103.03
10/15/2017 Alberto Rosario - Used Cars   $11.00   57.17   $    9.70              $    94.42   $      94.42
10/22/2017 Alberto Rosario - Used Cars   $11.00   57.58   $    9.70              $    96.71   $      96.71
10/29/2017 Alberto Rosario - Used Cars   $11.00   50.48   $    9.70              $    57.66   $      57.66
 11/5/2017 Alberto Rosario - Used Cars   $11.00   56.23   $    9.70              $    89.28   $      89.28
11/12/2017 Alberto Rosario - Used Cars   $11.00   57.23   $    9.70              $    94.78   $      94.78
11/19/2017 Alberto Rosario - Used Cars   $11.00   48.43   $    9.70              $    46.38   $      46.38
 12/3/2017 Alberto Rosario - Used Cars   $11.00   57.72   $    9.70              $    97.44   $      97.44
12/10/2017 Alberto Rosario - Used Cars   $11.00   56.97   $    9.70              $    93.32   $      93.32
12/17/2017 Alberto Rosario - Used Cars   $11.00   56.92   $    9.70              $    93.04   $      93.04
12/24/2017 Alberto Rosario - Used Cars   $11.00   57.85   $    9.70              $    98.18   $      98.18
12/31/2017 Alberto Rosario - Used Cars   $11.00   44.52   $   10.40              $    24.84   $      24.84
  1/7/2018 Alberto Rosario - Used Cars   $11.00   40.83   $   10.40              $     4.58   $       4.58
 1/14/2018 Alberto Rosario - Used Cars   $11.00   61.88   $   10.40              $   120.36   $     120.36


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                                                Exhibit 6
                                   New York State (Other) Computations

  Week                                                      State     Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending               Name                                Minimum      Regular Half-Time Overtime Back
                                          Rate Week
  Date                                                     Wage       Rate Due     Due       Wages Due
 1/21/2018 Alberto Rosario - Used Cars   $11.00   63.33   $   10.40               $   128.33   $    128.33
 1/28/2018 Alberto Rosario - Used Cars   $11.00   64.90   $   10.40               $   136.95   $    136.95
  2/4/2018 Alberto Rosario - Used Cars   $11.00   63.93   $   10.40               $   131.63   $    131.63
 2/11/2018 Alberto Rosario - Used Cars   $11.00   47.02   $   10.40               $    38.59   $     38.59
 2/18/2018 Alberto Rosario - Used Cars   $11.00   57.95   $   10.40               $    98.73   $     98.73
 2/25/2018 Alberto Rosario - Used Cars   $11.00   58.73   $   10.40               $   103.03   $    103.03
  3/4/2018 Alberto Rosario - Used Cars   $11.00   56.55   $   10.40               $    91.03   $     91.03
 3/25/2018 Alberto Rosario - Used Cars   $11.00   62.80   $   10.40               $   125.40   $    125.40
  4/1/2018 Alberto Rosario - Used Cars   $11.00   60.63   $   10.40               $   113.48   $    113.48
  4/8/2018 Alberto Rosario - Used Cars   $11.00   61.60   $   10.40               $   118.80   $    118.80
 4/15/2018 Alberto Rosario - Used Cars   $11.00   53.52   $   10.40               $    74.34   $     74.34
 4/22/2018 Alberto Rosario - Used Cars   $11.00   64.50   $   10.40               $   134.75   $    134.75
 4/29/2018 Alberto Rosario - Used Cars   $11.00   58.08   $   10.40               $    99.46   $     99.46
  5/6/2018 Alberto Rosario - Used Cars   $11.00   60.78   $   10.40               $   114.31   $    114.31
 5/13/2018 Alberto Rosario - Used Cars   $11.00   59.08   $   10.40               $   104.96   $    104.96
 5/20/2018 Alberto Rosario - Used Cars   $11.00   50.37   $   10.40               $    57.02   $     57.02
 5/27/2018 Alberto Rosario - Used Cars   $11.00   64.15   $   10.40               $   132.83   $    132.83
  6/3/2018 Alberto Rosario - Used Cars   $11.00   49.73   $   10.40               $    53.53   $     53.53
 6/10/2018 Alberto Rosario - Used Cars   $11.00   62.53   $   10.40               $   123.93   $    123.93
 6/17/2018 Alberto Rosario - Used Cars   $11.00   61.25   $   10.40               $   116.88   $    116.88
 6/24/2018 Alberto Rosario - Used Cars   $11.00   60.23   $   10.40               $   111.28   $    111.28
  7/1/2018 Alberto Rosario - Used Cars   $11.00   51.05   $   10.40               $    60.78   $     60.78
 7/15/2018 Alberto Rosario - Used Cars   $11.00   60.90   $   10.40               $   114.95   $    114.95
 7/22/2018 Alberto Rosario - Used Cars   $11.00   62.80   $   10.40               $   125.40   $    125.40
 7/29/2018 Alberto Rosario - Used Cars   $11.00   62.37   $   10.40               $   123.02   $    123.02
  8/5/2018 Alberto Rosario - Used Cars   $11.00   57.58   $   10.40               $    96.71   $     96.71
 8/12/2018 Alberto Rosario - Used Cars   $11.00   58.98   $   10.40               $   104.41   $    104.41
 8/19/2018 Alberto Rosario - Used Cars   $11.00   58.02   $   10.40               $    99.09   $     99.09
 8/26/2018 Alberto Rosario - Used Cars   $11.00   48.40   $   10.40               $    46.20   $     46.20
  9/2/2018 Alberto Rosario - Used Cars   $11.00   59.25   $   10.40               $   105.88   $    105.88
  9/9/2018 Alberto Rosario - Used Cars   $11.00   49.72   $   10.40               $    53.44   $     53.44
 9/16/2018 Alberto Rosario - Used Cars   $11.00   58.52   $   10.40               $   101.84   $    101.84
 9/23/2018 Alberto Rosario - Used Cars   $11.00   55.40   $   10.40               $    84.70   $     84.70
 10/7/2018 Alberto Rosario - Used Cars   $11.00   46.52   $   10.40               $    35.84   $     35.84
10/14/2018 Alberto Rosario - Used Cars   $11.00   59.47   $   10.40               $   107.07   $    107.07
10/21/2018 Alberto Rosario - Used Cars   $11.00   60.07   $   10.40               $   110.37   $    110.37
10/28/2018 Alberto Rosario - Used Cars   $11.00   62.27   $   10.40               $   122.47   $    122.47
 11/4/2018 Alberto Rosario - Used Cars   $11.00   50.80   $   10.40               $    59.40   $     59.40
11/11/2018 Alberto Rosario - Used Cars   $11.00   60.32   $   10.40               $   111.74   $    111.74
11/18/2018 Alberto Rosario - Used Cars   $11.00   55.23   $   10.40               $    83.78   $     83.78
11/25/2018 Alberto Rosario - Used Cars   $11.00   49.50   $   10.40               $    52.25   $     52.25
 12/2/2018 Alberto Rosario - Used Cars   $11.00   58.93   $   10.40               $   104.13   $    104.13
 12/9/2018 Alberto Rosario - Used Cars   $11.00   50.03   $   10.40               $    55.18   $     55.18
12/16/2018 Alberto Rosario - Used Cars   $11.00   59.62   $   10.40               $   107.89   $    107.89
12/23/2018 Alberto Rosario - Used Cars   $11.00   57.33   $   10.40               $    95.33   $     95.33
 1/13/2019 Alberto Rosario - Used Cars   $11.00   43.17   $   11.10   $    4.32   $    17.58   $     21.89
 1/20/2019 Alberto Rosario - Used Cars   $11.00   54.03   $   11.10   $    5.40   $    77.89   $     83.29
 1/27/2019 Alberto Rosario - Used Cars   $11.00   55.12   $   11.10   $    5.51   $    83.90   $     89.41


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                                                Exhibit 6
                                   New York State (Other) Computations

  Week                                                      State     Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending               Name                                Minimum      Regular Half-Time Overtime Back
                                          Rate Week
  Date                                                     Wage       Rate Due     Due       Wages Due
  2/3/2019 Alberto Rosario - Used Cars   $11.00   46.15   $   11.10   $    4.61   $    34.13   $     38.75
 2/10/2019 Alberto Rosario - Used Cars   $11.00   56.03   $   11.10   $    5.60   $    88.99   $     94.59
 2/24/2019 Alberto Rosario - Used Cars   $11.00   53.58   $   11.10   $    5.36   $    75.39   $     80.75
  3/3/2019 Alberto Rosario - Used Cars   $11.00   46.77   $   11.10   $    4.68   $    37.56   $     42.23
 1/26/2020 Andrew William Alexander      $11.50   47.87   $   11.80   $   14.36   $    46.41   $     60.77
 5/28/2017 Ariel Hernandez               $15.00   53.12   $    9.70               $    98.38   $     98.38
 6/11/2017 Ariel Hernandez               $15.00   44.12   $    9.70               $    30.88   $     30.88
 6/18/2017 Ariel Hernandez               $15.00   53.12   $    9.70               $    98.38   $     98.38
 6/25/2017 Ariel Hernandez               $15.00   52.33   $    9.70               $    92.50   $     92.50
  7/2/2017 Ariel Hernandez               $15.00   57.80   $    9.70               $   133.50   $    133.50
 7/16/2017 Ariel Hernandez               $15.00   58.97   $    9.70               $   142.25   $    142.25
 7/23/2017 Ariel Hernandez               $15.00   48.57   $    9.70               $    64.25   $     64.25
 7/30/2017 Ariel Hernandez               $15.00   53.17   $    9.70               $    98.75   $     98.75
  8/6/2017 Ariel Hernandez               $15.00   58.15   $    9.70               $   136.13   $    136.13
 8/13/2017 Ariel Hernandez               $15.00   58.07   $    9.70               $   135.50   $    135.50
 8/20/2017 Ariel Hernandez               $15.00   50.50   $    9.70               $    78.75   $     78.75
 8/27/2017 Ariel Hernandez               $15.00   58.18   $    9.70               $   136.38   $    136.38
  9/3/2017 Ariel Hernandez               $15.00   57.77   $    9.70               $   133.25   $    133.25
 9/10/2017 Ariel Hernandez               $15.00   48.08   $    9.70               $    60.63   $     60.63
 9/17/2017 Ariel Hernandez               $15.00   58.68   $    9.70               $   140.13   $    140.13
 9/24/2017 Ariel Hernandez               $15.00   59.37   $    9.70               $   145.25   $    145.25
 10/1/2017 Ariel Hernandez               $15.00   57.90   $    9.70               $   134.25   $    134.25
 10/8/2017 Ariel Hernandez               $15.00   59.23   $    9.70               $   144.25   $    144.25
10/15/2017 Ariel Hernandez               $15.00   59.68   $    9.70               $   147.63   $    147.63
10/22/2017 Ariel Hernandez               $15.00   60.75   $    9.70               $   155.63   $    155.63
10/29/2017 Ariel Hernandez               $15.00   59.80   $    9.70               $   148.50   $    148.50
 11/5/2017 Ariel Hernandez               $15.00   55.60   $    9.70               $   117.00   $    117.00
11/12/2017 Ariel Hernandez               $15.00   56.50   $    9.70               $   123.75   $    123.75
11/19/2017 Ariel Hernandez               $15.00   51.23   $    9.70               $    84.25   $     84.25
 12/3/2017 Ariel Hernandez               $15.00   54.12   $    9.70               $   105.88   $    105.88
12/10/2017 Ariel Hernandez               $15.00   53.40   $    9.70               $   100.50   $    100.50
12/17/2017 Ariel Hernandez               $15.00   51.37   $    9.70               $    85.25   $     85.25
12/24/2017 Ariel Hernandez               $15.00   52.52   $    9.70               $    93.88   $     93.88
12/31/2017 Ariel Hernandez               $15.00   45.70   $   10.40               $    42.75   $     42.75
  1/7/2018 Ariel Hernandez               $15.00   46.40   $   10.40               $    48.00   $     48.00
 1/14/2018 Ariel Hernandez               $15.00   53.77   $   10.40               $   103.25   $    103.25
 1/21/2018 Ariel Hernandez               $15.00   54.13   $   10.40               $   106.00   $    106.00
 1/28/2018 Ariel Hernandez               $15.00   53.23   $   10.40               $    99.25   $     99.25
  2/4/2018 Ariel Hernandez               $15.00   54.48   $   10.40               $   108.63   $    108.63
 2/11/2018 Ariel Hernandez               $15.00   51.03   $   10.40               $    82.75   $     82.75
 2/18/2018 Ariel Hernandez               $15.00   56.62   $   10.40               $   124.63   $    124.63
 2/25/2018 Ariel Hernandez               $15.00   55.22   $   10.40               $   114.13   $    114.13
  3/4/2018 Ariel Hernandez               $15.00   53.68   $   10.40               $   102.63   $    102.63
 3/25/2018 Ariel Hernandez               $15.00   55.70   $   10.40               $   117.75   $    117.75
  4/1/2018 Ariel Hernandez               $15.00   54.22   $   10.40               $   106.63   $    106.63
  4/8/2018 Ariel Hernandez               $15.00   46.87   $   10.40               $    51.50   $     51.50
 4/15/2018 Ariel Hernandez               $15.00   42.95   $   10.40               $    22.13   $     22.13
 4/22/2018 Ariel Hernandez               $15.00   42.50   $   10.40               $    18.75   $     18.75


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                                          Exhibit 6
                             New York State (Other) Computations

  Week                                               State     Section 7: Section 7: Total Section 7
                                  Hourly Hours/
 Ending               Name                         Minimum      Regular Half-Time Overtime Back
                                   Rate Week
  Date                                              Wage       Rate Due     Due       Wages Due
 4/29/2018 Ariel Hernandez        $15.00   56.62   $   10.40              $   124.63   $     124.63
  5/6/2018 Ariel Hernandez        $15.00   53.75   $   10.40              $   103.13   $     103.13
 5/13/2018 Ariel Hernandez        $15.00   52.25   $   10.40              $    91.88   $      91.88
 5/20/2018 Ariel Hernandez        $15.00   52.48   $   10.40              $    93.63   $      93.63
 5/27/2018 Ariel Hernandez        $15.00   45.52   $   10.40              $    41.38   $      41.38
  6/3/2018 Ariel Hernandez        $15.00   43.40   $   10.40              $    25.50   $      25.50
 6/10/2018 Ariel Hernandez        $15.00   42.18   $   10.40              $    16.38   $      16.38
 6/17/2018 Ariel Hernandez        $15.00   45.55   $   10.40              $    41.63   $      41.63
 6/24/2018 Ariel Hernandez        $15.00   46.45   $   10.40              $    48.38   $      48.38
  7/1/2018 Ariel Hernandez        $15.00   45.22   $   10.40              $    39.13   $      39.13
 7/22/2018 Ariel Hernandez        $15.00   43.22   $   10.40              $    24.13   $      24.13
 7/29/2018 Ariel Hernandez        $15.00   50.97   $   10.40              $    82.25   $      82.25
  8/5/2018 Ariel Hernandez        $15.00   51.53   $   10.40              $    86.50   $      86.50
 8/12/2018 Ariel Hernandez        $15.00   52.72   $   10.40              $    95.38   $      95.38
 8/19/2018 Ariel Hernandez        $15.00   54.08   $   10.40              $   105.63   $     105.63
 8/26/2018 Ariel Hernandez        $15.00   52.72   $   10.40              $    95.37   $      95.37
  9/2/2018 Ariel Hernandez        $15.00   54.52   $   10.40              $   108.88   $     108.88
  9/9/2018 Ariel Hernandez        $15.00   45.08   $   10.40              $    38.13   $      38.13
 9/16/2018 Ariel Hernandez        $15.00   54.58   $   10.40              $   109.38   $     109.38
 9/23/2018 Ariel Hernandez        $15.00   52.03   $   10.40              $    90.25   $      90.25
 9/30/2018 Ariel Hernandez        $15.00   57.73   $   10.40              $   133.00   $     133.00
 10/7/2018 Ariel Hernandez        $15.00   44.72   $   10.40              $    35.38   $      35.38
10/14/2018 Ariel Hernandez        $15.00   42.85   $   10.40              $    21.38   $      21.38
10/28/2018 Ariel Hernandez        $15.00   43.98   $   10.40              $    29.88   $      29.88
 11/4/2018 Ariel Hernandez        $15.00   51.62   $   10.40              $    87.13   $      87.13
11/11/2018 Ariel Hernandez        $15.00   48.63   $   10.40              $    64.75   $      64.75
 12/2/2018 Ariel Hernandez        $15.00   50.83   $   10.40              $    81.25   $      81.25
 12/9/2018 Ariel Hernandez        $15.00   47.70   $   10.40              $    57.75   $      57.75
  1/6/2019 Ariel Hernandez        $15.00   40.97   $   11.10              $     7.25   $       7.25
 1/13/2019 Ariel Hernandez        $15.00   41.90   $   11.10              $    14.25   $      14.25
 1/20/2019 Ariel Hernandez        $15.00   42.60   $   11.10              $    19.50   $      19.50
 1/27/2019 Ariel Hernandez        $15.00   41.48   $   11.10              $    11.13   $      11.13
  2/3/2019 Ariel Hernandez        $15.00   43.90   $   11.10              $    29.25   $      29.25
 2/10/2019 Ariel Hernandez        $15.00   42.53   $   11.10              $    19.00   $      19.00
 2/17/2019 Ariel Hernandez        $15.00   42.28   $   11.10              $    17.13   $      17.13
 2/24/2019 Ariel Hernandez        $15.00   46.35   $   11.10              $    47.63   $      47.63
  3/3/2019 Ariel Hernandez        $15.00   44.33   $   11.10              $    32.50   $      32.50
 3/10/2019 Ariel Hernandez        $15.00   45.90   $   11.10              $    44.25   $      44.25
 3/24/2019 Ariel Hernandez        $15.00   51.67   $   11.10              $    87.50   $      87.50
 3/31/2019 Ariel Hernandez        $15.00   52.28   $   11.10              $    92.13   $      92.13
  4/7/2019 Ariel Hernandez        $15.00   48.25   $   11.10              $    61.88   $      61.88
 4/14/2019 Ariel Hernandez        $15.00   40.87   $   11.10              $     6.50   $       6.50
 4/21/2019 Ariel Hernandez        $15.00   43.95   $   11.10              $    29.63   $      29.63
 4/28/2019 Ariel Hernandez        $15.00   49.70   $   11.10              $    72.75   $      72.75
 5/19/2019 Ariel Hernandez        $15.00   46.60   $   11.10              $    49.50   $      49.50
 5/26/2019 Ariel Hernandez        $15.00   53.42   $   11.10              $   100.63   $     100.63
 7/21/2019 Ariel Hernandez        $15.00   41.35   $   11.10              $    10.13   $      10.13
11/24/2019 Ariel Hernandez        $15.00   41.90   $   11.10              $    14.25   $      14.25


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                                          Exhibit 6
                             New York State (Other) Computations

  Week                                               State     Section 7: Section 7: Total Section 7
                                  Hourly Hours/
 Ending              Name                          Minimum      Regular Half-Time Overtime Back
                                   Rate Week
  Date                                              Wage       Rate Due     Due       Wages Due
 1/19/2020 Ariel Hernandez        $15.00   47.95   $   11.80               $    59.63   $     59.63
 8/12/2018 Armando Gomez          $11.00   52.28   $   10.40               $    67.56   $     67.56
 8/26/2018 Armando Gomez          $11.00   41.78   $   10.40               $     9.81   $      9.81
  9/2/2018 Armando Gomez          $11.00   49.03   $   10.40               $    49.68   $     49.68
  9/9/2018 Armando Gomez          $11.00   44.78   $   10.40               $    26.31   $     26.31
 9/16/2018 Armando Gomez          $11.00   44.75   $   10.40               $    26.13   $     26.13
 9/23/2018 Armando Gomez          $11.00   53.68   $   10.40               $    75.26   $     75.26
 9/30/2018 Armando Gomez          $11.00   54.37   $   10.40               $    79.02   $     79.02
10/14/2018 Armando Gomez          $11.00   49.90   $   10.40               $    54.45   $     54.45
10/21/2018 Armando Gomez          $11.00   47.68   $   10.40               $    42.26   $     42.26
10/28/2018 Armando Gomez          $11.00   46.22   $   10.40               $    34.19   $     34.19
 11/4/2018 Armando Gomez          $11.00   41.05   $   10.40               $     5.77   $      5.77
11/11/2018 Armando Gomez          $11.00   41.15   $   10.40               $     6.32   $      6.32
 12/9/2018 Armando Gomez          $11.00   40.85   $   10.40               $     4.68   $      4.68
12/16/2018 Armando Gomez          $11.00   49.68   $   10.40               $    53.26   $     53.26
 3/25/2018 Arnulfo Mena            $9.50   43.45   $   10.40   $   39.11   $    17.94   $     57.05
 4/15/2018 Arnulfo Mena            $9.50   50.23   $   10.40   $   45.21   $    53.21   $     98.42
 4/22/2018 Arnulfo Mena            $9.50   60.35   $   10.40   $   54.32   $   105.82   $    160.14
 4/29/2018 Arnulfo Mena            $9.50   51.28   $   10.40   $   46.16   $    58.67   $    104.83
  5/6/2018 Arnulfo Mena            $9.50   58.92   $   10.40   $   53.03   $    98.37   $    151.39
 5/13/2018 Arnulfo Mena            $9.50   55.70   $   10.40   $   50.13   $    81.64   $    131.77
 5/20/2018 Arnulfo Mena            $9.50   49.97   $   10.40   $   44.97   $    51.83   $     96.80
 5/27/2018 Arnulfo Mena            $9.50   58.67   $   10.40   $   52.80   $    97.07   $    149.87
  6/3/2018 Arnulfo Mena            $9.50   40.88   $   10.40   $   36.80   $     4.59   $     41.39
 6/10/2018 Arnulfo Mena            $9.50   51.57   $   10.40   $   46.41   $    60.15   $    106.56
 6/17/2018 Arnulfo Mena            $9.50   55.27   $   10.40   $   49.74   $    79.39   $    129.13
 6/24/2018 Arnulfo Mena            $9.50   57.95   $   10.40   $   52.16   $    93.34   $    145.50
  7/1/2018 Arnulfo Mena            $9.50   55.73   $   10.40   $   50.16   $    81.81   $    131.97
 7/22/2018 Arnulfo Mena            $9.50   47.20   $   10.40   $   42.48   $    37.44   $     79.92
 7/29/2018 Arnulfo Mena            $9.50   53.52   $   10.40   $   48.17   $    70.29   $    118.45
  8/5/2018 Arnulfo Mena            $9.50   46.28   $   10.40   $   41.66   $    32.67   $     74.33
 8/12/2018 Arnulfo Mena            $9.50   44.00   $   10.40   $   39.60   $    20.80   $     60.40
 8/19/2018 Arnulfo Mena            $9.50   44.62   $   10.40   $   40.16   $    24.01   $     64.16
 8/26/2018 Arnulfo Mena            $9.50   53.05   $   10.40   $   47.75   $    67.86   $    115.61
  9/2/2018 Arnulfo Mena            $9.50   61.63   $   10.40   $   55.47   $   112.49   $    167.96
  9/9/2018 Arnulfo Mena            $9.50   42.22   $   10.40   $   38.00   $    11.53   $     49.52
 9/16/2018 Arnulfo Mena            $9.50   55.98   $   10.40   $   50.39   $    83.11   $    133.50
 9/23/2018 Arnulfo Mena            $9.50   54.53   $   10.40   $   49.08   $    75.57   $    124.65
 9/30/2018 Arnulfo Mena            $9.50   47.85   $   10.40   $   43.07   $    40.82   $     83.89
 10/7/2018 Arnulfo Mena            $9.50   49.48   $   10.40   $   44.54   $    49.31   $     93.85
 9/29/2019 Artis Bowden           $11.50   51.45   $   11.10               $    65.84   $     65.84
 10/6/2019 Artis Bowden           $11.50   49.05   $   11.10               $    52.04   $     52.04
10/13/2019 Artis Bowden           $11.50   58.13   $   11.10               $   104.27   $    104.27
10/20/2019 Artis Bowden           $11.80   65.97   $   11.10               $   153.20   $    153.20
10/27/2019 Artis Bowden           $11.80   68.60   $   11.10               $   168.74   $    168.74
 11/3/2019 Artis Bowden           $11.80   54.67   $   11.10               $    86.53   $     86.53
11/10/2019 Artis Bowden           $11.80   47.57   $   11.10               $    44.64   $     44.64
11/17/2019 Artis Bowden           $11.80   94.82   $   11.10               $   323.42   $    323.42


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                                           Exhibit 6
                              New York State (Other) Computations

  Week                                                State     Section 7: Section 7: Total Section 7
                                   Hourly Hours/
 Ending                Name                         Minimum      Regular Half-Time Overtime Back
                                    Rate Week
  Date                                               Wage       Rate Due     Due       Wages Due
 12/1/2019 Artis Bowden            $11.80   51.47   $   11.10               $    67.65   $     67.65
 12/8/2019 Artis Bowden            $11.80   45.52   $   11.10               $    32.55   $     32.55
12/15/2019 Artis Bowden            $11.50   54.17   $   11.10               $    81.46   $     81.46
12/22/2019 Artis Bowden            $11.50   62.20   $   11.10               $   127.65   $    127.65
12/29/2019 Artis Bowden            $11.50   42.30   $   11.10               $    13.23   $     13.23
  1/5/2020 Artis Bowden            $11.50   44.08   $   11.80   $   13.23   $    24.09   $     37.32
 1/12/2020 Artis Bowden            $11.50   60.63   $   11.80   $   18.19   $   121.74   $    139.93
 1/26/2020 Artis Bowden            $11.50   55.50   $   11.80   $   16.65   $    91.45   $    108.10
  7/7/2019 Bashir Irving           $11.00   43.80   $   11.10   $    4.38   $    21.09   $     25.47
 7/14/2019 Bashir Irving           $11.00   42.90   $   11.10   $    4.29   $    16.10   $     20.39
 7/21/2019 Bashir Irving           $11.00   52.28   $   11.10   $    5.23   $    68.17   $     73.40
 7/28/2019 Bashir Irving           $11.00   43.85   $   11.10   $    4.38   $    21.37   $     25.75
  8/4/2019 Bashir Irving           $11.00   49.85   $   11.10   $    4.98   $    54.67   $     59.65
 8/11/2019 Bashir Irving           $11.00   50.28   $   11.10   $    5.03   $    57.07   $     62.10
 8/18/2019 Bashir Irving           $11.00   44.23   $   11.10   $    4.42   $    23.50   $     27.92
 8/25/2019 Bashir Irving           $11.00   54.43   $   11.10   $    5.44   $    80.11   $     85.55
  9/1/2019 Bashir Irving           $11.00   49.62   $   11.10   $    4.96   $    53.37   $     58.33
  9/8/2019 Bashir Irving           $11.00   41.08   $   11.10   $    4.11   $     6.01   $     10.12
 9/15/2019 Bashir Irving           $11.00   41.73   $   11.10   $    4.17   $     9.62   $     13.79
 9/22/2019 Bashir Irving           $11.00   43.13   $   11.10   $    4.31   $    17.39   $     21.70
 9/29/2019 Bashir Irving           $11.00   41.92   $   11.10   $    4.19   $    10.64   $     14.83
 10/6/2019 Bashir Irving           $11.00   44.05   $   11.10   $    4.40   $    22.48   $     26.88
10/13/2019 Bashir Irving           $11.00   51.42   $   11.10   $    5.14   $    63.36   $     68.50
10/20/2019 Bashir Irving           $11.00   46.17   $   11.10   $    4.62   $    34.23   $     38.84
 11/3/2019 Bashir Irving           $11.00   43.60   $   11.10   $    4.36   $    19.98   $     24.34
11/17/2019 Bashir Irving           $11.00   42.20   $   11.10   $    4.22   $    12.21   $     16.43
 4/23/2017 Bryan Nin               $11.00   62.52   $    9.70               $   123.84   $    123.84
 4/30/2017 Bryan Nin               $11.00   58.10   $    9.70               $    99.55   $     99.55
  5/7/2017 Bryan Nin               $11.00   59.40   $    9.70               $   106.70   $    106.70
 5/14/2017 Bryan Nin               $11.00   62.10   $    9.70               $   121.55   $    121.55
 5/21/2017 Bryan Nin               $11.00   61.23   $    9.70               $   116.78   $    116.78
 5/28/2017 Bryan Nin               $11.00   61.27   $    9.70               $   116.97   $    116.97
  6/4/2017 Bryan Nin               $11.00   54.85   $    9.70               $    81.68   $     81.68
 6/11/2017 Bryan Nin               $11.00   61.48   $    9.70               $   118.16   $    118.16
 6/18/2017 Bryan Nin               $11.00   60.98   $    9.70               $   115.41   $    115.41
 6/25/2017 Bryan Nin               $11.00   60.97   $    9.70               $   115.32   $    115.32
  7/2/2017 Bryan Nin               $11.00   62.38   $    9.70               $   123.11   $    123.11
  7/9/2017 Bryan Nin               $11.00   51.15   $    9.70               $    61.33   $     61.33
 7/16/2017 Bryan Nin               $11.00   60.95   $    9.70               $   115.23   $    115.23
 7/23/2017 Bryan Nin               $11.00   60.33   $    9.70               $   111.83   $    111.83
 7/30/2017 Bryan Nin               $11.00   62.83   $    9.70               $   125.58   $    125.58
  8/6/2017 Bryan Nin               $11.00   62.13   $    9.70               $   121.73   $    121.73
 8/13/2017 Bryan Nin               $11.00   53.85   $    9.70               $    76.18   $     76.18
 8/20/2017 Bryan Nin               $11.00   59.27   $    9.70               $   105.97   $    105.97
 8/27/2017 Bryan Nin               $11.00   49.83   $    9.70               $    54.08   $     54.08
  9/3/2017 Bryan Nin               $11.00   61.67   $    9.70               $   119.17   $    119.17
 9/10/2017 Bryan Nin               $11.00   49.15   $    9.70               $    50.33   $     50.33
 9/17/2017 Bryan Nin               $11.00   58.52   $    9.70               $   101.84   $    101.84


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                                                 Exhibit 6
                                    New York State (Other) Computations

  Week                                                      State     Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending                Name                               Minimum      Regular Half-Time Overtime Back
                                          Rate Week
  Date                                                     Wage       Rate Due     Due       Wages Due
 9/24/2017 Bryan Nin                     $11.00   59.30   $    9.70              $   106.15   $     106.15
 10/1/2017 Bryan Nin                     $11.00   59.00   $    9.70              $   104.50   $     104.50
11/12/2017 Bryan Nin                     $11.00   56.93   $    9.70              $    93.13   $      93.13
12/31/2017 Bryan Nin                     $11.00   40.40   $   10.40              $     2.20   $       2.20
 1/21/2018 Carlos Irving Tellez Burgoa   $10.50   58.67   $   10.40              $    98.00   $      98.00
 1/28/2018 Carlos Irving Tellez Burgoa   $10.50   53.57   $   10.40              $    71.23   $      71.23
  2/4/2018 Carlos Irving Tellez Burgoa   $10.50   58.85   $   10.40              $    98.96   $      98.96
 2/11/2018 Carlos Irving Tellez Burgoa   $10.50   55.77   $   10.40              $    82.78   $      82.78
 2/18/2018 Carlos Irving Tellez Burgoa   $10.50   57.08   $   10.40              $    89.69   $      89.69
  3/4/2018 Carlos Irving Tellez Burgoa   $10.50   55.03   $   10.40              $    78.93   $      78.93
 3/25/2018 Carlos Irving Tellez Burgoa   $10.50   40.55   $   10.40              $     2.89   $       2.89
 3/19/2017 Confesor Feliz                $10.50   45.83   $    9.70              $    30.63   $      30.63
 3/25/2018 Cristian Mena                 $14.00   53.43   $   10.40              $    94.03   $      94.03
  4/1/2018 Cristian Mena                 $14.00   59.13   $   10.40              $   133.93   $     133.93
  4/8/2018 Cristian Mena                 $14.00   55.53   $   10.40              $   108.73   $     108.73
 4/15/2018 Cristian Mena                 $14.00   62.80   $   10.40              $   159.60   $     159.60
 4/22/2018 Cristian Mena                 $14.00   60.43   $   10.40              $   143.03   $     143.03
 4/29/2018 Cristian Mena                 $14.00   47.90   $   10.40              $    55.30   $      55.30
  5/6/2018 Cristian Mena                 $14.00   60.63   $   10.40              $   144.43   $     144.43
 5/13/2018 Cristian Mena                 $14.00   48.55   $   10.40              $    59.85   $      59.85
 5/20/2018 Cristian Mena                 $14.00   59.53   $   10.40              $   136.73   $     136.73
 5/27/2018 Cristian Mena                 $14.00   61.37   $   10.40              $   149.57   $     149.57
  6/3/2018 Cristian Mena                 $14.00   48.92   $   10.40              $    62.42   $      62.42
 6/10/2018 Cristian Mena                 $14.00   61.68   $   10.40              $   151.78   $     151.78
 6/17/2018 Cristian Mena                 $14.00   61.40   $   10.40              $   149.80   $     149.80
 6/24/2018 Cristian Mena                 $14.00   59.95   $   10.40              $   139.65   $     139.65
  7/1/2018 Cristian Mena                 $14.00   62.23   $   10.40              $   155.63   $     155.63
  7/8/2018 Cristian Mena                 $14.00   46.92   $   10.40              $    48.42   $      48.42
 7/15/2018 Cristian Mena                 $14.00   59.63   $   10.40              $   137.43   $     137.43
 7/22/2018 Cristian Mena                 $14.00   58.27   $   10.40              $   127.87   $     127.87
 7/29/2018 Cristian Mena                 $14.00   59.95   $   10.40              $   139.65   $     139.65
  8/5/2018 Cristian Mena                 $14.00   61.70   $   10.40              $   151.90   $     151.90
 8/12/2018 Cristian Mena                 $14.00   61.72   $   10.40              $   152.02   $     152.02
 8/19/2018 Cristian Mena                 $14.00   58.22   $   10.40              $   127.52   $     127.52
 8/26/2018 Cristian Mena                 $14.00   63.63   $   10.40              $   165.43   $     165.43
  9/2/2018 Cristian Mena                 $14.00   63.08   $   10.40              $   161.58   $     161.58
  9/9/2018 Cristian Mena                 $14.00   46.12   $   10.40              $    42.82   $      42.82
 9/16/2018 Cristian Mena                 $14.00   61.37   $   10.40              $   149.57   $     149.57
 9/23/2018 Cristian Mena                 $14.00   52.20   $   10.40              $    85.40   $      85.40
 9/30/2018 Cristian Mena                 $14.00   59.98   $   10.40              $   139.88   $     139.88
 10/7/2018 Cristian Mena                 $14.00   60.72   $   10.40              $   145.02   $     145.02
10/14/2018 Cristian Mena                 $14.00   61.07   $   10.40              $   147.47   $     147.47
10/21/2018 Cristian Mena                 $14.00   52.60   $   10.40              $    88.20   $      88.20
10/28/2018 Cristian Mena                 $14.00   58.00   $   10.40              $   126.00   $     126.00
 11/4/2018 Cristian Mena                 $14.00   60.47   $   10.40              $   143.27   $     143.27
11/11/2018 Cristian Mena                 $14.00   60.90   $   10.40              $   146.30   $     146.30
11/18/2018 Cristian Mena                 $14.00   59.52   $   10.40              $   136.62   $     136.62
11/25/2018 Cristian Mena                 $14.00   50.58   $   10.40              $    74.08   $      74.08


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                                          Exhibit 6
                             New York State (Other) Computations

  Week                                               State     Section 7: Section 7: Total Section 7
                                  Hourly Hours/
 Ending               Name                         Minimum      Regular Half-Time Overtime Back
                                   Rate Week
  Date                                              Wage       Rate Due     Due       Wages Due
 12/2/2018 Cristian Mena          $14.00   61.67   $   10.40              $   151.67   $     151.67
 12/9/2018 Cristian Mena          $14.00   60.23   $   10.40              $   141.63   $     141.63
12/16/2018 Cristian Mena          $14.00   60.20   $   10.40              $   141.40   $     141.40
12/23/2018 Cristian Mena          $14.00   61.18   $   10.40              $   148.28   $     148.28
12/30/2018 Cristian Mena          $14.00   45.23   $   10.40              $    36.63   $      36.63
  1/6/2019 Cristian Mena          $14.00   48.12   $   11.10              $    56.82   $      56.82
 1/13/2019 Cristian Mena          $14.00   60.52   $   11.10              $   143.62   $     143.62
 1/20/2019 Cristian Mena          $14.00   60.83   $   11.10              $   145.83   $     145.83
 1/27/2019 Cristian Mena          $14.00   51.12   $   11.10              $    77.82   $      77.82
  2/3/2019 Cristian Mena          $14.00   49.25   $   11.10              $    64.75   $      64.75
 2/10/2019 Cristian Mena          $14.00   62.35   $   11.10              $   156.45   $     156.45
 2/17/2019 Cristian Mena          $14.00   55.30   $   11.10              $   107.10   $     107.10
 2/24/2019 Cristian Mena          $14.00   61.80   $   11.10              $   152.60   $     152.60
  3/3/2019 Cristian Mena          $14.00   62.83   $   11.10              $   159.83   $     159.83
 3/10/2019 Cristian Mena          $14.00   60.83   $   11.10              $   145.83   $     145.83
 3/17/2019 Cristian Mena          $14.00   60.88   $   11.10              $   146.18   $     146.18
 3/24/2019 Cristian Mena          $14.00   59.12   $   11.10              $   133.82   $     133.82
 3/31/2019 Cristian Mena          $14.00   59.53   $   11.10              $   136.73   $     136.73
  4/7/2019 Cristian Mena          $14.00   62.33   $   11.10              $   156.33   $     156.33
 4/14/2019 Cristian Mena          $14.00   59.97   $   11.10              $   139.77   $     139.77
 4/21/2019 Cristian Mena          $14.00   60.60   $   11.10              $   144.20   $     144.20
 4/28/2019 Cristian Mena          $14.00   60.07   $   11.10              $   140.47   $     140.47
  5/5/2019 Cristian Mena          $14.00   59.33   $   11.10              $   135.33   $     135.33
 5/12/2019 Cristian Mena          $14.00   59.92   $   11.10              $   139.42   $     139.42
 5/19/2019 Cristian Mena          $14.00   55.78   $   11.10              $   110.48   $     110.48
 5/26/2019 Cristian Mena          $14.00   57.80   $   11.10              $   124.60   $     124.60
  6/2/2019 Cristian Mena          $14.00   51.15   $   11.10              $    78.05   $      78.05
  6/9/2019 Cristian Mena          $14.00   60.70   $   11.10              $   144.90   $     144.90
 6/16/2019 Cristian Mena          $14.00   62.43   $   11.10              $   157.03   $     157.03
 6/23/2019 Cristian Mena          $14.00   59.82   $   11.10              $   138.72   $     138.72
 6/30/2019 Cristian Mena          $14.00   63.85   $   11.10              $   166.95   $     166.95
  7/7/2019 Cristian Mena          $14.00   50.45   $   11.10              $    73.15   $      73.15
 7/14/2019 Cristian Mena          $14.00   61.17   $   11.10              $   148.17   $     148.17
 7/21/2019 Cristian Mena          $14.00   48.73   $   11.10              $    61.13   $      61.13
 7/28/2019 Cristian Mena          $14.00   62.82   $   11.10              $   159.72   $     159.72
  8/4/2019 Cristian Mena          $14.00   63.15   $   11.10              $   162.05   $     162.05
 8/11/2019 Cristian Mena          $14.00   60.57   $   11.10              $   143.97   $     143.97
 8/18/2019 Cristian Mena          $14.00   61.52   $   11.10              $   150.62   $     150.62
 8/25/2019 Cristian Mena          $14.00   61.68   $   11.10              $   151.78   $     151.78
  9/1/2019 Cristian Mena          $14.00   59.72   $   11.10              $   138.02   $     138.02
  9/8/2019 Cristian Mena          $14.00   50.17   $   11.10              $    71.17   $      71.17
 9/15/2019 Cristian Mena          $14.00   62.68   $   11.10              $   158.78   $     158.78
 9/22/2019 Cristian Mena          $14.00   61.22   $   11.10              $   148.52   $     148.52
 9/29/2019 Cristian Mena          $14.00   50.25   $   11.10              $    71.75   $      71.75
 10/6/2019 Cristian Mena          $14.00   61.33   $   11.10              $   149.33   $     149.33
10/13/2019 Cristian Mena          $14.00   63.10   $   11.10              $   161.70   $     161.70
10/20/2019 Cristian Mena          $14.00   60.38   $   11.10              $   142.68   $     142.68
10/27/2019 Cristian Mena          $14.00   56.53   $   11.10              $   115.73   $     115.73


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                                               Exhibit 6
                                  New York State (Other) Computations

  Week                                                    State     Section 7: Section 7: Total Section 7
                                       Hourly Hours/
 Ending               Name                              Minimum      Regular Half-Time Overtime Back
                                        Rate Week
  Date                                                   Wage       Rate Due     Due       Wages Due
 11/3/2019 Cristian Mena               $14.00   58.62   $   11.10               $   130.32   $    130.32
11/10/2019 Cristian Mena               $14.00   61.25   $   11.10               $   148.75   $    148.75
11/17/2019 Cristian Mena               $14.00   61.77   $   11.10               $   152.37   $    152.37
11/24/2019 Cristian Mena               $14.00   61.65   $   11.10               $   151.55   $    151.55
 12/1/2019 Cristian Mena               $14.00   45.85   $   11.10               $    40.95   $     40.95
 12/8/2019 Cristian Mena               $14.00   60.28   $   11.10               $   141.98   $    141.98
12/15/2019 Cristian Mena               $14.00   60.58   $   11.10               $   144.08   $    144.08
12/22/2019 Cristian Mena               $14.00   61.63   $   11.10               $   151.43   $    151.43
12/29/2019 Cristian Mena               $14.00   47.23   $   11.10               $    50.63   $     50.63
  1/5/2020 Cristian Mena               $14.00   48.93   $   11.80               $    62.53   $     62.53
 1/12/2020 Cristian Mena               $14.00   62.62   $   11.80               $   158.32   $    158.32
 1/19/2020 Cristian Mena               $14.00   61.97   $   11.80               $   153.77   $    153.77
 1/26/2020 Cristian Mena               $14.00   61.67   $   11.80               $   151.67   $    151.67
  2/5/2017 Damon Micheli               $10.00   44.42   $    9.70               $    22.08   $     22.08
 2/19/2017 Damon Micheli               $10.00   47.72   $    9.70               $    38.58   $     38.58
  3/5/2017 Damon Micheli               $10.00   40.98   $    9.70               $     4.92   $      4.92
 3/12/2017 Damon Micheli               $10.00   44.97   $    9.70               $    24.83   $     24.83
 3/26/2017 Damon Micheli               $10.00   47.28   $    9.70               $    36.42   $     36.42
 4/16/2017 Damon Micheli               $10.00   45.95   $    9.70               $    29.75   $     29.75
 4/30/2017 Damon Micheli               $10.00   43.17   $    9.70               $    15.83   $     15.83
 7/21/2019 Daniel Scribner             $12.75   60.72   $   11.10               $   132.07   $    132.07
 7/28/2019 Daniel Scribner             $12.75   55.40   $   11.10               $    98.18   $     98.18
12/22/2019 Daniel Scribner             $11.00   41.92   $   11.10   $    4.19   $    10.64   $     14.83
11/24/2019 Daris Morales               $10.00   57.90   $   11.10   $   63.69   $    99.35   $    163.04
 12/1/2019 Daris Morales               $10.00   59.45   $   11.10   $   65.40   $   107.95   $    173.34
 12/8/2019 Daris Morales               $10.00   70.53   $   11.10   $   77.59   $   169.46   $    247.05
 5/27/2018 David Mark Pabilonia        $11.00   46.05   $   10.40               $    33.28   $     33.28
 6/10/2018 David Mark Pabilonia        $11.00   46.77   $   10.40               $    37.22   $     37.22
  7/1/2018 David Mark Pabilonia        $11.00   46.25   $   10.40               $    34.38   $     34.38
 7/15/2018 David Mark Pabilonia        $11.00   47.97   $   10.40               $    43.82   $     43.82
 7/22/2018 David Mark Pabilonia        $11.00   50.68   $   10.40               $    58.76   $     58.76
 7/29/2018 David Mark Pabilonia        $11.00   46.62   $   10.40               $    36.39   $     36.39
  8/5/2018 David Mark Pabilonia        $11.00   58.27   $   10.40               $   100.47   $    100.47
 8/12/2018 David Mark Pabilonia        $11.00   49.40   $   10.40               $    51.70   $     51.70
 8/19/2018 David Mark Pabilonia        $11.00   43.60   $   10.40               $    19.80   $     19.80
  9/2/2018 David Mark Pabilonia        $11.00   58.35   $   10.40               $   100.93   $    100.93
 10/7/2018 David Mark Pabilonia        $11.00   56.97   $   10.40               $    93.32   $     93.32
10/14/2018 David Mark Pabilonia        $11.00   54.07   $   10.40               $    77.37   $     77.37
10/21/2018 David Mark Pabilonia        $11.00   56.62   $   10.40               $    91.39   $     91.39
10/28/2018 David Mark Pabilonia        $11.00   43.43   $   10.40               $    18.88   $     18.88
 11/4/2018 David Mark Pabilonia        $11.00   46.33   $   10.40               $    34.83   $     34.83
11/11/2018 David Mark Pabilonia        $11.00   54.78   $   10.40               $    81.31   $     81.31
11/18/2018 David Mark Pabilonia        $11.00   56.87   $   10.40               $    92.77   $     92.77
11/25/2018 David Mark Pabilonia        $11.00   48.47   $   10.40               $    46.57   $     46.57
 12/2/2018 David Mark Pabilonia        $11.00   44.87   $   10.40               $    26.77   $     26.77
 12/9/2018 David Mark Pabilonia        $11.00   56.67   $   10.40               $    91.67   $     91.67
12/16/2018 David Mark Pabilonia        $11.00   57.17   $   10.40               $    94.42   $     94.42
12/23/2018 David Mark Pabilonia        $11.00   57.92   $   10.40               $    98.54   $     98.54


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                                               Exhibit 6
                                  New York State (Other) Computations

  Week                                                    State     Section 7: Section 7: Total Section 7
                                       Hourly Hours/
 Ending               Name                              Minimum      Regular Half-Time Overtime Back
                                        Rate Week
  Date                                                   Wage       Rate Due     Due       Wages Due
12/30/2018 David Mark Pabilonia        $11.00   42.85   $   10.40               $    15.68   $     15.68
  1/6/2019 David Mark Pabilonia        $11.00   44.25   $   11.10   $    4.42   $    23.59   $     28.01
 1/13/2019 David Mark Pabilonia        $11.00   60.45   $   11.10   $    6.04   $   113.50   $    119.54
 1/20/2019 David Mark Pabilonia        $11.00   43.92   $   11.10   $    4.39   $    21.74   $     26.13
 1/27/2019 David Mark Pabilonia        $11.00   52.25   $   11.10   $    5.22   $    67.99   $     73.21
  2/3/2019 David Mark Pabilonia        $11.00   54.23   $   11.10   $    5.42   $    79.00   $     84.42
 2/10/2019 David Mark Pabilonia        $11.00   49.75   $   11.10   $    4.97   $    54.11   $     59.09
 2/17/2019 David Mark Pabilonia        $11.00   53.33   $   11.10   $    5.33   $    74.00   $     79.33
 2/24/2019 David Mark Pabilonia        $11.00   59.32   $   11.10   $    5.93   $   107.21   $    113.14
  3/3/2019 David Mark Pabilonia        $11.00   59.58   $   11.10   $    5.96   $   108.69   $    114.65
 3/10/2019 David Mark Pabilonia        $11.00   59.22   $   11.10   $    5.92   $   106.65   $    112.57
 3/17/2019 David Mark Pabilonia        $11.00   57.67   $   11.10   $    5.77   $    98.05   $    103.82
 3/24/2019 David Mark Pabilonia        $11.00   57.70   $   11.10   $    5.77   $    98.24   $    104.01
 3/31/2019 David Mark Pabilonia        $11.00   57.25   $   11.10   $    5.72   $    95.74   $    101.46
  4/7/2019 David Mark Pabilonia        $11.00   59.82   $   11.10   $    5.98   $   109.98   $    115.96
 4/14/2019 David Mark Pabilonia        $11.00   56.78   $   11.10   $    5.68   $    93.15   $     98.83
 4/21/2019 David Mark Pabilonia        $11.00   57.35   $   11.10   $    5.73   $    96.29   $    102.03
 4/28/2019 David Mark Pabilonia        $11.00   57.82   $   11.10   $    5.78   $    98.88   $    104.66
  5/5/2019 David Mark Pabilonia        $11.00   58.33   $   11.10   $    5.83   $   101.75   $    107.58
 5/12/2019 David Mark Pabilonia        $11.00   58.05   $   11.10   $    5.80   $   100.18   $    105.98
 5/19/2019 David Mark Pabilonia        $11.00   55.15   $   11.10   $    5.51   $    84.08   $     89.60
 5/26/2019 David Mark Pabilonia        $11.00   57.83   $   11.10   $    5.78   $    98.98   $    104.76
  6/2/2019 David Mark Pabilonia        $11.00   49.82   $   11.10   $    4.98   $    54.48   $     59.46
  6/9/2019 David Mark Pabilonia        $11.00   57.60   $   11.10   $    5.76   $    97.68   $    103.44
 6/16/2019 David Mark Pabilonia        $11.00   53.70   $   11.10   $    5.37   $    76.04   $     81.40
 6/23/2019 David Mark Pabilonia        $11.00   58.95   $   11.10   $    5.89   $   105.17   $    111.07
 6/30/2019 David Mark Pabilonia        $11.00   61.52   $   11.10   $    6.15   $   119.42   $    125.57
  7/7/2019 David Mark Pabilonia        $11.50   53.80   $   11.10               $    79.35   $     79.35
 7/14/2019 David Mark Pabilonia        $11.50   58.48   $   11.10               $   106.28   $    106.28
 7/21/2019 David Mark Pabilonia        $11.50   53.58   $   11.10               $    78.10   $     78.10
 7/28/2019 David Mark Pabilonia        $11.50   56.00   $   11.10               $    92.00   $     92.00
  8/4/2019 David Mark Pabilonia        $11.50   56.80   $   11.10               $    96.60   $     96.60
 8/11/2019 David Mark Pabilonia        $11.50   57.62   $   11.10               $   101.30   $    101.30
 8/18/2019 David Mark Pabilonia        $11.50   56.67   $   11.10               $    95.83   $     95.83
 8/25/2019 David Mark Pabilonia        $11.50   54.65   $   11.10               $    84.24   $     84.24
  9/1/2019 David Mark Pabilonia        $11.50   56.87   $   11.10               $    96.98   $     96.98
  9/8/2019 David Mark Pabilonia        $11.50   45.65   $   11.10               $    32.49   $     32.49
 9/15/2019 David Mark Pabilonia        $11.50   54.62   $   11.10               $    84.05   $     84.05
 9/22/2019 David Mark Pabilonia        $11.50   56.68   $   11.10               $    95.93   $     95.93
 9/29/2019 David Mark Pabilonia        $11.50   55.18   $   11.10               $    87.30   $     87.30
 10/6/2019 David Mark Pabilonia        $11.50   55.43   $   11.10               $    88.74   $     88.74
10/13/2019 David Mark Pabilonia        $11.50   54.13   $   11.10               $    81.27   $     81.27
10/20/2019 David Mark Pabilonia        $11.50   54.98   $   11.10               $    86.15   $     86.15
10/27/2019 David Mark Pabilonia        $11.50   53.33   $   11.10               $    76.67   $     76.67
 11/3/2019 David Mark Pabilonia        $11.50   53.97   $   11.10               $    80.31   $     80.31
11/10/2019 David Mark Pabilonia        $11.50   53.58   $   11.10               $    78.10   $     78.10
11/17/2019 David Mark Pabilonia        $11.50   51.57   $   11.10               $    66.51   $     66.51
11/24/2019 David Mark Pabilonia        $11.50   51.38   $   11.10               $    65.45   $     65.45


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                                               Exhibit 6
                                  New York State (Other) Computations

  Week                                                    State     Section 7: Section 7: Total Section 7
                                       Hourly Hours/
 Ending               Name                              Minimum      Regular Half-Time Overtime Back
                                        Rate Week
  Date                                                   Wage       Rate Due     Due       Wages Due
 12/8/2019 David Mark Pabilonia        $11.50   47.82   $   11.10               $ 44.95    $       44.95
12/15/2019 David Mark Pabilonia        $11.50   51.88   $   11.10               $ 68.33    $       68.33
12/22/2019 David Mark Pabilonia        $11.50   51.98   $   11.10               $ 68.90    $       68.90
12/29/2019 David Mark Pabilonia        $11.50   41.15   $   11.10               $   6.61   $        6.61
 7/23/2017 David Sundeberg             $10.50   44.78   $    9.70               $ 25.11    $       25.11
 7/30/2017 David Sundeberg             $10.50   40.62   $    9.70               $   3.24   $        3.24
  8/6/2017 David Sundeberg             $10.50   49.25   $    9.70               $ 48.56    $       48.56
 8/13/2017 David Sundeberg             $10.50   45.77   $    9.70               $ 30.28    $       30.28
 8/20/2017 David Sundeberg             $10.50   46.38   $    9.70               $ 33.51    $       33.51
 8/27/2017 David Sundeberg             $10.50   41.85   $    9.70               $   9.71   $        9.71
  9/3/2017 David Sundeberg             $10.50   50.85   $    9.70               $ 56.96    $       56.96
 9/17/2017 David Sundeberg             $10.50   52.00   $    9.70               $ 63.00    $       63.00
 9/24/2017 David Sundeberg             $10.50   52.97   $    9.70               $ 68.08    $       68.08
 10/1/2017 David Sundeberg             $10.50   48.68   $    9.70               $ 45.59    $       45.59
10/15/2017 David Sundeberg             $10.50   41.90   $    9.70               $   9.98   $        9.98
 6/23/2019 David Sundeberg             $10.50   54.40   $   11.10   $   32.64   $ 79.92    $      112.56
 6/30/2019 David Sundeberg             $10.50   52.87   $   11.10   $   31.72   $ 71.41    $      103.13
  7/7/2019 David Sundeberg             $10.50   46.67   $   11.10   $   28.00   $ 37.00    $       65.00
 7/14/2019 David Sundeberg             $10.50   54.63   $   11.10   $   32.78   $ 81.22    $      114.00
 7/21/2019 David Sundeberg             $10.50   53.25   $   11.10   $   31.95   $ 73.54    $      105.49
 7/28/2019 David Sundeberg             $10.50   45.95   $   11.10   $   27.57   $ 33.02    $       60.59
  8/4/2019 David Sundeberg             $10.50   50.93   $   11.10   $   30.56   $ 60.68    $       91.24
 8/11/2019 David Sundeberg             $10.50   54.77   $   11.10   $   32.86   $ 81.96    $      114.82
 8/18/2019 David Sundeberg             $10.50   46.73   $   11.10   $   28.04   $ 37.37    $       65.41
 8/25/2019 David Sundeberg             $10.50   58.07   $   11.10   $   34.84   $ 100.27   $      135.11
  9/1/2019 David Sundeberg             $10.50   54.78   $   11.10   $   32.87   $ 82.05    $      114.92
 9/15/2019 David Sundeberg             $10.50   51.30   $   11.10   $   30.78   $ 62.72    $       93.50
 9/22/2019 David Sundeberg             $10.50   55.92   $   11.10   $   33.55   $ 88.34    $      121.89
 9/29/2019 David Sundeberg             $10.50   51.05   $   11.10   $   30.63   $ 61.33    $       91.96
 10/6/2019 David Sundeberg             $10.50   45.53   $   11.10   $   27.32   $ 30.71    $       58.03
10/13/2019 David Sundeberg             $10.50   57.53   $   11.10   $   34.52   $ 97.31    $      131.83
10/20/2019 David Sundeberg             $10.50   54.40   $   11.10   $   32.64   $ 79.92    $      112.56
10/27/2019 David Sundeberg             $10.50   47.10   $   11.10   $   28.26   $ 39.41    $       67.67
 11/3/2019 David Sundeberg             $10.50   55.25   $   11.10   $   33.15   $ 84.64    $      117.79
11/10/2019 David Sundeberg             $10.50   54.87   $   11.10   $   32.92   $ 82.51    $      115.43
11/17/2019 David Sundeberg             $10.50   54.72   $   11.10   $   32.83   $ 81.68    $      114.51
11/24/2019 David Sundeberg             $10.50   56.23   $   11.10   $   33.74   $ 90.10    $      123.84
 12/1/2019 David Sundeberg             $10.50   44.20   $   11.10   $   26.52   $ 23.31    $       49.83
 12/8/2019 David Sundeberg             $10.50   46.23   $   11.10   $   27.74   $ 34.60    $       62.33
12/15/2019 David Sundeberg             $10.50   47.13   $   11.10   $   28.28   $ 39.59    $       67.87
12/22/2019 David Sundeberg             $10.50   54.87   $   11.10   $   32.92   $ 82.51    $      115.43
12/29/2019 David Sundeberg             $10.50   42.05   $   11.10   $   25.23   $ 11.38    $       36.61
 1/12/2020 David Sundeberg             $10.50   54.25   $   11.80   $   70.53   $ 84.08    $      154.60
 1/19/2020 David Sundeberg             $10.50   55.78   $   11.80   $   72.52   $ 93.12    $      165.64
 1/26/2020 David Sundeberg             $10.50   54.88   $   11.80   $   71.35   $ 87.81    $      159.16
  8/4/2019 Drea Sean Lacy              $12.00   43.07   $   11.10               $ 18.40    $       18.40
 9/15/2019 Drea Sean Lacy              $12.00   44.67   $   11.10               $ 28.00    $       28.00
 6/11/2017 Eduardo Duverge             $12.00   58.47   $    9.70               $ 110.80   $      110.80


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                                          Exhibit 6
                             New York State (Other) Computations

  Week                                               State     Section 7: Section 7: Total Section 7
                                  Hourly Hours/
 Ending              Name                          Minimum      Regular Half-Time Overtime Back
                                   Rate Week
  Date                                              Wage       Rate Due     Due       Wages Due
 6/18/2017 Eduardo Duverge        $12.00   48.87   $    9.70               $    53.20   $     53.20
 6/25/2017 Eduardo Duverge        $12.00   59.93   $    9.70               $   119.60   $    119.60
  7/2/2017 Eduardo Duverge        $12.00   50.17   $    9.70               $    61.00   $     61.00
  7/9/2017 Eduardo Duverge        $12.00   51.18   $    9.70               $    67.10   $     67.10
 7/16/2017 Eduardo Duverge        $12.00   56.12   $    9.70               $    96.70   $     96.70
 7/23/2017 Eduardo Duverge        $12.00   60.75   $    9.70               $   124.50   $    124.50
 7/30/2017 Eduardo Duverge        $12.00   44.28   $    9.70               $    25.70   $     25.70
 8/26/2018 Edy Lopez Dubon        $11.00   56.83   $   10.40               $    92.58   $     92.58
  9/2/2018 Edy Lopez Dubon        $11.00   57.22   $   10.40               $    94.69   $     94.69
  9/9/2018 Edy Lopez Dubon        $11.00   49.57   $   10.40               $    52.62   $     52.62
 9/16/2018 Edy Lopez Dubon        $11.00   56.08   $   10.40               $    88.46   $     88.46
 9/23/2018 Edy Lopez Dubon        $11.00   54.55   $   10.40               $    80.02   $     80.02
 9/30/2018 Edy Lopez Dubon        $11.00   56.75   $   10.40               $    92.13   $     92.13
 10/7/2018 Edy Lopez Dubon        $11.00   57.82   $   10.40               $    97.99   $     97.99
10/14/2018 Edy Lopez Dubon        $11.00   55.72   $   10.40               $    86.44   $     86.44
10/21/2018 Edy Lopez Dubon        $11.00   45.53   $   10.40               $    30.43   $     30.43
10/28/2018 Edy Lopez Dubon        $11.00   55.63   $   10.40               $    85.98   $     85.98
 11/4/2018 Edy Lopez Dubon        $11.00   55.78   $   10.40               $    86.81   $     86.81
11/11/2018 Edy Lopez Dubon        $11.00   45.53   $   10.40               $    30.43   $     30.43
11/18/2018 Edy Lopez Dubon        $11.00   52.40   $   10.40               $    68.20   $     68.20
11/25/2018 Edy Lopez Dubon        $11.00   42.65   $   10.40               $    14.58   $     14.58
 12/2/2018 Edy Lopez Dubon        $11.00   54.60   $   10.40               $    80.30   $     80.30
 12/9/2018 Edy Lopez Dubon        $11.00   55.37   $   10.40               $    84.52   $     84.52
12/16/2018 Edy Lopez Dubon        $11.00   50.70   $   10.40               $    58.85   $     58.85
12/23/2018 Edy Lopez Dubon        $11.00   56.18   $   10.40               $    89.01   $     89.01
12/30/2018 Edy Lopez Dubon        $11.00   42.62   $   10.40               $    14.39   $     14.39
  1/6/2019 Edy Lopez Dubon        $11.00   42.55   $   11.10   $    4.25   $    14.15   $     18.41
 1/13/2019 Edy Lopez Dubon        $11.00   58.50   $   11.10   $    5.85   $   102.68   $    108.53
 1/20/2019 Edy Lopez Dubon        $11.00   46.05   $   11.10   $    4.60   $    33.58   $     38.18
 1/27/2019 Edy Lopez Dubon        $11.00   55.42   $   11.10   $    5.54   $    85.56   $     91.10
 2/10/2019 Edy Lopez Dubon        $11.00   47.37   $   11.10   $    4.74   $    40.89   $     45.62
 2/17/2019 Edy Lopez Dubon        $11.00   41.02   $   11.10   $    4.10   $     5.64   $      9.74
 2/24/2019 Edy Lopez Dubon        $11.00   55.50   $   11.10   $    5.55   $    86.03   $     91.58
  3/3/2019 Edy Lopez Dubon        $11.00   55.45   $   11.10   $    5.54   $    85.75   $     91.29
 3/10/2019 Edy Lopez Dubon        $11.00   54.92   $   11.10   $    5.49   $    82.79   $     88.28
 3/17/2019 Edy Lopez Dubon        $11.00   51.70   $   11.10   $    5.17   $    64.94   $     70.11
 3/24/2019 Edy Lopez Dubon        $11.00   57.50   $   11.10   $    5.75   $    97.13   $    102.88
 3/31/2019 Edy Lopez Dubon        $11.00   57.18   $   11.10   $    5.72   $    95.37   $    101.09
  4/7/2019 Edy Lopez Dubon        $11.00   56.38   $   11.10   $    5.64   $    90.93   $     96.57
 4/14/2019 Edy Lopez Dubon        $11.00   56.60   $   11.10   $    5.66   $    92.13   $     97.79
 4/28/2019 Edy Lopez Dubon        $11.00   53.10   $   11.10   $    5.31   $    72.71   $     78.02
  5/5/2019 Edy Lopez Dubon        $11.00   58.27   $   11.10   $    5.83   $   101.38   $    107.21
 5/12/2019 Edy Lopez Dubon        $11.00   58.07   $   11.10   $    5.81   $   100.27   $    106.08
 5/19/2019 Edy Lopez Dubon        $11.00   54.60   $   11.10   $    5.46   $    81.03   $     86.49
 5/26/2019 Edy Lopez Dubon        $11.00   57.80   $   11.10   $    5.78   $    98.79   $    104.57
  6/2/2019 Edy Lopez Dubon        $11.00   49.77   $   11.10   $    4.98   $    54.21   $     59.18
  6/9/2019 Edy Lopez Dubon        $11.00   57.62   $   11.10   $    5.76   $    97.77   $    103.53
 6/16/2019 Edy Lopez Dubon        $11.00   58.05   $   11.10   $    5.80   $   100.18   $    105.98


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                                             Exhibit 6
                                New York State (Other) Computations

  Week                                                  State     Section 7: Section 7: Total Section 7
                                     Hourly Hours/
 Ending              Name                             Minimum      Regular Half-Time Overtime Back
                                      Rate Week
  Date                                                 Wage       Rate Due     Due       Wages Due
 6/23/2019 Edy Lopez Dubon           $11.00   58.95   $   11.10   $    5.89   $   105.17   $    111.07
 6/30/2019 Edy Lopez Dubon           $11.00   61.48   $   11.10   $    6.15   $   119.23   $    125.38
  7/7/2019 Edy Lopez Dubon           $12.00   53.83   $   11.10               $    83.00   $     83.00
 7/14/2019 Edy Lopez Dubon           $12.00   58.45   $   11.10               $   110.70   $    110.70
 7/21/2019 Edy Lopez Dubon           $12.00   57.33   $   11.10               $   104.00   $    104.00
 7/28/2019 Edy Lopez Dubon           $12.00   56.00   $   11.10               $    96.00   $     96.00
  8/4/2019 Edy Lopez Dubon           $12.00   56.92   $   11.10               $   101.50   $    101.50
 8/11/2019 Edy Lopez Dubon           $12.00   53.00   $   11.10               $    78.00   $     78.00
 8/18/2019 Edy Lopez Dubon           $12.00   43.83   $   11.10               $    23.00   $     23.00
  9/1/2019 Edy Lopez Dubon           $12.00   46.70   $   11.10               $    40.20   $     40.20
  9/8/2019 Edy Lopez Dubon           $12.00   45.63   $   11.10               $    33.80   $     33.80
 9/15/2019 Edy Lopez Dubon           $12.00   54.80   $   11.10               $    88.80   $     88.80
 9/22/2019 Edy Lopez Dubon           $12.00   53.88   $   11.10               $    83.30   $     83.30
 9/29/2019 Edy Lopez Dubon           $12.00   55.22   $   11.10               $    91.30   $     91.30
 10/6/2019 Edy Lopez Dubon           $12.00   52.98   $   11.10               $    77.90   $     77.90
10/13/2019 Edy Lopez Dubon           $12.00   54.50   $   11.10               $    87.00   $     87.00
10/20/2019 Edy Lopez Dubon           $12.00   51.17   $   11.10               $    67.00   $     67.00
10/27/2019 Edy Lopez Dubon           $12.00   53.28   $   11.10               $    79.70   $     79.70
 11/3/2019 Edy Lopez Dubon           $12.00   53.98   $   11.10               $    83.90   $     83.90
11/10/2019 Edy Lopez Dubon           $12.00   50.17   $   11.10               $    61.00   $     61.00
11/17/2019 Edy Lopez Dubon           $12.00   51.63   $   11.10               $    69.80   $     69.80
11/24/2019 Edy Lopez Dubon           $12.00   51.45   $   11.10               $    68.70   $     68.70
 12/1/2019 Edy Lopez Dubon           $12.00   41.15   $   11.10               $     6.90   $      6.90
 12/8/2019 Edy Lopez Dubon           $12.00   47.80   $   11.10               $    46.80   $     46.80
12/15/2019 Edy Lopez Dubon           $12.00   51.87   $   11.10               $    71.20   $     71.20
12/22/2019 Edy Lopez Dubon           $12.00   52.58   $   11.10               $    75.50   $     75.50
12/29/2019 Edy Lopez Dubon           $12.00   41.18   $   11.10               $     7.10   $      7.10
  1/5/2020 Edy Lopez Dubon           $12.00   42.30   $   11.80               $    13.80   $     13.80
 1/12/2020 Edy Lopez Dubon           $12.00   52.95   $   11.80               $    77.70   $     77.70
 1/19/2020 Edy Lopez Dubon           $12.00   50.77   $   11.80               $    64.60   $     64.60
 1/26/2020 Edy Lopez Dubon           $12.00   51.08   $   11.80               $    66.50   $     66.50
 1/19/2020 Erik Aponte Ortiz         $12.00   45.75   $   11.80               $    34.50   $     34.50
 1/26/2020 Erik Aponte Ortiz         $12.00   47.63   $   11.80               $    45.80   $     45.80
 8/13/2017 Ernesto Sam Maquin        $11.00   59.32   $    9.70               $   106.24   $    106.24
 8/20/2017 Ernesto Sam Maquin        $11.00   60.05   $    9.70               $   110.28   $    110.28
 8/27/2017 Ernesto Sam Maquin        $11.00   59.27   $    9.70               $   105.97   $    105.97
  9/3/2017 Ernesto Sam Maquin        $11.00   59.03   $    9.70               $   104.68   $    104.68
 9/10/2017 Ernesto Sam Maquin        $11.00   55.12   $    9.70               $    83.14   $     83.14
 9/17/2017 Ernesto Sam Maquin        $11.00   59.63   $    9.70               $   107.98   $    107.98
 9/24/2017 Ernesto Sam Maquin        $11.00   63.42   $    9.70               $   128.79   $    128.79
 10/1/2017 Ernesto Sam Maquin        $11.00   65.22   $    9.70               $   138.69   $    138.69
 10/8/2017 Ernesto Sam Maquin        $11.00   65.58   $    9.70               $   140.71   $    140.71
10/15/2017 Ernesto Sam Maquin        $11.00   64.90   $    9.70               $   136.95   $    136.95
10/22/2017 Ernesto Sam Maquin        $11.00   64.22   $    9.70               $   133.19   $    133.19
10/29/2017 Ernesto Sam Maquin        $11.00   64.63   $    9.70               $   135.48   $    135.48
 11/5/2017 Ernesto Sam Maquin        $11.00   62.50   $    9.70               $   123.75   $    123.75
11/12/2017 Ernesto Sam Maquin        $11.00   61.87   $    9.70               $   120.27   $    120.27
11/19/2017 Ernesto Sam Maquin        $11.00   62.73   $    9.70               $   125.03   $    125.03


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                                             Exhibit 6
                                New York State (Other) Computations

  Week                                                  State     Section 7: Section 7: Total Section 7
                                     Hourly Hours/
 Ending              Name                             Minimum      Regular Half-Time Overtime Back
                                      Rate Week
  Date                                                 Wage       Rate Due     Due       Wages Due
11/26/2017 Ernesto Sam Maquin        $11.00   50.25   $    9.70              $    56.38   $      56.38
 12/3/2017 Ernesto Sam Maquin        $11.00   63.88   $    9.70              $   131.36   $     131.36
12/10/2017 Ernesto Sam Maquin        $11.00   62.75   $    9.70              $   125.13   $     125.13
12/17/2017 Ernesto Sam Maquin        $11.00   60.48   $    9.70              $   112.66   $     112.66
12/24/2017 Ernesto Sam Maquin        $11.00   62.05   $    9.70              $   121.28   $     121.28
12/31/2017 Ernesto Sam Maquin        $11.00   51.42   $   10.40              $    62.79   $      62.79
  1/7/2018 Ernesto Sam Maquin        $11.00   49.50   $   10.40              $    52.25   $      52.25
 1/14/2018 Ernesto Sam Maquin        $11.00   62.45   $   10.40              $   123.48   $     123.48
 1/21/2018 Ernesto Sam Maquin        $11.00   61.28   $   10.40              $   117.06   $     117.06
 1/28/2018 Ernesto Sam Maquin        $11.00   63.18   $   10.40              $   127.51   $     127.51
  2/4/2018 Ernesto Sam Maquin        $11.00   61.35   $   10.40              $   117.43   $     117.43
 2/11/2018 Ernesto Sam Maquin        $11.00   59.68   $   10.40              $   108.26   $     108.26
 2/18/2018 Ernesto Sam Maquin        $11.00   68.57   $   10.40              $   157.12   $     157.12
 2/25/2018 Ernesto Sam Maquin        $11.00   63.57   $   10.40              $   129.62   $     129.62
  3/4/2018 Ernesto Sam Maquin        $11.00   62.05   $   10.40              $   121.28   $     121.28
 3/25/2018 Ernesto Sam Maquin        $11.00   65.88   $   10.40              $   142.36   $     142.36
  4/1/2018 Ernesto Sam Maquin        $11.00   66.03   $   10.40              $   143.18   $     143.18
  4/8/2018 Ernesto Sam Maquin        $11.00   65.47   $   10.40              $   140.07   $     140.07
 4/15/2018 Ernesto Sam Maquin        $11.00   64.55   $   10.40              $   135.03   $     135.03
 4/22/2018 Ernesto Sam Maquin        $11.00   64.77   $   10.40              $   136.22   $     136.22
 4/29/2018 Ernesto Sam Maquin        $11.00   64.83   $   10.40              $   136.58   $     136.58
  5/6/2018 Ernesto Sam Maquin        $11.00   65.48   $   10.40              $   140.16   $     140.16
 5/13/2018 Ernesto Sam Maquin        $11.00   65.55   $   10.40              $   140.53   $     140.53
 5/20/2018 Ernesto Sam Maquin        $11.00   65.82   $   10.40              $   141.99   $     141.99
 5/27/2018 Ernesto Sam Maquin        $11.00   66.40   $   10.40              $   145.20   $     145.20
  6/3/2018 Ernesto Sam Maquin        $11.00   62.50   $   10.40              $   123.75   $     123.75
 6/10/2018 Ernesto Sam Maquin        $11.00   66.05   $   10.40              $   143.28   $     143.28
 6/17/2018 Ernesto Sam Maquin        $11.00   65.95   $   10.40              $   142.73   $     142.73
 6/24/2018 Ernesto Sam Maquin        $11.00   65.48   $   10.40              $   140.16   $     140.16
  7/1/2018 Ernesto Sam Maquin        $11.00   65.87   $   10.40              $   142.27   $     142.27
  7/8/2018 Ernesto Sam Maquin        $11.00   53.07   $   10.40              $    71.87   $      71.87
 7/15/2018 Ernesto Sam Maquin        $11.00   68.45   $   10.40              $   156.48   $     156.48
 7/22/2018 Ernesto Sam Maquin        $11.00   64.65   $   10.40              $   135.58   $     135.58
 7/29/2018 Ernesto Sam Maquin        $11.00   66.02   $   10.40              $   143.09   $     143.09
  8/5/2018 Ernesto Sam Maquin        $11.00   65.72   $   10.40              $   141.44   $     141.44
 8/12/2018 Ernesto Sam Maquin        $11.00   65.85   $   10.40              $   142.18   $     142.18
 8/19/2018 Ernesto Sam Maquin        $11.00   66.00   $   10.40              $   143.00   $     143.00
 8/26/2018 Ernesto Sam Maquin        $11.00   65.58   $   10.40              $   140.71   $     140.71
  9/2/2018 Ernesto Sam Maquin        $11.00   66.78   $   10.40              $   147.31   $     147.31
  9/9/2018 Ernesto Sam Maquin        $11.00   61.20   $   10.40              $   116.60   $     116.60
 9/16/2018 Ernesto Sam Maquin        $11.00   66.23   $   10.40              $   144.28   $     144.28
 9/23/2018 Ernesto Sam Maquin        $11.00   65.40   $   10.40              $   139.70   $     139.70
 9/30/2018 Ernesto Sam Maquin        $11.00   65.77   $   10.40              $   141.72   $     141.72
 10/7/2018 Ernesto Sam Maquin        $11.00   65.78   $   10.40              $   141.81   $     141.81
10/14/2018 Ernesto Sam Maquin        $11.00   66.32   $   10.40              $   144.74   $     144.74
10/21/2018 Ernesto Sam Maquin        $11.00   65.35   $   10.40              $   139.43   $     139.43
10/28/2018 Ernesto Sam Maquin        $11.00   64.90   $   10.40              $   136.95   $     136.95
 11/4/2018 Ernesto Sam Maquin        $11.00   63.93   $   10.40              $   131.63   $     131.63


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                                             Exhibit 6
                                New York State (Other) Computations

  Week                                                  State     Section 7: Section 7: Total Section 7
                                     Hourly Hours/
 Ending              Name                             Minimum      Regular Half-Time Overtime Back
                                      Rate Week
  Date                                                 Wage       Rate Due     Due       Wages Due
11/11/2018 Ernesto Sam Maquin        $11.00   63.83   $   10.40               $   131.08   $    131.08
11/18/2018 Ernesto Sam Maquin        $11.00   51.35   $   10.40               $    62.43   $     62.43
11/25/2018 Ernesto Sam Maquin        $11.00   50.45   $   10.40               $    57.48   $     57.48
 12/2/2018 Ernesto Sam Maquin        $11.00   63.43   $   10.40               $   128.88   $    128.88
 12/9/2018 Ernesto Sam Maquin        $11.00   63.55   $   10.40               $   129.53   $    129.53
12/16/2018 Ernesto Sam Maquin        $11.00   61.65   $   10.40               $   119.08   $    119.08
12/23/2018 Ernesto Sam Maquin        $11.00   62.63   $   10.40               $   124.48   $    124.48
12/30/2018 Ernesto Sam Maquin        $11.00   41.53   $   10.40               $     8.43   $      8.43
  1/6/2019 Ernesto Sam Maquin        $11.00   50.92   $   11.10   $    5.09   $    60.59   $     65.68
 1/13/2019 Ernesto Sam Maquin        $11.00   64.62   $   11.10   $    6.46   $   136.62   $    143.08
 1/20/2019 Ernesto Sam Maquin        $11.00   63.90   $   11.10   $    6.39   $   132.65   $    139.04
 1/27/2019 Ernesto Sam Maquin        $11.00   63.05   $   11.10   $    6.30   $   127.93   $    134.23
  2/3/2019 Ernesto Sam Maquin        $11.00   63.25   $   11.10   $    6.32   $   129.04   $    135.36
 2/10/2019 Ernesto Sam Maquin        $11.00   65.87   $   11.10   $    6.59   $   143.56   $    150.15
 2/17/2019 Ernesto Sam Maquin        $11.00   66.25   $   11.10   $    6.62   $   145.69   $    152.31
 2/24/2019 Ernesto Sam Maquin        $11.00   62.55   $   11.10   $    6.25   $   125.15   $    131.41
  3/3/2019 Ernesto Sam Maquin        $11.00   64.18   $   11.10   $    6.42   $   134.22   $    140.64
 3/10/2019 Ernesto Sam Maquin        $11.00   54.68   $   11.10   $    5.47   $    81.49   $     86.96
 3/17/2019 Ernesto Sam Maquin        $11.00   55.42   $   11.10   $    5.54   $    85.56   $     91.10
 3/24/2019 Ernesto Sam Maquin        $11.00   62.03   $   11.10   $    6.20   $   122.29   $    128.49
 3/31/2019 Ernesto Sam Maquin        $11.00   63.37   $   11.10   $    6.34   $   129.69   $    136.02
  4/7/2019 Ernesto Sam Maquin        $11.00   62.23   $   11.10   $    6.22   $   123.40   $    129.62
 4/14/2019 Ernesto Sam Maquin        $11.00   61.33   $   11.10   $    6.13   $   118.40   $    124.53
 4/21/2019 Ernesto Sam Maquin        $11.00   62.08   $   11.10   $    6.21   $   122.56   $    128.77
 4/28/2019 Ernesto Sam Maquin        $11.00   61.57   $   11.10   $    6.16   $   119.70   $    125.85
  5/5/2019 Ernesto Sam Maquin        $11.00   61.00   $   11.10   $    6.10   $   116.55   $    122.65
 5/12/2019 Ernesto Sam Maquin        $11.00   59.98   $   11.10   $    6.00   $   110.91   $    116.91
 5/19/2019 Ernesto Sam Maquin        $11.00   60.08   $   11.10   $    6.01   $   111.46   $    117.47
 5/26/2019 Ernesto Sam Maquin        $11.00   61.75   $   11.10   $    6.17   $   120.71   $    126.89
  6/2/2019 Ernesto Sam Maquin        $11.00   59.88   $   11.10   $    5.99   $   110.35   $    116.34
  6/9/2019 Ernesto Sam Maquin        $11.00   55.58   $   11.10   $    5.56   $    86.49   $     92.05
 6/16/2019 Ernesto Sam Maquin        $11.00   61.05   $   11.10   $    6.10   $   116.83   $    122.93
 6/23/2019 Ernesto Sam Maquin        $11.00   57.70   $   11.10   $    5.77   $    98.23   $    104.01
 6/30/2019 Ernesto Sam Maquin        $11.00   59.23   $   11.10   $    5.92   $   106.75   $    112.67
  7/7/2019 Ernesto Sam Maquin        $12.00   51.00   $   11.10               $    66.00   $     66.00
 7/14/2019 Ernesto Sam Maquin        $12.00   62.40   $   11.10               $   134.40   $    134.40
 7/21/2019 Ernesto Sam Maquin        $12.00   62.28   $   11.10               $   133.70   $    133.70
 7/28/2019 Ernesto Sam Maquin        $12.00   61.30   $   11.10               $   127.80   $    127.80
  8/4/2019 Ernesto Sam Maquin        $12.00   62.83   $   11.10               $   137.00   $    137.00
 8/11/2019 Ernesto Sam Maquin        $12.00   59.25   $   11.10               $   115.50   $    115.50
 8/18/2019 Ernesto Sam Maquin        $12.00   57.85   $   11.10               $   107.10   $    107.10
 8/25/2019 Ernesto Sam Maquin        $12.00   61.37   $   11.10               $   128.20   $    128.20
  9/1/2019 Ernesto Sam Maquin        $12.00   62.57   $   11.10               $   135.40   $    135.40
  9/8/2019 Ernesto Sam Maquin        $12.00   60.08   $   11.10               $   120.50   $    120.50
 9/15/2019 Ernesto Sam Maquin        $12.00   62.63   $   11.10               $   135.80   $    135.80
 9/22/2019 Ernesto Sam Maquin        $12.00   63.90   $   11.10               $   143.40   $    143.40
 9/29/2019 Ernesto Sam Maquin        $12.00   63.87   $   11.10               $   143.20   $    143.20
 10/6/2019 Ernesto Sam Maquin        $12.00   62.97   $   11.10               $   137.80   $    137.80


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                                                 Exhibit 6
                                    New York State (Other) Computations

  Week                                                      State     Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending               Name                                Minimum      Regular Half-Time Overtime Back
                                          Rate Week
  Date                                                     Wage       Rate Due     Due       Wages Due
10/13/2019 Ernesto Sam Maquin            $12.00   53.10   $   11.10               $    78.60   $     78.60
10/20/2019 Ernesto Sam Maquin            $12.00   64.45   $   11.10               $   146.70   $    146.70
10/27/2019 Ernesto Sam Maquin            $12.00   63.35   $   11.10               $   140.10   $    140.10
 11/3/2019 Ernesto Sam Maquin            $12.00   63.88   $   11.10               $   143.30   $    143.30
11/10/2019 Ernesto Sam Maquin            $12.00   63.63   $   11.10               $   141.80   $    141.80
11/17/2019 Ernesto Sam Maquin            $12.00   64.75   $   11.10               $   148.50   $    148.50
11/24/2019 Ernesto Sam Maquin            $12.00   60.03   $   11.10               $   120.20   $    120.20
 12/1/2019 Ernesto Sam Maquin            $12.00   54.25   $   11.10               $    85.50   $     85.50
 12/8/2019 Ernesto Sam Maquin            $12.00   60.20   $   11.10               $   121.20   $    121.20
12/15/2019 Ernesto Sam Maquin            $12.00   61.30   $   11.10               $   127.80   $    127.80
12/22/2019 Ernesto Sam Maquin            $12.00   62.58   $   11.10               $   135.50   $    135.50
12/29/2019 Ernesto Sam Maquin            $12.00   41.25   $   11.10               $     7.50   $      7.50
  1/5/2020 Ernesto Sam Maquin            $12.00   51.40   $   11.80               $    68.40   $     68.40
 1/12/2020 Ernesto Sam Maquin            $12.00   62.75   $   11.80               $   136.50   $    136.50
 1/19/2020 Ernesto Sam Maquin            $12.00   62.17   $   11.80               $   133.00   $    133.00
 1/26/2020 Ernesto Sam Maquin            $12.00   63.62   $   11.80               $   141.70   $    141.70
 3/25/2018 Esmerlin Perez Popoter         $9.50   53.52   $   10.40   $   48.17   $    70.29   $    118.45
  4/1/2018 Esmerlin Perez Popoter         $9.50   59.10   $   10.40   $   53.19   $    99.32   $    152.51
  4/8/2018 Esmerlin Perez Popoter         $9.50   55.55   $   10.40   $   50.00   $    80.86   $    130.86
 4/15/2018 Esmerlin Perez Popoter         $9.50   61.08   $   10.40   $   54.98   $   109.63   $    164.61
 4/22/2018 Esmerlin Perez Popoter         $9.50   56.78   $   10.40   $   51.11   $    87.27   $    138.38
 4/29/2018 Esmerlin Perez Popoter         $9.50   59.80   $   10.40   $   53.82   $   102.96   $    156.78
  5/6/2018 Esmerlin Perez Popoter         $9.50   59.93   $   10.40   $   53.94   $   103.65   $    157.59
 5/13/2018 Esmerlin Perez Popoter         $9.50   58.08   $   10.40   $   52.28   $    94.03   $    146.31
 5/20/2018 Esmerlin Perez Popoter         $9.50   56.45   $   10.40   $   50.81   $    85.54   $    136.35
 5/27/2018 Esmerlin Perez Popoter         $9.50   58.40   $   10.40   $   52.56   $    95.68   $    148.24
  6/3/2018 Esmerlin Perez Popoter         $9.50   47.05   $   10.40   $   42.35   $    36.66   $     79.01
 6/10/2018 Esmerlin Perez Popoter         $9.50   47.02   $   10.40   $   42.32   $    36.49   $     78.80
 6/17/2018 Esmerlin Perez Popoter         $9.50   57.85   $   10.40   $   52.07   $    92.82   $    144.89
 6/24/2018 Esmerlin Perez Popoter         $9.50   52.22   $   10.40   $   47.00   $    63.53   $    110.52
  7/1/2018 Esmerlin Perez Popoter         $9.50   59.55   $   10.40   $   53.60   $   101.66   $    155.26
  7/8/2018 Esmerlin Perez Popoter         $9.50   48.87   $   10.40   $   43.98   $    46.11   $     90.09
 7/15/2018 Esmerlin Perez Popoter         $9.50   59.28   $   10.40   $   53.36   $   100.27   $    153.63
 7/22/2018 Esmerlin Perez Popoter         $9.50   61.03   $   10.40   $   54.93   $   109.37   $    164.30
 7/29/2018 Esmerlin Perez Popoter         $9.50   60.65   $   10.40   $   54.59   $   107.38   $    161.97
  8/5/2018 Esmerlin Perez Popoter         $9.50   58.88   $   10.40   $   53.00   $    98.19   $    151.19
 8/12/2018 Esmerlin Perez Popoter         $9.50   57.82   $   10.40   $   52.04   $    92.65   $    144.68
 8/19/2018 Esmerlin Perez Popoter         $9.50   57.10   $   10.40   $   51.39   $    88.92   $    140.31
 8/26/2018 Esmerlin Perez Popoter         $9.50   58.32   $   10.40   $   52.49   $    95.25   $    147.73
  9/2/2018 Esmerlin Perez Popoter         $9.50   50.67   $   10.40   $   45.60   $    55.47   $    101.07
  9/9/2018 Esmerlin Perez Popoter         $9.50   49.67   $   10.40   $   44.70   $    50.27   $     94.97
 9/16/2018 Esmerlin Perez Popoter         $9.50   50.75   $   10.40   $   45.68   $    55.90   $    101.58
 9/23/2018 Esmerlin Perez Popoter         $9.50   53.13   $   10.40   $   47.82   $    68.29   $    116.11
 9/30/2018 Esmerlin Perez Popoter         $9.50   56.32   $   10.40   $   50.69   $    84.85   $    135.53
 10/7/2018 Esmerlin Perez Popoter         $9.50   55.43   $   10.40   $   49.89   $    80.25   $    130.14
10/14/2018 Esmerlin Perez Popoter         $9.50   58.28   $   10.40   $   52.46   $    95.07   $    147.53
10/21/2018 Esmerlin Perez Popoter         $9.50   59.15   $   10.40   $   53.24   $    99.58   $    152.82
10/28/2018 Esmerlin Perez Popoter         $9.50   58.08   $   10.40   $   52.28   $    94.03   $    146.31


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  Week                                                      State     Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending               Name                                Minimum      Regular Half-Time Overtime Back
                                          Rate Week
  Date                                                     Wage       Rate Due     Due       Wages Due
 11/4/2018 Esmerlin Perez Popoter         $9.50   59.80   $   10.40   $ 53.82    $   102.96   $     156.78
11/11/2018 Esmerlin Perez Popoter         $9.50   59.83   $   10.40   $ 53.85    $   103.13   $     156.98
11/18/2018 Esmerlin Perez Popoter         $9.50   58.23   $   10.40   $ 52.41    $    94.81   $     147.22
11/25/2018 Esmerlin Perez Popoter         $9.50   49.35   $   10.40   $ 44.42    $    48.62   $      93.04
 12/2/2018 Esmerlin Perez Popoter         $9.50   60.63   $   10.40   $ 54.57    $   107.29   $     161.86
 12/9/2018 Esmerlin Perez Popoter         $9.50   59.90   $   10.40   $ 53.91    $   103.48   $     157.39
12/16/2018 Esmerlin Perez Popoter         $9.50   59.18   $   10.40   $ 53.27    $    99.75   $     153.02
12/23/2018 Esmerlin Perez Popoter         $9.50   61.28   $   10.40   $ 55.16    $   110.67   $     165.83
 1/13/2019 Esmerlin Perez Popoter         $9.50   59.47   $   11.10   $ 95.15    $   108.04   $     203.19
 1/20/2019 Esmerlin Perez Popoter         $9.50   60.80   $   11.10   $ 97.28    $   115.44   $     212.72
 1/27/2019 Esmerlin Perez Popoter         $9.50   58.88   $   11.10   $ 94.21    $   104.80   $     199.02
  2/3/2019 Esmerlin Perez Popoter         $9.50   49.28   $   11.10   $ 78.85    $    51.52   $     130.38
 2/10/2019 Esmerlin Perez Popoter         $9.50   62.47   $   11.10   $ 99.95    $   124.69   $     224.64
 2/17/2019 Esmerlin Perez Popoter         $9.50   56.48   $   11.10   $ 90.37    $    91.48   $     181.86
 2/24/2019 Esmerlin Perez Popoter         $9.50   52.52   $   11.10   $ 84.03    $    69.47   $     153.49
  3/3/2019 Esmerlin Perez Popoter         $9.50   62.83   $   11.10   $ 100.53   $   126.73   $     227.26
 3/10/2019 Esmerlin Perez Popoter         $9.50   60.72   $   11.10   $ 97.15    $   114.98   $     212.12
 3/17/2019 Esmerlin Perez Popoter         $9.50   60.72   $   11.10   $ 97.15    $   114.98   $     212.12
 3/24/2019 Esmerlin Perez Popoter         $9.50   50.63   $   11.10   $ 81.01    $    59.02   $     140.03
 3/31/2019 Esmerlin Perez Popoter         $9.50   61.03   $   11.10   $ 97.65    $   116.74   $     214.39
  4/7/2019 Esmerlin Perez Popoter         $9.50   62.37   $   11.10   $ 99.79    $   124.14   $     223.92
 4/14/2019 Esmerlin Perez Popoter         $9.50   59.45   $   11.10   $ 95.12    $   107.95   $     203.07
 4/21/2019 Esmerlin Perez Popoter         $9.50   50.23   $   11.10   $ 80.37    $    56.80   $     137.17
 4/28/2019 Esmerlin Perez Popoter         $9.50   60.33   $   11.10   $ 96.53    $   112.85   $     209.38
  5/5/2019 Esmerlin Perez Popoter         $9.50   59.33   $   11.10   $ 94.93    $   107.30   $     202.23
 5/12/2019 Esmerlin Perez Popoter         $9.50   61.15   $   11.10   $ 97.84    $   117.38   $     215.22
 5/19/2019 Esmerlin Perez Popoter         $9.50   58.97   $   11.10   $ 94.35    $   105.27   $     199.61
 5/26/2019 Esmerlin Perez Popoter         $9.50   57.40   $   11.10   $ 91.84    $    96.57   $     188.41
  6/2/2019 Esmerlin Perez Popoter         $9.50   50.67   $   11.10   $ 81.07    $    59.20   $     140.27
  6/9/2019 Esmerlin Perez Popoter         $9.50   60.68   $   11.10   $ 97.09    $   114.79   $     211.89
 6/16/2019 Esmerlin Perez Popoter         $9.50   60.80   $   11.10   $ 97.28    $   115.44   $     212.72
 6/23/2019 Esmerlin Perez Popoter         $9.50   59.83   $   11.10   $ 95.73    $   110.08   $     205.81
 6/30/2019 Esmerlin Perez Popoter         $9.50   42.62   $   11.10   $ 68.19    $    14.52   $      82.71
  7/7/2019 Esmerlin Perez Popoter        $10.00   50.53   $   11.10   $ 55.59    $    58.46   $     114.05
 7/14/2019 Esmerlin Perez Popoter        $10.00   60.50   $   11.10   $ 66.55    $   113.78   $     180.33
 7/21/2019 Esmerlin Perez Popoter        $10.00   60.75   $   11.10   $ 66.83    $   115.16   $     181.99
 7/28/2019 Esmerlin Perez Popoter        $10.00   62.88   $   11.10   $ 69.17    $   127.00   $     196.17
  8/4/2019 Esmerlin Perez Popoter        $10.00   61.32   $   11.10   $ 67.45    $   118.31   $     185.76
 8/11/2019 Esmerlin Perez Popoter        $10.00   61.27   $   11.10   $ 67.39    $   118.03   $     185.42
 8/18/2019 Esmerlin Perez Popoter        $10.00   60.47   $   11.10   $ 66.51    $   113.59   $     180.10
 8/25/2019 Esmerlin Perez Popoter        $10.00   40.82   $   11.10   $ 44.90    $     4.53   $      49.43
  9/1/2019 Esmerlin Perez Popoter        $10.00   50.27   $   11.10   $ 55.29    $    56.98   $     112.27
  9/8/2019 Esmerlin Perez Popoter        $10.00   50.10   $   11.10   $ 55.11    $    56.06   $     111.17
 9/15/2019 Esmerlin Perez Popoter        $10.00   61.15   $   11.10   $ 67.27    $   117.38   $     184.65
 9/22/2019 Esmerlin Perez Popoter        $10.00   50.72   $   11.10   $ 55.79    $    59.48   $     115.27
 9/29/2019 Esmerlin Perez Popoter        $10.00   61.38   $   11.10   $ 67.52    $   118.68   $     186.20
 10/6/2019 Esmerlin Perez Popoter        $10.00   61.22   $   11.10   $ 67.34    $   117.75   $     185.09
10/13/2019 Esmerlin Perez Popoter        $10.00   52.35   $   11.10   $ 57.59    $    68.54   $     126.13


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                                                 Exhibit 6
                                    New York State (Other) Computations

  Week                                                      State     Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending               Name                                Minimum      Regular Half-Time Overtime Back
                                          Rate Week
  Date                                                     Wage       Rate Due     Due       Wages Due
10/20/2019 Esmerlin Perez Popoter        $11.00   60.47   $   11.10   $   6.05    $   113.59   $    119.64
10/27/2019 Esmerlin Perez Popoter        $11.00   60.37   $   11.10   $   6.04    $   113.04   $    119.07
 11/3/2019 Esmerlin Perez Popoter        $11.00   60.27   $   11.10   $   6.03    $   112.48   $    118.51
11/10/2019 Esmerlin Perez Popoter        $11.00   60.80   $   11.10   $   6.08    $   115.44   $    121.52
11/17/2019 Esmerlin Perez Popoter        $11.00   61.82   $   11.10   $   6.18    $   121.08   $    127.26
11/24/2019 Esmerlin Perez Popoter        $11.00   61.70   $   11.10   $   6.17    $   120.44   $    126.61
 12/1/2019 Esmerlin Perez Popoter        $11.00   49.12   $   11.10   $   4.91    $    50.60   $     55.51
 12/8/2019 Esmerlin Perez Popoter        $11.00   60.18   $   11.10   $   6.02    $   112.02   $    118.04
12/15/2019 Esmerlin Perez Popoter        $10.00   60.65   $   11.10   $ 66.72     $   114.61   $    181.32
12/22/2019 Esmerlin Perez Popoter        $10.00   43.23   $   11.10   $ 47.56     $    17.95   $     65.50
  1/5/2020 Esmerlin Perez Popoter        $10.00   40.03   $   11.80   $ 72.06     $     0.20   $     72.26
 1/19/2020 Esmerlin Perez Popoter        $10.00   55.75   $   11.80   $ 100.35    $    92.93   $    193.28
12/17/2017 Fernando Irrizarri            $10.75   56.77   $    9.70               $    90.12   $     90.12
12/24/2017 Fernando Irrizarri            $10.75   46.43   $    9.70               $    34.58   $     34.58
12/16/2018 Fernie Cruz                    $9.50   47.22   $   10.40   $   42.50   $    37.53   $     80.02
12/23/2018 Fernie Cruz                    $9.50   48.27   $   10.40   $   43.44   $    42.99   $     86.43
 1/13/2019 Fernie Cruz                    $9.50   49.07   $   11.10   $   78.51   $    50.32   $    128.83
 2/10/2019 Fernie Cruz                    $9.50   51.48   $   11.10   $   82.37   $    63.73   $    146.11
 3/10/2019 Fernie Cruz                    $9.50   53.88   $   11.10   $   86.21   $    77.05   $    163.27
 3/17/2019 Fernie Cruz                    $9.50   60.82   $   11.10   $   97.31   $   115.53   $    212.84
  4/7/2019 Fernie Cruz                    $9.50   48.72   $   11.10   $   77.95   $    48.38   $    126.32
 4/21/2019 Fernie Cruz                    $9.50   60.13   $   11.10   $   96.21   $   111.74   $    207.95
 4/28/2019 Fernie Cruz                    $9.50   59.83   $   11.10   $   95.73   $   110.08   $    205.81
  5/5/2019 Fernie Cruz                    $9.50   58.75   $   11.10   $   94.00   $   104.06   $    198.06
 5/12/2019 Fernie Cruz                    $9.50   41.00   $   11.10   $   65.60   $     5.55   $     71.15
 5/19/2019 Fernie Cruz                    $9.50   53.88   $   11.10   $   86.21   $    77.05   $    163.27
 5/26/2019 Fernie Cruz                    $9.50   47.38   $   11.10   $   75.81   $    40.98   $    116.79
  6/2/2019 Fernie Cruz                    $9.50   41.28   $   11.10   $   66.05   $     7.12   $     73.18
  6/9/2019 Fernie Cruz                    $9.50   45.28   $   11.10   $   72.45   $    29.32   $    101.78
 6/16/2019 Fernie Cruz                    $9.50   57.30   $   11.10   $   91.68   $    96.02   $    187.70
 6/23/2019 Fernie Cruz                    $9.50   59.00   $   11.10   $   94.40   $   105.45   $    199.85
  7/7/2019 Fernie Cruz                   $10.00   46.78   $   11.10   $   51.46   $    37.65   $     89.11
 7/21/2019 Fernie Cruz                   $10.00   54.07   $   11.10   $   59.47   $    78.07   $    137.54
  8/4/2019 Fernie Cruz                   $10.00   60.43   $   11.10   $   66.48   $   113.41   $    179.88
 8/11/2019 Fernie Cruz                   $10.00   45.18   $   11.10   $   49.70   $    28.77   $     78.47
 8/18/2019 Fernie Cruz                   $10.00   56.70   $   11.10   $   62.37   $    92.69   $    155.06
 9/15/2019 Fernie Cruz                   $10.00   61.53   $   11.10   $   67.69   $   119.51   $    187.20
 9/22/2019 Fernie Cruz                   $10.00   55.82   $   11.10   $   61.40   $    87.78   $    149.18
 9/29/2019 Fernie Cruz                   $10.00   45.30   $   11.10   $   49.83   $    29.42   $     79.25
10/13/2019 Fernie Cruz                   $10.00   48.08   $   11.10   $   52.89   $    44.86   $     97.75
10/20/2019 Fernie Cruz                   $11.00   45.72   $   11.10   $    4.57   $    31.73   $     36.30
11/17/2019 Fernie Cruz                   $11.00   51.27   $   11.10   $    5.13   $    62.53   $     67.66
11/24/2019 Fernie Cruz                   $11.00   51.63   $   11.10   $    5.16   $    64.57   $     69.73
 6/18/2017 Gerard Jacob Diers            $10.50   45.90   $    9.70               $    30.98   $     30.98
 6/25/2017 Gerard Jacob Diers            $10.50   50.25   $    9.70               $    53.81   $     53.81
11/17/2019 Harrinson Jimenez             $13.00   48.65   $   11.10               $    56.22   $     56.22
11/24/2019 Harrinson Jimenez             $13.00   52.50   $   11.10               $    81.25   $     81.25
 12/1/2019 Harrinson Jimenez             $13.00   51.12   $   11.10               $    72.26   $     72.26


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                                                Exhibit 6
                                   New York State (Other) Computations

  Week                                                     State     Section 7: Section 7: Total Section 7
                                        Hourly Hours/
 Ending               Name                               Minimum      Regular Half-Time Overtime Back
                                         Rate Week
  Date                                                    Wage       Rate Due     Due       Wages Due
 12/8/2019 Harrinson Jimenez            $13.00   59.22   $   11.10               $   124.91   $    124.91
12/15/2019 Harrinson Jimenez            $13.00   49.23   $   11.10               $    60.02   $     60.02
12/22/2019 Harrinson Jimenez            $13.00   58.40   $   11.10               $   119.60   $    119.60
12/29/2019 Harrinson Jimenez            $13.00   50.03   $   11.10               $    65.22   $     65.22
  1/5/2020 Harrinson Jimenez            $13.00   50.00   $   11.80               $    65.00   $     65.00
 1/12/2020 Harrinson Jimenez            $13.00   55.52   $   11.80               $   100.86   $    100.86
 1/19/2020 Harrinson Jimenez            $13.00   61.78   $   11.80               $   141.59   $    141.59
 1/26/2020 Harrinson Jimenez            $13.00   63.23   $   11.80               $   151.02   $    151.02
 1/19/2020 Isdrael Rodrigo Ramon        $11.00   52.20   $   11.80   $   41.76   $    71.98   $    113.74
 8/18/2019 James Guerrero               $12.00   58.60   $   11.10               $   111.60   $    111.60
 8/25/2019 James Guerrero               $12.00   51.05   $   11.10               $    66.30   $     66.30
  9/1/2019 James Guerrero               $12.00   50.97   $   11.10               $    65.80   $     65.80
  9/8/2019 James Guerrero               $12.00   49.47   $   11.10               $    56.80   $     56.80
 9/15/2019 James Guerrero               $12.00   59.87   $   11.10               $   119.20   $    119.20
 9/22/2019 James Guerrero               $12.00   58.27   $   11.10               $   109.60   $    109.60
 9/29/2019 James Guerrero               $12.00   41.25   $   11.10               $     7.50   $      7.50
 10/6/2019 James Guerrero               $12.00   51.63   $   11.10               $    69.80   $     69.80
10/13/2019 James Guerrero               $12.00   40.17   $   11.10               $     1.00   $      1.00
10/20/2019 James Guerrero               $12.00   61.33   $   11.10               $   128.00   $    128.00
10/27/2019 James Guerrero               $12.00   58.75   $   11.10               $   112.50   $    112.50
 11/3/2019 James Guerrero               $12.00   50.47   $   11.10               $    62.80   $     62.80
 1/19/2020 James Guerrero               $12.50   57.75   $   11.80               $   110.94   $    110.94
 1/26/2020 James Guerrero               $12.50   57.13   $   11.80               $   107.08   $    107.08
  6/4/2017 Jeremy Clark                 $11.00   42.27   $    9.70               $    12.47   $     12.47
 6/11/2017 Jeremy Clark                 $11.00   46.82   $    9.70               $    37.49   $     37.49
 6/25/2017 Jeremy Clark                 $11.00   53.17   $    9.70               $    72.42   $     72.42
  7/9/2017 Jeremy Clark                 $11.00   40.50   $    9.70               $     2.75   $      2.75
 7/16/2017 Jeremy Clark                 $11.00   46.42   $    9.70               $    35.29   $     35.29
  8/6/2017 Jeremy Clark                 $11.00   45.05   $    9.70               $    27.78   $     27.78
 8/20/2017 Jeremy Clark                 $11.00   44.33   $    9.70               $    23.83   $     23.83
  9/3/2017 Jeremy Clark                 $11.00   43.00   $    9.70               $    16.50   $     16.50
 9/24/2017 Jeremy Clark                 $11.00   42.23   $    9.70               $    12.28   $     12.28
 10/1/2017 Jeremy Clark                 $11.00   42.27   $    9.70               $    12.47   $     12.47
10/15/2017 Jeremy Clark                 $11.00   44.98   $    9.70               $    27.41   $     27.41
10/22/2017 Jeremy Clark                 $11.00   50.88   $    9.70               $    59.86   $     59.86
 11/5/2017 Jeremy Clark                 $11.00   40.45   $    9.70               $     2.48   $      2.48
 12/3/2017 Jeremy Clark                 $11.00   48.42   $    9.70               $    46.29   $     46.29
12/10/2017 Jeremy Clark                 $11.00   41.65   $    9.70               $     9.07   $      9.07
12/17/2017 Jeremy Clark                 $11.00   49.93   $    9.70               $    54.63   $     54.63
12/24/2017 Jeremy Clark                 $11.00   46.22   $    9.70               $    34.19   $     34.19
 1/14/2018 Jeremy Clark                 $11.00   48.38   $   10.40               $    46.11   $     46.11
 1/21/2018 Jeremy Clark                 $11.00   49.75   $   10.40               $    53.63   $     53.63
 1/28/2018 Jeremy Clark                 $11.00   42.12   $   10.40               $    11.64   $     11.64
  2/4/2018 Jeremy Clark                 $11.00   40.42   $   10.40               $     2.29   $      2.29
 2/11/2018 Jeremy Clark                 $11.00   43.50   $   10.40               $    19.25   $     19.25
 5/20/2018 Jeremy Clark                 $11.00   42.17   $   10.40               $    11.92   $     11.92
  6/3/2018 Jeremy Clark                 $11.00   41.93   $   10.40               $    10.63   $     10.63
 6/10/2018 Jeremy Clark                 $11.00   44.53   $   10.40               $    24.93   $     24.93


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                                          Exhibit 6
                             New York State (Other) Computations

  Week                                               State     Section 7: Section 7: Total Section 7
                                  Hourly Hours/
 Ending               Name                         Minimum      Regular Half-Time Overtime Back
                                   Rate Week
  Date                                              Wage       Rate Due     Due       Wages Due
  7/1/2018 Jeremy Clark           $11.00   46.72   $   10.40              $    36.94   $      36.94
 7/15/2018 Jeremy Clark           $11.00   42.12   $   10.40              $    11.64   $      11.64
 7/22/2018 Jeremy Clark           $11.00   46.27   $   10.40              $    34.47   $      34.47
  8/5/2018 Jeremy Clark           $11.00   43.17   $   10.40              $    17.42   $      17.42
 8/12/2018 Jeremy Clark           $11.00   43.97   $   10.40              $    21.82   $      21.82
 8/19/2018 Jeremy Clark           $11.00   50.42   $   10.40              $    57.29   $      57.29
 8/26/2018 Jeremy Clark           $11.00   44.68   $   10.40              $    25.76   $      25.76
 9/16/2018 Jeremy Clark           $11.00   48.48   $   10.40              $    46.66   $      46.66
 9/23/2018 Jeremy Clark           $11.00   49.40   $   10.40              $    51.70   $      51.70
 10/7/2018 Jeremy Clark           $11.00   43.28   $   10.40              $    18.06   $      18.06
10/14/2018 Jeremy Clark           $11.00   42.37   $   10.40              $    13.02   $      13.02
10/28/2018 Jeremy Clark           $11.00   54.42   $   10.40              $    79.29   $      79.29
 12/3/2017 Joe Parquet            $11.25   55.85   $    9.70              $    89.16   $      89.16
12/10/2017 Joe Parquet            $11.25   52.23   $    9.70              $    68.81   $      68.81
12/17/2017 Joe Parquet            $11.25   46.72   $    9.70              $    37.78   $      37.78
  2/5/2017 Jorge Guerrero         $16.00   48.92   $    9.70              $    71.33   $      71.33
 2/12/2017 Jorge Guerrero         $16.00   47.80   $    9.70              $    62.40   $      62.40
 2/19/2017 Jorge Guerrero         $16.00   52.62   $    9.70              $   100.93   $     100.93
  3/5/2017 Jorge Guerrero         $16.00   52.52   $    9.70              $   100.13   $     100.13
 3/12/2017 Jorge Guerrero         $16.00   51.48   $    9.70              $    91.87   $      91.87
 3/19/2017 Jorge Guerrero         $16.00   40.63   $    9.70              $     5.07   $       5.07
 3/26/2017 Jorge Guerrero         $16.00   42.48   $    9.70              $    19.87   $      19.87
  4/2/2017 Jorge Guerrero         $16.00   52.73   $    9.70              $   101.87   $     101.87
  4/9/2017 Jorge Guerrero         $16.00   50.42   $    9.70              $    83.33   $      83.33
 4/16/2017 Jorge Guerrero         $16.00   52.63   $    9.70              $   101.07   $     101.07
 4/23/2017 Jorge Guerrero         $16.00   47.62   $    9.70              $    60.93   $      60.93
  5/7/2017 Jorge Guerrero         $16.00   54.02   $    9.70              $   112.13   $     112.13
 5/14/2017 Jorge Guerrero         $16.00   51.77   $    9.70              $    94.13   $      94.13
 5/21/2017 Jorge Guerrero         $16.00   53.07   $    9.70              $   104.53   $     104.53
 5/28/2017 Jorge Guerrero         $16.00   52.37   $    9.70              $    98.93   $      98.93
  6/4/2017 Jorge Guerrero         $16.00   48.15   $    9.70              $    65.20   $      65.20
 6/18/2017 Jorge Guerrero         $16.00   48.18   $    9.70              $    65.47   $      65.47
 6/25/2017 Jorge Guerrero         $16.00   53.50   $    9.70              $   108.00   $     108.00
  7/2/2017 Jorge Guerrero         $16.00   54.23   $    9.70              $   113.87   $     113.87
  7/9/2017 Jorge Guerrero         $16.00   44.58   $    9.70              $    36.67   $      36.67
 7/16/2017 Jorge Guerrero         $16.00   56.97   $    9.70              $   135.73   $     135.73
 7/23/2017 Jorge Guerrero         $16.00   51.23   $    9.70              $    89.87   $      89.87
 7/30/2017 Jorge Guerrero         $16.00   51.72   $    9.70              $    93.73   $      93.73
  8/6/2017 Jorge Guerrero         $16.00   42.70   $    9.70              $    21.60   $      21.60
 8/13/2017 Jorge Guerrero         $16.00   52.00   $    9.70              $    96.00   $      96.00
 8/27/2017 Jorge Guerrero         $16.00   51.68   $    9.70              $    93.47   $      93.47
  9/3/2017 Jorge Guerrero         $16.00   51.30   $    9.70              $    90.40   $      90.40
 9/10/2017 Jorge Guerrero         $16.00   49.25   $    9.70              $    74.00   $      74.00
 9/17/2017 Jorge Guerrero         $16.00   51.28   $    9.70              $    90.27   $      90.27
 9/24/2017 Jorge Guerrero         $16.00   49.88   $    9.70              $    79.07   $      79.07
 10/1/2017 Jorge Guerrero         $16.00   52.62   $    9.70              $   100.93   $     100.93
 10/8/2017 Jorge Guerrero         $16.00   51.68   $    9.70              $    93.47   $      93.47
10/15/2017 Jorge Guerrero         $16.00   51.37   $    9.70              $    90.93   $      90.93


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                             New York State (Other) Computations

  Week                                               State     Section 7: Section 7: Total Section 7
                                  Hourly Hours/
 Ending               Name                         Minimum      Regular Half-Time Overtime Back
                                   Rate Week
  Date                                              Wage       Rate Due     Due       Wages Due
10/22/2017 Jorge Guerrero         $16.00   50.32   $    9.70              $    82.53   $      82.53
10/29/2017 Jorge Guerrero         $16.00   51.77   $    9.70              $    94.13   $      94.13
 11/5/2017 Jorge Guerrero         $16.00   51.82   $    9.70              $    94.53   $      94.53
11/12/2017 Jorge Guerrero         $16.00   44.20   $    9.70              $    33.60   $      33.60
11/19/2017 Jorge Guerrero         $16.00   54.10   $    9.70              $   112.80   $     112.80
12/10/2017 Jorge Guerrero         $16.00   53.07   $    9.70              $   104.53   $     104.53
12/17/2017 Jorge Guerrero         $16.00   51.53   $    9.70              $    92.27   $      92.27
12/24/2017 Jorge Guerrero         $16.00   55.70   $    9.70              $   125.60   $     125.60
12/31/2017 Jorge Guerrero         $16.00   46.58   $   10.40              $    52.67   $      52.67
  1/7/2018 Jorge Guerrero         $16.00   44.80   $   10.40              $    38.40   $      38.40
 1/14/2018 Jorge Guerrero         $16.00   56.87   $   10.40              $   134.93   $     134.93
 1/21/2018 Jorge Guerrero         $16.00   55.55   $   10.40              $   124.40   $     124.40
 1/28/2018 Jorge Guerrero         $16.00   59.43   $   10.40              $   155.47   $     155.47
  2/4/2018 Jorge Guerrero         $16.00   54.83   $   10.40              $   118.67   $     118.67
 2/11/2018 Jorge Guerrero         $16.00   56.03   $   10.40              $   128.27   $     128.27
 2/18/2018 Jorge Guerrero         $16.00   50.93   $   10.40              $    87.47   $      87.47
 2/25/2018 Jorge Guerrero         $16.00   53.68   $   10.40              $   109.47   $     109.47
  3/4/2018 Jorge Guerrero         $16.00   50.67   $   10.40              $    85.33   $      85.33
 3/25/2018 Jorge Guerrero         $16.00   53.80   $   10.40              $   110.40   $     110.40
  4/1/2018 Jorge Guerrero         $16.00   56.00   $   10.40              $   128.00   $     128.00
  4/8/2018 Jorge Guerrero         $16.00   51.98   $   10.40              $    95.87   $      95.87
 4/15/2018 Jorge Guerrero         $16.00   52.65   $   10.40              $   101.20   $     101.20
 4/22/2018 Jorge Guerrero         $16.00   51.28   $   10.40              $    90.27   $      90.27
 4/29/2018 Jorge Guerrero         $16.00   53.17   $   10.40              $   105.33   $     105.33
  5/6/2018 Jorge Guerrero         $16.00   48.93   $   10.40              $    71.47   $      71.47
 5/13/2018 Jorge Guerrero         $16.00   55.15   $   10.40              $   121.20   $     121.20
 5/20/2018 Jorge Guerrero         $16.00   53.50   $   10.40              $   108.00   $     108.00
 5/27/2018 Jorge Guerrero         $16.00   57.10   $   10.40              $   136.80   $     136.80
  6/3/2018 Jorge Guerrero         $16.00   51.83   $   10.40              $    94.67   $      94.67
 6/10/2018 Jorge Guerrero         $16.00   54.25   $   10.40              $   114.00   $     114.00
 6/17/2018 Jorge Guerrero         $16.00   45.32   $   10.40              $    42.53   $      42.53
 6/24/2018 Jorge Guerrero         $16.00   55.93   $   10.40              $   127.47   $     127.47
  7/1/2018 Jorge Guerrero         $16.00   51.90   $   10.40              $    95.20   $      95.20
  7/8/2018 Jorge Guerrero         $16.00   44.13   $   10.40              $    33.07   $      33.07
 7/15/2018 Jorge Guerrero         $16.00   54.65   $   10.40              $   117.20   $     117.20
 7/22/2018 Jorge Guerrero         $16.00   52.03   $   10.40              $    96.27   $      96.27
 7/29/2018 Jorge Guerrero         $16.00   52.38   $   10.40              $    99.07   $      99.07
  8/5/2018 Jorge Guerrero         $16.00   58.68   $   10.40              $   149.47   $     149.47
 8/12/2018 Jorge Guerrero         $16.00   56.83   $   10.40              $   134.67   $     134.67
 8/19/2018 Jorge Guerrero         $16.00   61.38   $   10.40              $   171.07   $     171.07
 8/26/2018 Jorge Guerrero         $16.00   62.58   $   10.40              $   180.67   $     180.67
  9/2/2018 Jorge Guerrero         $16.00   61.20   $   10.40              $   169.60   $     169.60
  9/9/2018 Jorge Guerrero         $16.00   55.03   $   10.40              $   120.27   $     120.27
 9/16/2018 Jorge Guerrero         $16.00   62.95   $   10.40              $   183.60   $     183.60
 9/23/2018 Jorge Guerrero         $16.00   60.93   $   10.40              $   167.47   $     167.47
 9/30/2018 Jorge Guerrero         $16.00   61.82   $   10.40              $   174.53   $     174.53
 10/7/2018 Jorge Guerrero         $16.00   61.78   $   10.40              $   174.27   $     174.27
10/14/2018 Jorge Guerrero         $16.00   50.32   $   10.40              $    82.53   $      82.53


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                                          Exhibit 6
                             New York State (Other) Computations

  Week                                               State     Section 7: Section 7: Total Section 7
                                  Hourly Hours/
 Ending               Name                         Minimum      Regular Half-Time Overtime Back
                                   Rate Week
  Date                                              Wage       Rate Due     Due       Wages Due
10/21/2018 Jorge Guerrero         $16.00   62.18   $   10.40              $   177.47   $     177.47
10/28/2018 Jorge Guerrero         $16.00   61.85   $   10.40              $   174.80   $     174.80
 11/4/2018 Jorge Guerrero         $16.00   61.57   $   10.40              $   172.53   $     172.53
11/11/2018 Jorge Guerrero         $16.00   62.00   $   10.40              $   176.00   $     176.00
11/18/2018 Jorge Guerrero         $16.00   58.87   $   10.40              $   150.93   $     150.93
11/25/2018 Jorge Guerrero         $16.00   49.43   $   10.40              $    75.47   $      75.47
 12/2/2018 Jorge Guerrero         $16.00   56.82   $   10.40              $   134.53   $     134.53
 12/9/2018 Jorge Guerrero         $16.00   59.42   $   10.40              $   155.33   $     155.33
12/16/2018 Jorge Guerrero         $16.00   60.85   $   10.40              $   166.80   $     166.80
12/23/2018 Jorge Guerrero         $16.00   49.28   $   10.40              $    74.27   $      74.27
12/30/2018 Jorge Guerrero         $16.00   40.30   $   10.40              $     2.40   $       2.40
  1/6/2019 Jorge Guerrero         $16.00   46.70   $   11.10              $    53.60   $      53.60
 1/13/2019 Jorge Guerrero         $16.00   56.58   $   11.10              $   132.67   $     132.67
 1/20/2019 Jorge Guerrero         $16.00   58.25   $   11.10              $   146.00   $     146.00
 1/27/2019 Jorge Guerrero         $16.00   57.25   $   11.10              $   138.00   $     138.00
  2/3/2019 Jorge Guerrero         $16.00   58.67   $   11.10              $   149.33   $     149.33
 2/10/2019 Jorge Guerrero         $16.00   57.90   $   11.10              $   143.20   $     143.20
 2/17/2019 Jorge Guerrero         $16.00   54.63   $   11.10              $   117.07   $     117.07
 2/24/2019 Jorge Guerrero         $16.00   56.28   $   11.10              $   130.27   $     130.27
  3/3/2019 Jorge Guerrero         $16.00   56.18   $   11.10              $   129.47   $     129.47
 3/10/2019 Jorge Guerrero         $16.00   58.00   $   11.10              $   144.00   $     144.00
 3/17/2019 Jorge Guerrero         $16.00   62.10   $   11.10              $   176.80   $     176.80
 3/24/2019 Jorge Guerrero         $16.00   57.08   $   11.10              $   136.67   $     136.67
 3/31/2019 Jorge Guerrero         $16.00   57.78   $   11.10              $   142.27   $     142.27
  4/7/2019 Jorge Guerrero         $16.00   48.25   $   11.10              $    66.00   $      66.00
 4/14/2019 Jorge Guerrero         $16.00   58.28   $   11.10              $   146.27   $     146.27
 4/21/2019 Jorge Guerrero         $16.00   58.85   $   11.10              $   150.80   $     150.80
 4/28/2019 Jorge Guerrero         $16.00   59.93   $   11.10              $   159.47   $     159.47
  5/5/2019 Jorge Guerrero         $16.00   58.17   $   11.10              $   145.33   $     145.33
 5/12/2019 Jorge Guerrero         $16.00   57.13   $   11.10              $   137.07   $     137.07
 5/19/2019 Jorge Guerrero         $16.00   56.72   $   11.10              $   133.73   $     133.73
 5/26/2019 Jorge Guerrero         $16.00   55.52   $   11.10              $   124.13   $     124.13
  6/2/2019 Jorge Guerrero         $16.00   55.03   $   11.10              $   120.27   $     120.27
  6/9/2019 Jorge Guerrero         $16.00   55.13   $   11.10              $   121.07   $     121.07
 6/16/2019 Jorge Guerrero         $16.00   53.20   $   11.10              $   105.60   $     105.60
 6/23/2019 Jorge Guerrero         $16.00   54.68   $   11.10              $   117.47   $     117.47
 6/30/2019 Jorge Guerrero         $16.00   57.10   $   11.10              $   136.80   $     136.80
  7/7/2019 Jorge Guerrero         $16.00   46.10   $   11.10              $    48.80   $      48.80
 7/14/2019 Jorge Guerrero         $16.00   47.30   $   11.10              $    58.40   $      58.40
 7/21/2019 Jorge Guerrero         $16.00   55.77   $   11.10              $   126.13   $     126.13
 7/28/2019 Jorge Guerrero         $16.00   55.02   $   11.10              $   120.13   $     120.13
  8/4/2019 Jorge Guerrero         $16.00   53.37   $   11.10              $   106.93   $     106.93
 8/11/2019 Jorge Guerrero         $16.00   56.05   $   11.10              $   128.40   $     128.40
 8/18/2019 Jorge Guerrero         $16.00   57.37   $   11.10              $   138.93   $     138.93
  9/8/2019 Jorge Guerrero         $16.00   48.83   $   11.10              $    70.67   $      70.67
 9/15/2019 Jorge Guerrero         $16.00   55.22   $   11.10              $   121.73   $     121.73
 9/22/2019 Jorge Guerrero         $16.00   56.83   $   11.10              $   134.67   $     134.67
 9/29/2019 Jorge Guerrero         $16.00   56.13   $   11.10              $   129.07   $     129.07


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                                       New York State (Other) Computations

  Week                                                         State     Section 7: Section 7: Total Section 7
                                            Hourly Hours/
 Ending                Name                                  Minimum      Regular Half-Time Overtime Back
                                             Rate Week
  Date                                                        Wage       Rate Due     Due       Wages Due
 10/6/2019 Jorge Guerrero                   $16.00   56.95   $   11.10               $   135.60   $    135.60
10/13/2019 Jorge Guerrero                   $16.00   53.27   $   11.10               $   106.13   $    106.13
10/20/2019 Jorge Guerrero                   $16.00   55.15   $   11.10               $   121.20   $    121.20
10/27/2019 Jorge Guerrero                   $16.00   57.18   $   11.10               $   137.47   $    137.47
 11/3/2019 Jorge Guerrero                   $16.00   57.33   $   11.10               $   138.67   $    138.67
11/10/2019 Jorge Guerrero                   $16.00   56.33   $   11.10               $   130.67   $    130.67
11/17/2019 Jorge Guerrero                   $16.00   58.18   $   11.10               $   145.47   $    145.47
11/24/2019 Jorge Guerrero                   $16.00   58.50   $   11.10               $   148.00   $    148.00
 12/1/2019 Jorge Guerrero                   $16.00   48.78   $   11.10               $    70.27   $     70.27
 12/8/2019 Jorge Guerrero                   $16.00   53.62   $   11.10               $   108.93   $    108.93
12/15/2019 Jorge Guerrero                   $16.00   55.13   $   11.10               $   121.07   $    121.07
12/22/2019 Jorge Guerrero                   $16.00   56.77   $   11.10               $   134.13   $    134.13
12/29/2019 Jorge Guerrero                   $16.00   41.08   $   11.10               $     8.67   $      8.67
  1/5/2020 Jorge Guerrero                   $16.00   45.22   $   11.80               $    41.73   $     41.73
 1/12/2020 Jorge Guerrero                   $16.00   57.25   $   11.80               $   138.00   $    138.00
 1/19/2020 Jorge Guerrero                   $16.00   52.50   $   11.80               $   100.00   $    100.00
 1/26/2020 Jorge Guerrero                   $16.00   57.42   $   11.80               $   139.33   $    139.33
  5/7/2017 Jorge Luis Acosta Valerio         $9.00   59.42   $    9.70   $   41.59   $    94.17   $    135.76
 5/14/2017 Jorge Luis Acosta Valerio         $9.00   62.32   $    9.70   $   43.62   $   108.24   $    151.86
 5/21/2017 Jorge Luis Acosta Valerio         $9.00   61.47   $    9.70   $   43.03   $   104.11   $    147.14
 5/28/2017 Jorge Luis Acosta Valerio         $9.00   61.23   $    9.70   $   42.86   $   102.98   $    145.85
  6/4/2017 Jorge Luis Acosta Valerio         $9.00   54.87   $    9.70   $   38.41   $    72.10   $    110.51
 6/11/2017 Jorge Luis Acosta Valerio         $9.00   61.43   $    9.70   $   43.00   $   103.95   $    146.96
 6/18/2017 Jorge Luis Acosta Valerio         $9.00   61.77   $    9.70   $   43.24   $   105.57   $    148.81
 6/25/2017 Jorge Luis Acosta Valerio         $9.00   60.42   $    9.70   $   42.29   $    99.02   $    141.31
  7/2/2017 Jorge Luis Acosta Valerio         $9.00   62.72   $    9.70   $   43.90   $   110.18   $    154.08
  7/9/2017 Jorge Luis Acosta Valerio         $9.00   51.10   $    9.70   $   35.77   $    53.84   $     89.61
 7/16/2017 Jorge Luis Acosta Valerio         $9.00   60.95   $    9.70   $   42.66   $   101.61   $    144.27
 7/23/2017 Jorge Luis Acosta Valerio         $9.00   60.57   $    9.70   $   42.40   $    99.75   $    142.15
 7/30/2017 Jorge Luis Acosta Valerio         $9.00   62.73   $    9.70   $   43.91   $   110.26   $    154.17
  8/6/2017 Jorge Luis Acosta Valerio         $9.00   62.03   $    9.70   $   43.42   $   106.86   $    150.29
 8/13/2017 Jorge Luis Acosta Valerio         $9.00   62.43   $    9.70   $   43.70   $   108.80   $    152.51
 8/20/2017 Jorge Luis Acosta Valerio         $9.00   59.58   $    9.70   $   41.71   $    94.98   $    136.69
 8/27/2017 Jorge Luis Acosta Valerio         $9.00   61.22   $    9.70   $   42.85   $   102.90   $    145.75
  9/3/2017 Jorge Luis Acosta Valerio         $9.00   61.58   $    9.70   $   43.11   $   104.68   $    147.79
 9/10/2017 Jorge Luis Acosta Valerio         $9.00   48.93   $    9.70   $   34.25   $    43.33   $     77.58
 9/17/2017 Jorge Luis Acosta Valerio         $9.00   58.88   $    9.70   $   41.22   $    91.58   $    132.80
 9/24/2017 Jorge Luis Acosta Valerio         $9.00   59.28   $    9.70   $   41.50   $    93.52   $    135.02
 10/1/2017 Jorge Luis Acosta Valerio         $9.00   60.18   $    9.70   $   42.13   $    97.89   $    140.02
 10/8/2017 Jorge Luis Acosta Valerio         $9.00   58.12   $    9.70   $   40.68   $    87.87   $    128.55
10/15/2017 Jorge Luis Acosta Valerio         $9.00   56.98   $    9.70   $   39.89   $    82.37   $    122.26
10/22/2017 Jorge Luis Acosta Valerio         $9.00   57.93   $    9.70   $   40.55   $    86.98   $    127.53
10/29/2017 Jorge Luis Acosta Valerio         $9.00   58.70   $    9.70   $   41.09   $    90.70   $    131.79
 11/5/2017 Jorge Luis Acosta Valerio         $9.00   47.85   $    9.70   $   33.50   $    38.07   $     71.57
11/12/2017 Jorge Luis Acosta Valerio         $9.00   57.40   $    9.70   $   40.18   $    84.39   $    124.57
11/26/2017 Jose A. Espinoza                 $13.00   46.85   $    9.70               $    44.53   $     44.53
 12/3/2017 Jose A. Espinoza                 $13.00   54.57   $    9.70               $    94.68   $     94.68
12/10/2017 Jose A. Espinoza                 $13.00   48.32   $    9.70               $    54.06   $     54.06


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                                           Exhibit 6
                              New York State (Other) Computations

  Week                                                State     Section 7: Section 7: Total Section 7
                                   Hourly Hours/
 Ending               Name                          Minimum      Regular Half-Time Overtime Back
                                    Rate Week
  Date                                               Wage       Rate Due     Due       Wages Due
12/17/2017 Jose A. Espinoza        $13.00   55.63   $    9.70              $   101.62   $     101.62
12/24/2017 Jose A. Espinoza        $13.00   54.25   $    9.70              $    92.63   $      92.63
12/31/2017 Jose A. Espinoza        $13.00   45.27   $   10.40              $    34.23   $      34.23
  1/7/2018 Jose A. Espinoza        $13.00   40.27   $   10.40              $     1.73   $       1.73
 1/14/2018 Jose A. Espinoza        $13.00   56.48   $   10.40              $   107.14   $     107.14
 1/21/2018 Jose A. Espinoza        $13.00   54.92   $   10.40              $    96.96   $      96.96
 1/28/2018 Jose A. Espinoza        $13.00   57.07   $   10.40              $   110.93   $     110.93
  2/4/2018 Jose A. Espinoza        $13.00   50.13   $   10.40              $    65.87   $      65.87
 2/11/2018 Jose A. Espinoza        $13.00   52.08   $   10.40              $    78.54   $      78.54
 2/18/2018 Jose A. Espinoza        $13.00   55.00   $   10.40              $    97.50   $      97.50
 2/25/2018 Jose A. Espinoza        $13.00   45.73   $   10.40              $    37.27   $      37.27
  3/4/2018 Jose A. Espinoza        $13.00   49.35   $   10.40              $    60.78   $      60.78
 3/25/2018 Jose A. Espinoza        $13.00   60.68   $   10.40              $   134.44   $     134.44
  4/1/2018 Jose A. Espinoza        $13.00   60.60   $   10.40              $   133.90   $     133.90
  4/8/2018 Jose A. Espinoza        $13.00   49.35   $   10.40              $    60.78   $      60.78
 4/15/2018 Jose A. Espinoza        $13.00   59.03   $   10.40              $   123.72   $     123.72
 4/22/2018 Jose A. Espinoza        $13.00   56.85   $   10.40              $   109.53   $     109.53
 4/29/2018 Jose A. Espinoza        $13.00   55.03   $   10.40              $    97.72   $      97.72
  5/6/2018 Jose A. Espinoza        $13.00   57.50   $   10.40              $   113.75   $     113.75
 5/13/2018 Jose A. Espinoza        $13.00   57.80   $   10.40              $   115.70   $     115.70
 5/20/2018 Jose A. Espinoza        $13.00   47.73   $   10.40              $    50.27   $      50.27
 5/27/2018 Jose A. Espinoza        $13.00   58.50   $   10.40              $   120.25   $     120.25
  6/3/2018 Jose A. Espinoza        $13.00   49.02   $   10.40              $    58.61   $      58.61
 6/10/2018 Jose A. Espinoza        $13.00   56.63   $   10.40              $   108.12   $     108.12
 6/17/2018 Jose A. Espinoza        $13.00   46.43   $   10.40              $    41.82   $      41.82
 6/24/2018 Jose A. Espinoza        $13.00   57.05   $   10.40              $   110.83   $     110.83
  7/1/2018 Jose A. Espinoza        $13.00   56.73   $   10.40              $   108.77   $     108.77
  7/8/2018 Jose A. Espinoza        $13.00   47.53   $   10.40              $    48.97   $      48.97
 7/15/2018 Jose A. Espinoza        $13.00   53.90   $   10.40              $    90.35   $      90.35
 7/22/2018 Jose A. Espinoza        $13.00   49.35   $   10.40              $    60.77   $      60.77
 7/29/2018 Jose A. Espinoza        $13.00   61.87   $   10.40              $   142.13   $     142.13
  8/5/2018 Jose A. Espinoza        $13.00   57.43   $   10.40              $   113.32   $     113.32
 8/12/2018 Jose A. Espinoza        $13.00   55.07   $   10.40              $    97.93   $      97.93
 8/19/2018 Jose A. Espinoza        $13.00   59.20   $   10.40              $   124.80   $     124.80
 8/26/2018 Jose A. Espinoza        $13.00   56.80   $   10.40              $   109.20   $     109.20
  9/2/2018 Jose A. Espinoza        $13.00   57.27   $   10.40              $   112.23   $     112.23
  9/9/2018 Jose A. Espinoza        $13.00   49.93   $   10.40              $    64.57   $      64.57
 9/16/2018 Jose A. Espinoza        $13.00   56.00   $   10.40              $   104.00   $     104.00
 9/23/2018 Jose A. Espinoza        $13.00   54.53   $   10.40              $    94.47   $      94.47
 9/30/2018 Jose A. Espinoza        $13.00   56.77   $   10.40              $   108.98   $     108.98
 10/7/2018 Jose A. Espinoza        $13.00   57.83   $   10.40              $   115.92   $     115.92
10/14/2018 Jose A. Espinoza        $13.00   55.72   $   10.40              $   102.16   $     102.16
10/21/2018 Jose A. Espinoza        $13.00   45.53   $   10.40              $    35.97   $      35.97
10/28/2018 Jose A. Espinoza        $13.00   55.65   $   10.40              $   101.73   $     101.73
 11/4/2018 Jose A. Espinoza        $13.00   55.80   $   10.40              $   102.70   $     102.70
11/11/2018 Jose A. Espinoza        $13.00   45.53   $   10.40              $    35.97   $      35.97
11/18/2018 Jose A. Espinoza        $13.00   52.45   $   10.40              $    80.93   $      80.93
11/25/2018 Jose A. Espinoza        $13.00   42.63   $   10.40              $    17.12   $      17.12


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                                           Exhibit 6
                              New York State (Other) Computations

  Week                                                State     Section 7: Section 7: Total Section 7
                                   Hourly Hours/
 Ending               Name                          Minimum      Regular Half-Time Overtime Back
                                    Rate Week
  Date                                               Wage       Rate Due     Due       Wages Due
 12/2/2018 Jose A. Espinoza        $13.00   54.60   $   10.40              $    94.90   $      94.90
 12/9/2018 Jose A. Espinoza        $13.00   55.42   $   10.40              $   100.21   $     100.21
12/16/2018 Jose A. Espinoza        $13.00   50.67   $   10.40              $    69.33   $      69.33
12/23/2018 Jose A. Espinoza        $13.00   56.18   $   10.40              $   105.19   $     105.19
12/30/2018 Jose A. Espinoza        $13.00   42.63   $   10.40              $    17.12   $      17.12
  1/6/2019 Jose A. Espinoza        $13.00   42.52   $   11.10              $    16.36   $      16.36
 1/13/2019 Jose A. Espinoza        $13.00   58.50   $   11.10              $   120.25   $     120.25
 1/20/2019 Jose A. Espinoza        $13.00   55.18   $   11.10              $    98.69   $      98.69
 1/27/2019 Jose A. Espinoza        $13.00   55.43   $   11.10              $   100.32   $     100.32
 2/10/2019 Jose A. Espinoza        $13.00   47.33   $   11.10              $    47.67   $      47.67
 2/17/2019 Jose A. Espinoza        $13.00   50.75   $   11.10              $    69.88   $      69.88
 2/24/2019 Jose A. Espinoza        $13.00   55.52   $   11.10              $   100.86   $     100.86
  3/3/2019 Jose A. Espinoza        $13.00   55.45   $   11.10              $   100.43   $     100.43
 3/10/2019 Jose A. Espinoza        $13.00   54.93   $   11.10              $    97.07   $      97.07
 3/17/2019 Jose A. Espinoza        $13.00   57.92   $   11.10              $   116.46   $     116.46
 3/24/2019 Jose A. Espinoza        $13.00   47.93   $   11.10              $    51.57   $      51.57
 3/31/2019 Jose A. Espinoza        $13.00   57.15   $   11.10              $   111.48   $     111.48
  4/7/2019 Jose A. Espinoza        $13.00   59.68   $   11.10              $   127.94   $     127.94
 4/14/2019 Jose A. Espinoza        $13.00   56.63   $   11.10              $   108.12   $     108.12
 4/21/2019 Jose A. Espinoza        $13.00   57.32   $   11.10              $   112.56   $     112.56
 4/28/2019 Jose A. Espinoza        $13.00   57.78   $   11.10              $   115.59   $     115.59
  5/5/2019 Jose A. Espinoza        $13.00   58.30   $   11.10              $   118.95   $     118.95
 5/12/2019 Jose A. Espinoza        $13.00   58.05   $   11.10              $   117.33   $     117.33
 5/19/2019 Jose A. Espinoza        $13.00   54.60   $   11.10              $    94.90   $      94.90
 5/26/2019 Jose A. Espinoza        $13.00   57.78   $   11.10              $   115.59   $     115.59
  6/2/2019 Jose A. Espinoza        $13.00   49.77   $   11.10              $    63.48   $      63.48
  6/9/2019 Jose A. Espinoza        $13.00   57.58   $   11.10              $   114.29   $     114.29
 6/16/2019 Jose A. Espinoza        $13.00   58.02   $   11.10              $   117.11   $     117.11
 6/23/2019 Jose A. Espinoza        $13.00   58.95   $   11.10              $   123.18   $     123.18
 6/30/2019 Jose A. Espinoza        $13.00   61.52   $   11.10              $   139.86   $     139.86
  7/7/2019 Jose A. Espinoza        $14.00   53.83   $   11.10              $    96.83   $      96.83
 7/14/2019 Jose A. Espinoza        $14.00   59.50   $   11.10              $   136.50   $     136.50
 7/21/2019 Jose A. Espinoza        $14.00   57.33   $   11.10              $   121.33   $     121.33
 7/28/2019 Jose A. Espinoza        $14.00   56.05   $   11.10              $   112.35   $     112.35
  8/4/2019 Jose A. Espinoza        $14.00   56.87   $   11.10              $   118.07   $     118.07
 8/11/2019 Jose A. Espinoza        $14.00   57.57   $   11.10              $   122.97   $     122.97
 8/18/2019 Jose A. Espinoza        $14.00   43.85   $   11.10              $    26.95   $      26.95
  9/1/2019 Jose A. Espinoza        $14.00   46.75   $   11.10              $    47.25   $      47.25
  9/8/2019 Jose A. Espinoza        $14.00   45.65   $   11.10              $    39.55   $      39.55
 9/15/2019 Jose A. Espinoza        $14.00   46.00   $   11.10              $    42.00   $      42.00
 9/22/2019 Jose A. Espinoza        $14.00   53.90   $   11.10              $    97.30   $      97.30
 9/29/2019 Jose A. Espinoza        $14.00   55.18   $   11.10              $   106.28   $     106.28
 10/6/2019 Jose A. Espinoza        $14.00   52.97   $   11.10              $    90.77   $      90.77
10/13/2019 Jose A. Espinoza        $14.00   54.47   $   11.10              $   101.27   $     101.27
10/20/2019 Jose A. Espinoza        $14.00   51.17   $   11.10              $    78.17   $      78.17
10/27/2019 Jose A. Espinoza        $14.00   43.57   $   11.10              $    24.97   $      24.97
 11/3/2019 Jose A. Espinoza        $14.00   53.98   $   11.10              $    97.88   $      97.88
11/10/2019 Jose A. Espinoza        $14.00   50.18   $   11.10              $    71.28   $      71.28


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                              New York State (Other) Computations

  Week                                                State     Section 7: Section 7: Total Section 7
                                   Hourly Hours/
 Ending               Name                          Minimum      Regular Half-Time Overtime Back
                                    Rate Week
  Date                                               Wage       Rate Due     Due       Wages Due
11/17/2019 Jose A. Espinoza        $14.00   51.62   $   11.10              $    81.32   $      81.32
11/24/2019 Jose A. Espinoza        $14.00   43.05   $   11.10              $    21.35   $      21.35
 12/1/2019 Jose A. Espinoza        $14.00   41.13   $   11.10              $     7.93   $       7.93
 12/8/2019 Jose A. Espinoza        $14.00   47.78   $   11.10              $    54.48   $      54.48
12/15/2019 Jose A. Espinoza        $14.00   51.92   $   11.10              $    83.42   $      83.42
12/22/2019 Jose A. Espinoza        $14.00   52.60   $   11.10              $    88.20   $      88.20
12/29/2019 Jose A. Espinoza        $14.00   41.20   $   11.10              $     8.40   $       8.40
  1/5/2020 Jose A. Espinoza        $14.00   42.35   $   11.80              $    16.45   $      16.45
 1/12/2020 Jose A. Espinoza        $14.00   53.03   $   11.80              $    91.23   $      91.23
 1/19/2020 Jose A. Espinoza        $14.00   50.77   $   11.80              $    75.37   $      75.37
 1/26/2020 Jose A. Espinoza        $14.00   51.20   $   11.80              $    78.40   $      78.40
  2/5/2017 Jose Ferreira           $14.00   58.10   $    9.70              $   126.70   $     126.70
 2/12/2017 Jose Ferreira           $14.00   49.55   $    9.70              $    66.85   $      66.85
 2/19/2017 Jose Ferreira           $14.00   50.17   $    9.70              $    71.17   $      71.17
 2/26/2017 Jose Ferreira           $14.00   66.25   $    9.70              $   183.75   $     183.75
  3/5/2017 Jose Ferreira           $14.00   59.88   $    9.70              $   139.18   $     139.18
 3/12/2017 Jose Ferreira           $14.00   59.20   $    9.70              $   134.40   $     134.40
 3/19/2017 Jose Ferreira           $14.00   43.78   $    9.70              $    26.48   $      26.48
 3/26/2017 Jose Ferreira           $14.00   59.78   $    9.70              $   138.48   $     138.48
  4/2/2017 Jose Ferreira           $14.00   49.12   $    9.70              $    63.82   $      63.82
  4/9/2017 Jose Ferreira           $14.00   59.27   $    9.70              $   134.87   $     134.87
 4/16/2017 Jose Ferreira           $14.00   55.15   $    9.70              $   106.05   $     106.05
 4/23/2017 Jose Ferreira           $14.00   63.15   $    9.70              $   162.05   $     162.05
 4/30/2017 Jose Ferreira           $14.00   47.55   $    9.70              $    52.85   $      52.85
  5/7/2017 Jose Ferreira           $14.00   57.58   $    9.70              $   123.08   $     123.08
 5/14/2017 Jose Ferreira           $14.00   61.10   $    9.70              $   147.70   $     147.70
 5/21/2017 Jose Ferreira           $14.00   60.43   $    9.70              $   143.03   $     143.03
 5/28/2017 Jose Ferreira           $14.00   60.13   $    9.70              $   140.93   $     140.93
  6/4/2017 Jose Ferreira           $14.00   54.47   $    9.70              $   101.27   $     101.27
 6/11/2017 Jose Ferreira           $14.00   61.00   $    9.70              $   147.00   $     147.00
 6/18/2017 Jose Ferreira           $14.00   60.35   $    9.70              $   142.45   $     142.45
 6/25/2017 Jose Ferreira           $14.00   59.98   $    9.70              $   139.88   $     139.88
  7/2/2017 Jose Ferreira           $14.00   62.18   $    9.70              $   155.28   $     155.28
  7/9/2017 Jose Ferreira           $14.00   50.98   $    9.70              $    76.88   $      76.88
 7/16/2017 Jose Ferreira           $14.00   60.42   $    9.70              $   142.92   $     142.92
 7/23/2017 Jose Ferreira           $14.00   60.50   $    9.70              $   143.50   $     143.50
 7/30/2017 Jose Ferreira           $14.00   62.63   $    9.70              $   158.43   $     158.43
  8/6/2017 Jose Ferreira           $14.00   61.30   $    9.70              $   149.10   $     149.10
 8/13/2017 Jose Ferreira           $14.00   62.23   $    9.70              $   155.63   $     155.63
 8/20/2017 Jose Ferreira           $14.00   59.80   $    9.70              $   138.60   $     138.60
 8/27/2017 Jose Ferreira           $14.00   50.32   $    9.70              $    72.22   $      72.22
  9/3/2017 Jose Ferreira           $14.00   61.65   $    9.70              $   151.55   $     151.55
 9/17/2017 Jose Ferreira           $14.00   59.02   $    9.70              $   133.12   $     133.12
 9/24/2017 Jose Ferreira           $14.00   48.08   $    9.70              $    56.58   $      56.58
 10/1/2017 Jose Ferreira           $14.00   59.75   $    9.70              $   138.25   $     138.25
 10/8/2017 Jose Ferreira           $14.00   58.73   $    9.70              $   131.13   $     131.13
10/29/2017 Jose Ferreira           $14.00   59.40   $    9.70              $   135.80   $     135.80
 11/5/2017 Jose Ferreira           $14.00   56.78   $    9.70              $   117.48   $     117.48


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                                           Exhibit 6
                              New York State (Other) Computations

  Week                                                State     Section 7: Section 7: Total Section 7
                                   Hourly Hours/
 Ending                Name                         Minimum      Regular Half-Time Overtime Back
                                    Rate Week
  Date                                               Wage       Rate Due     Due       Wages Due
11/12/2017 Jose Ferreira           $14.00   48.85   $    9.70              $    61.95   $      61.95
11/19/2017 Jose Ferreira           $14.00   55.73   $    9.70              $   110.13   $     110.13
11/26/2017 Jose Ferreira           $14.00   46.88   $    9.70              $    48.18   $      48.18
 12/3/2017 Jose Ferreira           $14.00   57.72   $    9.70              $   124.02   $     124.02
12/10/2017 Jose Ferreira           $14.00   56.92   $    9.70              $   118.42   $     118.42
12/17/2017 Jose Ferreira           $14.00   46.75   $    9.70              $    47.25   $      47.25
12/24/2017 Jose Ferreira           $14.00   45.90   $    9.70              $    41.30   $      41.30
 1/14/2018 Jose Ferreira           $14.00   61.87   $   10.40              $   153.07   $     153.07
 1/21/2018 Jose Ferreira           $14.00   63.33   $   10.40              $   163.33   $     163.33
 1/28/2018 Jose Ferreira           $14.00   64.90   $   10.40              $   174.30   $     174.30
  2/4/2018 Jose Ferreira           $14.00   63.28   $   10.40              $   162.98   $     162.98
 2/11/2018 Jose Ferreira           $14.00   58.30   $   10.40              $   128.10   $     128.10
 2/18/2018 Jose Ferreira           $14.00   59.53   $   10.40              $   136.73   $     136.73
 2/25/2018 Jose Ferreira           $14.00   60.25   $   10.40              $   141.75   $     141.75
  3/4/2018 Jose Ferreira           $14.00   48.63   $   10.40              $    60.43   $      60.43
 3/25/2018 Jose Ferreira           $14.00   65.12   $   10.40              $   175.82   $     175.82
  4/1/2018 Jose Ferreira           $14.00   54.38   $   10.40              $   100.68   $     100.68
  4/8/2018 Jose Ferreira           $14.00   64.85   $   10.40              $   173.95   $     173.95
 4/15/2018 Jose Ferreira           $14.00   62.30   $   10.40              $   156.10   $     156.10
 4/22/2018 Jose Ferreira           $14.00   66.40   $   10.40              $   184.80   $     184.80
 4/29/2018 Jose Ferreira           $14.00   51.32   $   10.40              $    79.22   $      79.22
 5/13/2018 Jose Ferreira           $14.00   48.72   $   10.40              $    61.02   $      61.02
 5/20/2018 Jose Ferreira           $14.00   62.80   $   10.40              $   159.60   $     159.60
 5/27/2018 Jose Ferreira           $14.00   66.75   $   10.40              $   187.25   $     187.25
  6/3/2018 Jose Ferreira           $14.00   58.22   $   10.40              $   127.52   $     127.52
 6/10/2018 Jose Ferreira           $14.00   61.85   $   10.40              $   152.95   $     152.95
 6/17/2018 Jose Ferreira           $14.00   41.32   $   10.40              $     9.22   $       9.22
 6/24/2018 Jose Ferreira           $14.00   63.00   $   10.40              $   161.00   $     161.00
  7/1/2018 Jose Ferreira           $14.00   45.30   $   10.40              $    37.10   $      37.10
  7/8/2018 Jose Ferreira           $14.00   44.85   $   10.40              $    33.95   $      33.95
 7/15/2018 Jose Ferreira           $14.00   63.55   $   10.40              $   164.85   $     164.85
 7/22/2018 Jose Ferreira           $14.00   51.17   $   10.40              $    78.17   $      78.17
 7/29/2018 Jose Ferreira           $14.00   59.22   $   10.40              $   134.52   $     134.52
  8/5/2018 Jose Ferreira           $14.00   52.12   $   10.40              $    84.82   $      84.82
 8/12/2018 Jose Ferreira           $14.00   62.65   $   10.40              $   158.55   $     158.55
 8/19/2018 Jose Ferreira           $14.00   57.45   $   10.40              $   122.15   $     122.15
 8/26/2018 Jose Ferreira           $14.00   45.02   $   10.40              $    35.12   $      35.12
  9/2/2018 Jose Ferreira           $14.00   54.25   $   10.40              $    99.75   $      99.75
  9/9/2018 Jose Ferreira           $14.00   44.07   $   10.40              $    28.47   $      28.47
 9/30/2018 Jose Ferreira           $14.00   58.10   $   10.40              $   126.70   $     126.70
 10/7/2018 Jose Ferreira           $14.00   57.43   $   10.40              $   122.03   $     122.03
10/14/2018 Jose Ferreira           $14.00   56.98   $   10.40              $   118.88   $     118.88
10/21/2018 Jose Ferreira           $14.00   40.57   $   10.40              $     3.97   $       3.97
10/28/2018 Jose Ferreira           $14.00   51.45   $   10.40              $    80.15   $      80.15
11/11/2018 Jose Ferreira           $14.00   41.72   $   10.40              $    12.02   $      12.02
 1/13/2019 Jose Ferreira           $14.00   56.48   $   11.10              $   115.38   $     115.38
 1/20/2019 Jose Ferreira           $14.00   40.25   $   11.10              $     1.75   $       1.75
 3/24/2019 Jose Ferreira           $14.00   52.70   $   11.10              $    88.90   $      88.90


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                                         Exhibit 6
                            New York State (Other) Computations

  Week                                              State     Section 7: Section 7: Total Section 7
                                 Hourly Hours/
 Ending             Name                          Minimum      Regular Half-Time Overtime Back
                                  Rate Week
  Date                                             Wage       Rate Due     Due       Wages Due
  4/7/2019 Jose Ferreira         $14.00   52.68   $   11.10               $    88.78   $     88.78
 4/14/2019 Jose Ferreira         $14.00   77.63   $   11.10               $   263.43   $    263.43
 4/21/2019 Jose Ferreira         $14.00   49.43   $   11.10               $    66.03   $     66.03
 4/28/2019 Jose Ferreira         $14.00   54.62   $   11.10               $   102.32   $    102.32
 5/12/2019 Jose Ferreira         $14.00   48.42   $   11.10               $    58.92   $     58.92
10/13/2019 Jose Ferreira         $14.00   44.97   $   11.10               $    34.77   $     34.77
10/27/2019 Jose Ferreira         $14.00   41.72   $   11.10               $    12.02   $     12.02
 11/3/2019 Jose Ferreira         $14.00   46.00   $   11.10               $    42.00   $     42.00
 12/1/2019 Jose Ferreira         $14.00   46.47   $   11.10               $    45.27   $     45.27
 12/8/2019 Jose Ferreira         $14.00   49.05   $   11.10               $    63.35   $     63.35
12/15/2019 Jose Ferreira         $14.00   47.55   $   11.10               $    52.85   $     52.85
12/22/2019 Jose Ferreira         $14.00   45.87   $   11.10               $    41.07   $     41.07
 1/12/2020 Jose Ferreira         $14.00   50.55   $   11.80               $    73.85   $     73.85
 1/26/2020 Jose Ferreira         $14.00   40.77   $   11.80               $     5.37   $      5.37
  2/5/2017 Jose Flores           $11.50   51.92   $    9.70               $    68.52   $     68.52
 2/19/2017 Jose Flores           $11.50   45.92   $    9.70               $    34.02   $     34.02
 2/26/2017 Jose Flores           $11.50   44.87   $    9.70               $    27.98   $     27.98
  3/5/2017 Jose Flores           $11.50   43.25   $    9.70               $    18.69   $     18.69
 5/26/2019 Jose Martinez-        $12.75   47.62   $   11.10               $    48.56   $     48.56
 8/18/2019 Joseph Thigpen        $11.50   59.98   $   11.10               $   114.90   $    114.90
 8/25/2019 Joseph Thigpen        $11.50   49.85   $   11.10               $    56.64   $     56.64
  9/1/2019 Joseph Thigpen        $11.50   59.17   $   11.10               $   110.21   $    110.21
  9/8/2019 Joseph Thigpen        $11.50   45.47   $   11.10               $    31.43   $     31.43
 9/15/2019 Joseph Thigpen        $11.50   56.88   $   11.10               $    97.08   $     97.08
 9/22/2019 Joseph Thigpen        $11.50   45.10   $   11.10               $    29.33   $     29.33
 9/29/2019 Joseph Thigpen        $11.50   40.27   $   11.10               $     1.53   $      1.53
 10/6/2019 Joseph Thigpen        $11.50   56.02   $   11.10               $    92.10   $     92.10
10/13/2019 Joseph Thigpen        $11.50   47.57   $   11.10               $    43.51   $     43.51
10/20/2019 Joseph Thigpen        $11.80   48.02   $   11.10               $    47.30   $     47.30
10/27/2019 Joseph Thigpen        $11.80   46.53   $   11.10               $    38.55   $     38.55
 11/3/2019 Joseph Thigpen        $11.80   49.22   $   11.10               $    54.38   $     54.38
11/10/2019 Joseph Thigpen        $11.80   46.48   $   11.10               $    38.25   $     38.25
11/17/2019 Joseph Thigpen        $11.80   46.50   $   11.10               $    38.35   $     38.35
11/24/2019 Joseph Thigpen        $11.80   42.70   $   11.10               $    15.93   $     15.93
 12/1/2019 Joseph Thigpen        $11.80   46.30   $   11.10               $    37.17   $     37.17
12/15/2019 Joseph Thigpen        $11.50   60.48   $   11.10               $   117.78   $    117.78
12/22/2019 Joseph Thigpen        $11.50   50.45   $   11.10               $    60.09   $     60.09
12/29/2019 Joseph Thigpen        $11.50   42.37   $   11.10               $    13.61   $     13.61
  1/5/2020 Joseph Thigpen        $11.50   43.67   $   11.80   $   13.10   $    21.63   $     34.73
 1/12/2020 Joseph Thigpen        $11.50   48.03   $   11.80   $   14.41   $    47.40   $     61.81
 1/19/2020 Joseph Thigpen        $11.50   44.38   $   11.80   $   13.32   $    25.86   $     39.18
 7/21/2019 Joshua Campana        $13.50   60.08   $   11.10               $   135.56   $    135.56
 7/28/2019 Joshua Campana        $13.50   55.92   $   11.10               $   107.44   $    107.44
 8/11/2019 Joshua Campana        $13.50   56.12   $   11.10               $   108.79   $    108.79
 8/18/2019 Joshua Campana        $13.50   58.00   $   11.10               $   121.50   $    121.50
 8/25/2019 Joshua Campana        $13.50   56.77   $   11.10               $   113.18   $    113.18
  9/8/2019 Joshua Campana        $13.50   52.85   $   11.10               $    86.74   $     86.74
 9/15/2019 Joshua Campana        $13.50   55.43   $   11.10               $   104.18   $    104.18


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                                                 Exhibit 6
                                    New York State (Other) Computations

  Week                                                      State     Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending              Name                                 Minimum      Regular Half-Time Overtime Back
                                          Rate Week
  Date                                                     Wage       Rate Due     Due       Wages Due
 9/22/2019 Joshua Campana                $13.50   55.05   $   11.10               $   101.59   $    101.59
 9/29/2019 Joshua Campana                $13.50   61.90   $   11.10               $   147.83   $    147.83
10/13/2019 Joshua Campana                $13.50   44.90   $   11.10               $    33.08   $     33.08
10/20/2019 Joshua Campana                $13.50   54.20   $   11.10               $    95.85   $     95.85
10/27/2019 Joshua Campana                $13.50   57.02   $   11.10               $   114.86   $    114.86
 11/3/2019 Joshua Campana                $13.50   57.70   $   11.10               $   119.48   $    119.48
11/10/2019 Joshua Campana                $13.50   57.85   $   11.10               $   120.49   $    120.49
11/17/2019 Joshua Campana                $13.50   53.67   $   11.10               $    92.25   $     92.25
11/24/2019 Joshua Campana                $13.50   46.97   $   11.10               $    47.03   $     47.03
 12/8/2019 Joshua Campana                $13.50   52.32   $   11.10               $    83.14   $     83.14
12/15/2019 Joshua Campana                $13.50   53.43   $   11.10               $    90.68   $     90.68
12/22/2019 Joshua Campana                $13.50   56.57   $   11.10               $   111.83   $    111.83
12/29/2019 Joshua Campana                $13.50   40.13   $   11.10               $     0.90   $      0.90
  1/5/2020 Joshua Campana                $13.50   54.63   $   11.80               $    98.78   $     98.78
 1/12/2020 Joshua Campana                $13.50   60.05   $   11.80               $   135.34   $    135.34
 1/19/2020 Joshua Campana                $13.50   57.40   $   11.80               $   117.45   $    117.45
 1/26/2020 Joshua Campana                $13.50   64.03   $   11.80               $   162.23   $    162.23
10/29/2017 Juan A. Gonzalez Gomez         $9.50   48.72   $    9.70   $    9.74   $    42.28   $     52.02
 11/5/2017 Juan A. Gonzalez Gomez         $9.50   55.52   $    9.70   $   11.10   $    75.26   $     86.36
11/12/2017 Juan A. Gonzalez Gomez         $9.50   50.12   $    9.70   $   10.02   $    49.07   $     59.09
 12/9/2018 Justin Ledgister              $11.50   57.00   $   10.40               $    97.75   $     97.75
12/16/2018 Justin Ledgister              $11.50   55.88   $   10.40               $    91.33   $     91.33
12/23/2018 Justin Ledgister              $11.50   56.77   $   10.40               $    96.41   $     96.41
  1/6/2019 Justin Ledgister              $11.50   42.27   $   11.10               $    13.03   $     13.03
 1/13/2019 Justin Ledgister              $11.50   45.48   $   11.10               $    31.53   $     31.53
 1/27/2019 Justin Ledgister              $11.50   55.00   $   11.10               $    86.25   $     86.25
  2/3/2019 Justin Ledgister              $11.50   53.75   $   11.10               $    79.06   $     79.06
 2/10/2019 Justin Ledgister              $11.50   53.38   $   11.10               $    76.95   $     76.95
 2/17/2019 Justin Ledgister              $11.50   40.88   $   11.10               $     5.08   $      5.08
 2/24/2019 Justin Ledgister              $11.50   51.07   $   11.10               $    63.63   $     63.63
 3/10/2019 Justin Ledgister              $11.50   50.62   $   11.10               $    61.05   $     61.05
 3/17/2019 Justin Ledgister              $11.50   45.25   $   11.10               $    30.19   $     30.19
 3/24/2019 Justin Ledgister              $11.50   50.23   $   11.10               $    58.84   $     58.84
 3/31/2019 Justin Ledgister              $11.50   57.30   $   11.10               $    99.48   $     99.48
  4/7/2019 Justin Ledgister              $11.50   55.62   $   11.10               $    89.80   $     89.80
 4/14/2019 Justin Ledgister              $11.50   57.77   $   11.10               $   102.16   $    102.16
 4/21/2019 Justin Ledgister              $11.50   53.28   $   11.10               $    76.38   $     76.38
 4/28/2019 Justin Ledgister              $11.50   46.97   $   11.10               $    40.06   $     40.06
  5/5/2019 Justin Ledgister              $11.50   53.47   $   11.10               $    77.43   $     77.43
 5/12/2019 Justin Ledgister              $11.50   57.42   $   11.10               $   100.15   $    100.15
 5/19/2019 Justin Ledgister              $11.50   54.08   $   11.10               $    80.98   $     80.98
 5/26/2019 Justin Ledgister              $11.50   54.98   $   11.10               $    86.15   $     86.15
  6/2/2019 Justin Ledgister              $11.50   42.60   $   11.10               $    14.95   $     14.95
  6/9/2019 Justin Ledgister              $11.50   58.15   $   11.10               $   104.36   $    104.36
 6/16/2019 Justin Ledgister              $11.50   60.53   $   11.10               $   118.07   $    118.07
 6/23/2019 Justin Ledgister              $11.50   60.02   $   11.10               $   115.10   $    115.10
 6/30/2019 Justin Ledgister              $11.50   40.33   $   11.10               $     1.92   $      1.92
 12/8/2019 Justin Ledgister              $11.50   40.53   $   11.10               $     3.07   $      3.07


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                                                   Exhibit 6
                                      New York State (Other) Computations

  Week                                                        State     Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending               Name                                  Minimum      Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                       Wage       Rate Due     Due       Wages Due
 9/15/2019 Leon Ron Harvey                 $11.50   42.38   $   11.10               $ 13.70    $       13.70
 10/6/2019 Leon Ron Harvey                 $11.50   47.20   $   11.10               $ 41.40    $       41.40
10/20/2019 Leon Ron Harvey                 $11.50   41.65   $   11.10               $   9.49   $        9.49
12/24/2017 Luis Alvarado                   $10.50   56.03   $    9.70               $ 84.18    $       84.18
12/31/2017 Luis Alvarado                   $10.50   48.80   $   10.40               $ 46.20    $       46.20
  1/7/2018 Luis Alvarado                   $10.50   44.70   $   10.40               $ 24.68    $       24.68
 1/14/2018 Luis Alvarado                   $10.50   57.00   $   10.40               $ 89.25    $       89.25
 1/21/2018 Luis Alvarado                   $10.50   58.33   $   10.40               $ 96.25    $       96.25
 1/28/2018 Luis Alvarado                   $10.50   57.85   $   10.40               $ 93.71    $       93.71
  2/4/2018 Luis Alvarado                   $10.50   57.75   $   10.40               $ 93.19    $       93.19
 2/11/2018 Luis Alvarado                   $10.50   55.98   $   10.40               $ 83.91    $       83.91
 2/18/2018 Luis Alvarado                   $10.50   56.52   $   10.40               $ 86.71    $       86.71
 2/25/2018 Luis Alvarado                   $10.50   57.50   $   10.40               $ 91.88    $       91.88
  3/4/2018 Luis Alvarado                   $10.50   48.55   $   10.40               $ 44.89    $       44.89
 3/25/2018 Luis Alvarado                   $10.50   58.57   $   10.40               $ 97.48    $       97.48
  4/1/2018 Luis Alvarado                   $10.50   59.88   $   10.40               $ 104.39   $      104.39
  4/8/2018 Luis Alvarado                   $10.50   59.15   $   10.40               $ 100.54   $      100.54
 4/15/2018 Luis Alvarado                   $10.50   57.73   $   10.40               $ 93.10    $       93.10
 4/22/2018 Luis Alvarado                   $10.50   58.88   $   10.40               $ 99.14    $       99.14
 4/29/2018 Luis Alvarado                   $10.50   55.25   $   10.40               $ 80.06    $       80.06
  5/6/2018 Luis Alvarado                   $10.50   55.15   $   10.40               $ 79.54    $       79.54
 5/13/2018 Luis Alvarado                   $10.50   56.93   $   10.40               $ 88.90    $       88.90
 5/20/2018 Luis Alvarado                   $10.50   57.65   $   10.40               $ 92.66    $       92.66
 5/27/2018 Luis Alvarado                   $10.50   58.02   $   10.40               $ 94.59    $       94.59
  6/3/2018 Luis Alvarado                   $10.50   47.88   $   10.40               $ 41.39    $       41.39
 6/10/2018 Luis Alvarado                   $10.50   58.18   $   10.40               $ 95.46    $       95.46
 6/17/2018 Luis Alvarado                   $10.50   58.85   $   10.40               $ 98.96    $       98.96
 6/24/2018 Luis Alvarado                   $10.50   57.85   $   10.40               $ 93.71    $       93.71
  7/1/2018 Luis Alvarado                   $10.50   53.17   $   10.40               $ 69.13    $       69.13
  7/8/2018 Luis Alvarado                   $10.50   44.87   $   10.40               $ 25.55    $       25.55
 7/15/2018 Luis Alvarado                   $10.50   55.45   $   10.40               $ 81.11    $       81.11
 7/22/2018 Luis Alvarado                   $10.50   59.03   $   10.40               $ 99.93    $       99.93
 7/28/2019 Luis Roberto Calle Brown        $11.00   56.02   $   11.10   $    5.60   $ 88.89    $       94.49
  8/4/2019 Luis Roberto Calle Brown        $11.00   56.88   $   11.10   $    5.69   $ 93.70    $       99.39
 8/11/2019 Luis Roberto Calle Brown        $11.00   47.40   $   11.10   $    4.74   $ 41.07    $       45.81
 8/18/2019 Luis Roberto Calle Brown        $11.00   56.67   $   11.10   $    5.67   $ 92.50    $       98.17
 8/25/2019 Luis Roberto Calle Brown        $11.00   54.65   $   11.10   $    5.46   $ 81.31    $       86.77
  9/1/2019 Luis Roberto Calle Brown        $11.00   56.85   $   11.10   $    5.68   $ 93.52    $       99.20
  9/8/2019 Luis Roberto Calle Brown        $11.00   45.65   $   11.10   $    4.56   $ 31.36    $       35.92
 9/15/2019 Luis Roberto Calle Brown        $11.00   54.62   $   11.10   $    5.46   $ 81.12    $       86.58
 9/22/2019 Luis Roberto Calle Brown        $11.00   56.68   $   11.10   $    5.67   $ 92.59    $       98.26
 9/29/2019 Luis Roberto Calle Brown        $11.00   55.17   $   11.10   $    5.52   $ 84.18    $       89.69
 10/6/2019 Luis Roberto Calle Brown        $11.00   55.43   $   11.10   $    5.54   $ 85.66    $       91.20
10/13/2019 Luis Roberto Calle Brown        $11.00   54.95   $   11.10   $    5.49   $ 82.97    $       88.47
10/20/2019 Luis Roberto Calle Brown        $11.00   54.98   $   11.10   $    5.50   $ 83.16    $       88.66
10/27/2019 Luis Roberto Calle Brown        $11.00   45.10   $   11.10   $    4.51   $ 28.31    $       32.82
 11/3/2019 Luis Roberto Calle Brown        $11.00   53.97   $   11.10   $    5.40   $ 77.52    $       82.91
11/10/2019 Luis Roberto Calle Brown        $11.00   53.57   $   11.10   $    5.36   $ 75.30    $       80.65


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                                                   Exhibit 6
                                      New York State (Other) Computations

  Week                                                        State     Section 7: Section 7: Total Section 7
                                           Hourly Hours/
 Ending               Name                                  Minimum      Regular Half-Time Overtime Back
                                            Rate Week
  Date                                                       Wage       Rate Due     Due       Wages Due
11/17/2019 Luis Roberto Calle Brown        $11.00   51.57   $   11.10   $    5.16   $    64.20   $     69.35
11/24/2019 Luis Roberto Calle Brown        $11.00   51.40   $   11.10   $    5.14   $    63.27   $     68.41
  2/5/2017 Mark Metzler                    $11.50   51.78   $    9.70               $    67.75   $     67.75
 2/12/2017 Mark Metzler                    $11.50   49.35   $    9.70               $    53.76   $     53.76
 2/19/2017 Mark Metzler                    $11.50   51.77   $    9.70               $    67.66   $     67.66
 2/26/2017 Mark Metzler                    $11.50   54.78   $    9.70               $    85.00   $     85.00
  3/5/2017 Mark Metzler                    $11.50   56.07   $    9.70               $    92.38   $     92.38
 3/12/2017 Mark Metzler                    $11.50   52.18   $    9.70               $    70.05   $     70.05
 3/19/2017 Mark Metzler                    $11.50   44.17   $    9.70               $    23.96   $     23.96
 3/26/2017 Mark Metzler                    $11.50   48.83   $    9.70               $    50.79   $     50.79
  4/2/2017 Mark Metzler                    $11.50   55.75   $    9.70               $    90.56   $     90.56
  4/9/2017 Mark Metzler                    $11.50   54.78   $    9.70               $    85.00   $     85.00
 4/16/2017 Mark Metzler                    $11.50   58.37   $    9.70               $   105.61   $    105.61
 4/23/2017 Mark Metzler                    $11.50   55.77   $    9.70               $    90.66   $     90.66
 4/30/2017 Mark Metzler                    $11.50   58.82   $    9.70               $   108.20   $    108.20
  5/7/2017 Mark Metzler                    $11.50   52.75   $    9.70               $    73.31   $     73.31
 5/14/2017 Mark Metzler                    $11.50   49.08   $    9.70               $    52.23   $     52.23
 5/21/2017 Mark Metzler                    $11.50   45.10   $    9.70               $    29.33   $     29.33
 5/28/2017 Mark Metzler                    $11.50   53.37   $    9.70               $    76.86   $     76.86
  6/4/2017 Mark Metzler                    $11.50   44.45   $    9.70               $    25.59   $     25.59
11/24/2019 Nathan Guy Ikokwj               $12.00   46.75   $   11.10               $    40.50   $     40.50
 12/1/2019 Nathan Guy Ikokwj               $12.00   41.33   $   11.10               $     8.00   $      8.00
 12/8/2019 Nathan Guy Ikokwj               $12.00   51.25   $   11.10               $    67.50   $     67.50
12/15/2019 Nathan Guy Ikokwj               $12.00   57.32   $   11.10               $   103.90   $    103.90
12/22/2019 Nathan Guy Ikokwj               $12.00   48.52   $   11.10               $    51.10   $     51.10
12/29/2019 Nathan Guy Ikokwj               $12.00   50.22   $   11.10               $    61.30   $     61.30
  1/5/2020 Nathan Guy Ikokwj               $12.00   47.15   $   11.80               $    42.90   $     42.90
 1/12/2020 Nathan Guy Ikokwj               $12.00   60.67   $   11.80               $   124.00   $    124.00
 1/19/2020 Nathan Guy Ikokwj               $12.00   59.68   $   11.80               $   118.10   $    118.10
 1/26/2020 Nathan Guy Ikokwj               $12.00   61.75   $   11.80               $   130.50   $    130.50
  4/8/2018 Patrick Owen                    $11.00   58.85   $   10.40               $   103.68   $    103.68
 4/15/2018 Patrick Owen                    $11.00   55.62   $   10.40               $    85.89   $     85.89
 4/22/2018 Patrick Owen                    $11.00   59.02   $   10.40               $   104.59   $    104.59
 4/29/2018 Patrick Owen                    $11.00   59.45   $   10.40               $   106.98   $    106.98
  5/6/2018 Patrick Owen                    $11.00   58.37   $   10.40               $   101.02   $    101.02
 5/13/2018 Patrick Owen                    $11.00   60.27   $   10.40               $   111.47   $    111.47
 5/20/2018 Patrick Owen                    $11.00   59.38   $   10.40               $   106.61   $    106.61
 5/27/2018 Patrick Owen                    $11.00   49.90   $   10.40               $    54.45   $     54.45
  6/3/2018 Patrick Owen                    $11.00   56.45   $   10.40               $    90.48   $     90.48
 6/10/2018 Patrick Owen                    $11.00   53.20   $   10.40               $    72.60   $     72.60
 6/17/2018 Patrick Owen                    $11.00   48.93   $   10.40               $    49.13   $     49.13
 6/24/2018 Patrick Owen                    $11.00   59.15   $   10.40               $   105.33   $    105.33
  7/1/2018 Patrick Owen                    $11.00   60.02   $   10.40               $   110.09   $    110.09
  7/8/2018 Patrick Owen                    $11.00   47.90   $   10.40               $    43.45   $     43.45
 7/15/2018 Patrick Owen                    $11.00   60.77   $   10.40               $   114.22   $    114.22
 7/22/2018 Patrick Owen                    $11.00   61.07   $   10.40               $   115.87   $    115.87
 7/29/2018 Patrick Owen                    $11.00   61.82   $   10.40               $   119.99   $    119.99
  8/5/2018 Patrick Owen                    $11.00   52.62   $   10.40               $    69.39   $     69.39


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                                         Exhibit 6
                            New York State (Other) Computations

  Week                                              State     Section 7: Section 7: Total Section 7
                                 Hourly Hours/
 Ending              Name                         Minimum      Regular Half-Time Overtime Back
                                  Rate Week
  Date                                             Wage       Rate Due     Due       Wages Due
 8/12/2018 Patrick Owen          $11.00   62.23   $   10.40               $   122.28   $    122.28
 8/19/2018 Patrick Owen          $11.00   61.63   $   10.40               $   118.98   $    118.98
 8/26/2018 Patrick Owen          $11.00   62.02   $   10.40               $   121.09   $    121.09
  9/2/2018 Patrick Owen          $11.00   63.93   $   10.40               $   131.63   $    131.63
  9/9/2018 Patrick Owen          $11.00   59.30   $   10.40               $   106.15   $    106.15
 9/16/2018 Patrick Owen          $11.00   53.97   $   10.40               $    76.82   $     76.82
 9/23/2018 Patrick Owen          $11.00   64.13   $   10.40               $   132.73   $    132.73
 9/30/2018 Patrick Owen          $11.00   63.65   $   10.40               $   130.08   $    130.08
 10/7/2018 Patrick Owen          $11.00   60.22   $   10.40               $   111.19   $    111.19
10/14/2018 Patrick Owen          $11.00   64.33   $   10.40               $   133.83   $    133.83
10/21/2018 Patrick Owen          $11.00   63.85   $   10.40               $   131.18   $    131.18
10/28/2018 Patrick Owen          $11.00   64.72   $   10.40               $   135.94   $    135.94
 11/4/2018 Patrick Owen          $11.00   64.75   $   10.40               $   136.13   $    136.13
11/11/2018 Patrick Owen          $11.00   65.25   $   10.40               $   138.88   $    138.88
11/18/2018 Patrick Owen          $11.00   61.10   $   10.40               $   116.05   $    116.05
11/25/2018 Patrick Owen          $11.00   40.03   $   10.40               $     0.18   $      0.18
 12/2/2018 Patrick Owen          $11.00   65.22   $   10.40               $   138.69   $    138.69
 12/9/2018 Patrick Owen          $11.00   65.43   $   10.40               $   139.88   $    139.88
12/16/2018 Patrick Owen          $11.00   66.78   $   10.40               $   147.31   $    147.31
12/23/2018 Patrick Owen          $11.00   66.95   $   10.40               $   148.23   $    148.23
12/30/2018 Patrick Owen          $11.00   44.25   $   10.40               $    23.38   $     23.38
 1/13/2019 Patrick Owen          $11.00   68.50   $   11.10   $    6.85   $   158.18   $    165.03
 1/20/2019 Patrick Owen          $11.00   68.02   $   11.10   $    6.80   $   155.49   $    162.29
 1/27/2019 Patrick Owen          $11.00   67.98   $   11.10   $    6.80   $   155.31   $    162.11
  2/3/2019 Patrick Owen          $11.00   66.90   $   11.10   $    6.69   $   149.30   $    155.99
 2/10/2019 Patrick Owen          $11.00   66.22   $   11.10   $    6.62   $   145.50   $    152.12
 2/17/2019 Patrick Owen          $11.00   69.78   $   11.10   $    6.98   $   165.30   $    172.28
 2/24/2019 Patrick Owen          $11.00   64.53   $   11.10   $    6.45   $   136.16   $    142.61
  3/3/2019 Patrick Owen          $11.00   66.10   $   11.10   $    6.61   $   144.86   $    151.47
 3/10/2019 Patrick Owen          $11.00   66.73   $   11.10   $    6.67   $   148.37   $    155.04
 3/17/2019 Patrick Owen          $11.00   68.17   $   11.10   $    6.82   $   156.33   $    163.14
 3/24/2019 Patrick Owen          $11.00   59.13   $   11.10   $    5.91   $   106.19   $    112.10
 3/31/2019 Patrick Owen          $11.00   67.90   $   11.10   $    6.79   $   154.85   $    161.64
  4/7/2019 Patrick Owen          $11.00   67.32   $   11.10   $    6.73   $   151.61   $    158.34
 4/14/2019 Patrick Owen          $11.00   64.95   $   11.10   $    6.49   $   138.47   $    144.97
 4/21/2019 Patrick Owen          $11.00   54.67   $   11.10   $    5.47   $    81.40   $     86.87
 4/28/2019 Patrick Owen          $11.00   64.83   $   11.10   $    6.48   $   137.83   $    144.31
  5/5/2019 Patrick Owen          $11.00   62.93   $   11.10   $    6.29   $   127.28   $    133.57
 5/19/2019 Patrick Owen          $11.00   42.35   $   11.10   $    4.23   $    13.04   $     17.28
 5/26/2019 Patrick Owen          $11.00   65.02   $   11.10   $    6.50   $   138.84   $    145.34
  6/2/2019 Patrick Owen          $11.00   46.53   $   11.10   $    4.65   $    36.26   $     40.91
 6/16/2019 Patrick Owen          $11.00   63.18   $   11.10   $    6.32   $   128.67   $    134.99
 6/23/2019 Patrick Owen          $11.00   64.97   $   11.10   $    6.50   $   138.57   $    145.06
 6/30/2019 Patrick Owen          $11.00   61.82   $   11.10   $    6.18   $   121.08   $    127.26
  7/7/2019 Patrick Owen          $11.00   46.13   $   11.10   $    4.61   $    34.04   $     38.65
 7/14/2019 Patrick Owen          $11.00   61.72   $   11.10   $    6.17   $   120.53   $    126.70
 7/21/2019 Patrick Owen          $11.00   55.03   $   11.10   $    5.50   $    83.43   $     88.94
 7/28/2019 Patrick Owen          $11.00   62.68   $   11.10   $    6.27   $   125.89   $    132.16


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                                           Exhibit 6
                              New York State (Other) Computations

  Week                                                State     Section 7: Section 7: Total Section 7
                                   Hourly Hours/
 Ending                Name                         Minimum      Regular Half-Time Overtime Back
                                    Rate Week
  Date                                               Wage       Rate Due     Due       Wages Due
  8/4/2019 Patrick Owen            $13.50   68.10   $   11.10              $   189.68   $     189.68
 8/11/2019 Patrick Owen            $13.50   57.78   $   11.10              $   120.04   $     120.04
 8/18/2019 Patrick Owen            $13.50   60.77   $   11.10              $   140.18   $     140.18
 8/25/2019 Patrick Owen            $13.50   40.30   $   11.10              $     2.02   $       2.02
  9/1/2019 Patrick Owen            $13.50   69.40   $   11.10              $   198.45   $     198.45
  9/8/2019 Patrick Owen            $13.50   59.73   $   11.10              $   133.20   $     133.20
 9/15/2019 Patrick Owen            $13.50   54.70   $   11.10              $    99.23   $      99.23
 9/22/2019 Patrick Owen            $13.50   61.02   $   11.10              $   141.86   $     141.86
 9/29/2019 Patrick Owen            $13.50   60.38   $   11.10              $   137.59   $     137.59
 10/6/2019 Patrick Owen            $13.50   58.92   $   11.10              $   127.69   $     127.69
10/13/2019 Patrick Owen            $13.50   61.95   $   11.10              $   148.16   $     148.16
10/20/2019 Patrick Owen            $13.50   63.22   $   11.10              $   156.71   $     156.71
10/27/2019 Patrick Owen            $13.50   64.65   $   11.10              $   166.39   $     166.39
 11/3/2019 Patrick Owen            $13.50   66.67   $   11.10              $   180.00   $     180.00
11/10/2019 Patrick Owen            $13.50   63.23   $   11.10              $   156.83   $     156.83
11/17/2019 Patrick Owen            $13.50   64.23   $   11.10              $   163.58   $     163.58
11/24/2019 Patrick Owen            $13.50   64.98   $   11.10              $   168.64   $     168.64
 12/1/2019 Patrick Owen            $13.50   58.07   $   11.10              $   121.95   $     121.95
 12/8/2019 Patrick Owen            $13.50   65.47   $   11.10              $   171.90   $     171.90
12/15/2019 Patrick Owen            $13.50   69.35   $   11.10              $   198.11   $     198.11
12/22/2019 Patrick Owen            $13.50   67.80   $   11.10              $   187.65   $     187.65
  1/5/2020 Patrick Owen            $13.50   63.22   $   11.80              $   156.71   $     156.71
 1/12/2020 Patrick Owen            $13.50   72.65   $   11.80              $   220.39   $     220.39
 1/19/2020 Patrick Owen            $13.50   71.92   $   11.80              $   215.44   $     215.44
  2/5/2017 Paul Giannelli          $11.50   47.37   $    9.70              $    42.36   $      42.36
 2/12/2017 Paul Giannelli          $11.50   45.93   $    9.70              $    34.12   $      34.12
 2/19/2017 Paul Giannelli          $11.50   41.32   $    9.70              $     7.57   $       7.57
 2/26/2017 Paul Giannelli          $11.50   47.02   $    9.70              $    40.35   $      40.35
  3/5/2017 Paul Giannelli          $11.50   46.80   $    9.70              $    39.10   $      39.10
 3/12/2017 Paul Giannelli          $11.50   47.28   $    9.70              $    41.88   $      41.88
 3/26/2017 Paul Giannelli          $11.50   58.73   $    9.70              $   107.72   $     107.72
  4/2/2017 Paul Giannelli          $11.50   55.27   $    9.70              $    87.78   $      87.78
  4/9/2017 Paul Giannelli          $11.50   45.32   $    9.70              $    30.57   $      30.57
 4/16/2017 Paul Giannelli          $11.50   49.27   $    9.70              $    53.28   $      53.28
 4/23/2017 Paul Giannelli          $11.50   57.80   $    9.70              $   102.35   $     102.35
 4/30/2017 Paul Giannelli          $11.50   58.43   $    9.70              $   105.99   $     105.99
  5/7/2017 Paul Giannelli          $11.50   47.02   $    9.70              $    40.35   $      40.35
 5/14/2017 Paul Giannelli          $11.50   59.12   $    9.70              $   109.92   $     109.92
 5/21/2017 Paul Giannelli          $11.50   49.87   $    9.70              $    56.73   $      56.73
 5/28/2017 Paul Giannelli          $11.50   58.22   $    9.70              $   104.75   $     104.75
  6/4/2017 Paul Giannelli          $11.50   55.53   $    9.70              $    89.32   $      89.32
 6/11/2017 Paul Giannelli          $11.50   48.45   $    9.70              $    48.59   $      48.59
 6/18/2017 Paul Giannelli          $11.50   60.75   $    9.70              $   119.31   $     119.31
 6/25/2017 Paul Giannelli          $11.50   57.97   $    9.70              $   103.31   $     103.31
  7/2/2017 Paul Giannelli          $11.50   48.23   $    9.70              $    47.34   $      47.34
  7/9/2017 Paul Giannelli          $11.50   48.53   $    9.70              $    49.07   $      49.07
 7/16/2017 Paul Giannelli          $11.50   40.35   $    9.70              $     2.01   $       2.01
 7/23/2017 Paul Giannelli          $11.50   53.92   $    9.70              $    80.02   $      80.02


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                                           Exhibit 6
                              New York State (Other) Computations

  Week                                                State     Section 7: Section 7: Total Section 7
                                   Hourly Hours/
 Ending                Name                         Minimum      Regular Half-Time Overtime Back
                                    Rate Week
  Date                                               Wage       Rate Due     Due       Wages Due
 7/30/2017 Paul Giannelli          $11.50   49.42   $    9.70              $    54.15   $      54.15
  8/6/2017 Paul Giannelli          $11.50   44.68   $    9.70              $    26.93   $      26.93
 8/13/2017 Paul Giannelli          $11.50   51.18   $    9.70              $    64.30   $      64.30
 8/20/2017 Paul Giannelli          $11.50   50.73   $    9.70              $    61.72   $      61.72
 8/27/2017 Paul Giannelli          $11.50   42.68   $    9.70              $    15.43   $      15.43
  9/3/2017 Paul Giannelli          $11.50   49.95   $    9.70              $    57.21   $      57.21
 9/17/2017 Paul Giannelli          $11.50   55.63   $    9.70              $    89.89   $      89.89
 9/24/2017 Paul Giannelli          $11.50   49.68   $    9.70              $    55.68   $      55.68
 10/1/2017 Paul Giannelli          $11.50   53.95   $    9.70              $    80.21   $      80.21
 10/8/2017 Paul Giannelli          $11.50   48.67   $    9.70              $    49.83   $      49.83
10/15/2017 Paul Giannelli          $11.50   45.68   $    9.70              $    32.68   $      32.68
10/22/2017 Paul Giannelli          $11.50   48.85   $    9.70              $    50.89   $      50.89
10/29/2017 Paul Giannelli          $11.50   54.67   $    9.70              $    84.33   $      84.33
 11/5/2017 Paul Giannelli          $11.50   45.12   $    9.70              $    29.42   $      29.42
11/12/2017 Paul Giannelli          $11.50   55.08   $    9.70              $    86.73   $      86.73
11/19/2017 Paul Giannelli          $11.50   45.65   $    9.70              $    32.49   $      32.49
 6/24/2018 Paul Giannelli          $11.50   52.92   $   10.40              $    74.27   $      74.27
  7/1/2018 Paul Giannelli          $11.50   60.37   $   10.40              $   117.11   $     117.11
 7/15/2018 Paul Giannelli          $11.50   61.23   $   10.40              $   122.09   $     122.09
 7/22/2018 Paul Giannelli          $11.50   58.93   $   10.40              $   108.87   $     108.87
 7/29/2018 Paul Giannelli          $11.50   57.80   $   10.40              $   102.35   $     102.35
  8/5/2018 Paul Giannelli          $11.50   56.73   $   10.40              $    96.22   $      96.22
 8/12/2018 Paul Giannelli          $11.50   57.88   $   10.40              $   102.83   $     102.83
 8/19/2018 Paul Giannelli          $11.50   57.62   $   10.40              $   101.30   $     101.30
 8/26/2018 Paul Giannelli          $11.50   50.55   $   10.40              $    60.66   $      60.66
  9/2/2018 Paul Giannelli          $11.50   58.95   $   10.40              $   108.96   $     108.96
  9/9/2018 Paul Giannelli          $11.50   46.28   $   10.40              $    36.13   $      36.13
 9/16/2018 Paul Giannelli          $11.50   59.98   $   10.40              $   114.90   $     114.90
 9/23/2018 Paul Giannelli          $11.50   58.85   $   10.40              $   108.39   $     108.39
 9/30/2018 Paul Giannelli          $11.50   60.62   $   10.40              $   118.55   $     118.55
 10/7/2018 Paul Giannelli          $11.50   57.37   $   10.40              $    99.86   $      99.86
10/14/2018 Paul Giannelli          $11.50   57.88   $   10.40              $   102.83   $     102.83
10/21/2018 Paul Giannelli          $11.50   58.68   $   10.40              $   107.43   $     107.43
10/28/2018 Paul Giannelli          $11.50   58.23   $   10.40              $   104.84   $     104.84
 11/4/2018 Paul Giannelli          $11.50   57.07   $   10.40              $    98.13   $      98.13
11/11/2018 Paul Giannelli          $11.50   58.58   $   10.40              $   106.85   $     106.85
11/18/2018 Paul Giannelli          $11.50   48.52   $   10.40              $    48.97   $      48.97
11/25/2018 Paul Giannelli          $11.50   50.43   $   10.40              $    59.99   $      59.99
 12/2/2018 Paul Giannelli          $11.50   63.55   $   10.40              $   135.41   $     135.41
 12/9/2018 Paul Giannelli          $11.50   62.57   $   10.40              $   129.76   $     129.76
12/16/2018 Paul Giannelli          $11.50   60.85   $   10.40              $   119.89   $     119.89
12/23/2018 Paul Giannelli          $11.50   59.80   $   10.40              $   113.85   $     113.85
  1/6/2019 Paul Giannelli          $11.50   44.50   $   11.10              $    25.88   $      25.88
 1/13/2019 Paul Giannelli          $11.50   59.55   $   11.10              $   112.41   $     112.41
 1/20/2019 Paul Giannelli          $11.50   58.65   $   11.10              $   107.24   $     107.24
 1/27/2019 Paul Giannelli          $11.50   51.63   $   11.10              $    66.89   $      66.89
  2/3/2019 Paul Giannelli          $11.50   58.08   $   11.10              $   103.98   $     103.98
 2/10/2019 Paul Giannelli          $11.50   54.43   $   11.10              $    82.99   $      82.99


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                                           Exhibit 6
                              New York State (Other) Computations

  Week                                                State     Section 7: Section 7: Total Section 7
                                   Hourly Hours/
 Ending                Name                         Minimum      Regular Half-Time Overtime Back
                                    Rate Week
  Date                                               Wage       Rate Due     Due       Wages Due
 2/17/2019 Paul Giannelli          $11.50   40.63   $   11.10              $     3.64   $       3.64
 2/24/2019 Paul Giannelli          $11.50   54.42   $   11.10              $    82.90   $      82.90
  3/3/2019 Paul Giannelli          $11.50   55.13   $   11.10              $    87.02   $      87.02
 3/10/2019 Paul Giannelli          $11.50   52.93   $   11.10              $    74.37   $      74.37
 3/17/2019 Paul Giannelli          $11.50   46.70   $   11.10              $    38.53   $      38.53
 3/24/2019 Paul Giannelli          $11.50   51.55   $   11.10              $    66.41   $      66.41
 3/31/2019 Paul Giannelli          $11.50   53.70   $   11.10              $    78.78   $      78.78
  4/7/2019 Paul Giannelli          $11.50   55.18   $   11.10              $    87.30   $      87.30
 4/14/2019 Paul Giannelli          $11.50   50.98   $   11.10              $    63.15   $      63.15
 4/21/2019 Paul Giannelli          $11.50   47.17   $   11.10              $    41.21   $      41.21
 4/28/2019 Paul Giannelli          $11.50   47.25   $   11.10              $    41.69   $      41.69
  5/5/2019 Paul Giannelli          $11.50   43.93   $   11.10              $    22.62   $      22.62
 5/19/2019 Paul Giannelli          $11.50   45.55   $   11.10              $    31.91   $      31.91
  6/9/2019 Paul Giannelli          $11.50   52.68   $   11.10              $    72.93   $      72.93
 6/16/2019 Paul Giannelli          $11.50   53.43   $   11.10              $    77.24   $      77.24
 6/23/2019 Paul Giannelli          $11.50   43.85   $   11.10              $    22.14   $      22.14
 6/30/2019 Paul Giannelli          $11.50   42.45   $   11.10              $    14.09   $      14.09
  7/7/2019 Paul Giannelli          $12.50   41.15   $   11.10              $     7.19   $       7.19
 7/14/2019 Paul Giannelli          $12.50   46.60   $   11.10              $    41.25   $      41.25
 7/28/2019 Paul Giannelli          $12.50   44.25   $   11.10              $    26.56   $      26.56
  8/4/2019 Paul Giannelli          $12.50   43.90   $   11.10              $    24.38   $      24.38
 8/11/2019 Paul Giannelli          $12.50   42.12   $   11.10              $    13.23   $      13.23
 8/18/2019 Paul Giannelli          $12.50   55.52   $   11.10              $    96.98   $      96.98
 8/25/2019 Paul Giannelli          $12.50   59.57   $   11.10              $   122.29   $     122.29
  9/1/2019 Paul Giannelli          $12.50   58.57   $   11.10              $   116.04   $     116.04
 9/15/2019 Paul Giannelli          $12.50   52.47   $   11.10              $    77.92   $      77.92
 9/22/2019 Paul Giannelli          $12.50   46.52   $   11.10              $    40.73   $      40.73
 9/29/2019 Paul Giannelli          $12.50   53.58   $   11.10              $    84.90   $      84.90
 10/6/2019 Paul Giannelli          $12.50   54.05   $   11.10              $    87.81   $      87.81
10/13/2019 Paul Giannelli          $12.50   59.55   $   11.10              $   122.19   $     122.19
10/20/2019 Paul Giannelli          $12.50   59.37   $   11.10              $   121.04   $     121.04
10/27/2019 Paul Giannelli          $12.50   57.07   $   11.10              $   106.67   $     106.67
 11/3/2019 Paul Giannelli          $12.50   53.25   $   11.10              $    82.81   $      82.81
11/10/2019 Paul Giannelli          $12.50   57.08   $   11.10              $   106.77   $     106.77
11/17/2019 Paul Giannelli          $12.50   55.05   $   11.10              $    94.06   $      94.06
11/24/2019 Paul Giannelli          $12.50   55.07   $   11.10              $    94.17   $      94.17
 12/1/2019 Paul Giannelli          $12.50   49.80   $   11.10              $    61.25   $      61.25
12/15/2019 Paul Giannelli          $12.50   55.07   $   11.10              $    94.17   $      94.17
12/22/2019 Paul Giannelli          $12.50   56.57   $   11.10              $   103.54   $     103.54
12/29/2019 Paul Giannelli          $12.50   43.55   $   11.10              $    22.19   $      22.19
  1/5/2020 Paul Giannelli          $12.50   47.43   $   11.80              $    46.46   $      46.46
 1/12/2020 Paul Giannelli          $12.50   56.43   $   11.80              $   102.71   $     102.71
 1/19/2020 Paul Giannelli          $12.50   57.67   $   11.80              $   110.42   $     110.42
 1/26/2020 Paul Giannelli          $12.50   47.47   $   11.80              $    46.67   $      46.67
 10/6/2019 Peter Mariano           $11.75   50.77   $   11.10              $    63.25   $      63.25
10/13/2019 Peter Mariano           $11.75   62.53   $   11.10              $   132.38   $     132.38
10/20/2019 Peter Mariano           $11.75   64.70   $   11.10              $   145.11   $     145.11
10/27/2019 Peter Mariano           $11.75   62.88   $   11.10              $   134.44   $     134.44


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                                                Exhibit 6
                                   New York State (Other) Computations

  Week                                                     State     Section 7: Section 7: Total Section 7
                                        Hourly Hours/
 Ending               Name                               Minimum      Regular Half-Time Overtime Back
                                         Rate Week
  Date                                                    Wage       Rate Due     Due       Wages Due
 11/3/2019 Peter Mariano                $11.75   65.02   $   11.10               $   146.97   $    146.97
11/10/2019 Peter Mariano                $11.75   53.03   $   11.10               $    76.57   $     76.57
11/17/2019 Peter Mariano                $11.75   64.57   $   11.10               $   144.33   $    144.33
11/24/2019 Peter Mariano                $11.75   65.03   $   11.10               $   147.07   $    147.07
 12/1/2019 Peter Mariano                $11.75   57.67   $   11.10               $   103.79   $    103.79
 12/8/2019 Peter Mariano                $11.75   64.20   $   11.10               $   142.18   $    142.18
12/15/2019 Peter Mariano                $11.75   68.30   $   11.10               $   166.26   $    166.26
12/22/2019 Peter Mariano                $11.75   69.20   $   11.10               $   171.55   $    171.55
  1/5/2020 Peter Mariano                $11.75   64.82   $   11.80   $    3.24   $   146.42   $    149.66
 1/12/2020 Peter Mariano                $11.75   73.33   $   11.80   $    3.67   $   196.67   $    200.33
 1/19/2020 Peter Mariano                $11.75   72.07   $   11.80   $    3.60   $   189.19   $    192.80
 1/26/2020 Peter Mariano                $11.75   76.75   $   11.80   $    3.84   $   216.83   $    220.66
  2/5/2017 Rafael De La Cruz            $10.00   57.10   $    9.70               $    85.50   $     85.50
 2/12/2017 Rafael De La Cruz            $10.00   49.55   $    9.70               $    47.75   $     47.75
 2/19/2017 Rafael De La Cruz            $10.00   58.35   $    9.70               $    91.75   $     91.75
 2/26/2017 Rafael De La Cruz            $10.00   55.28   $    9.70               $    76.42   $     76.42
  3/5/2017 Rafael De La Cruz            $10.00   60.70   $    9.70               $   103.50   $    103.50
 3/12/2017 Rafael De La Cruz            $10.00   58.50   $    9.70               $    92.50   $     92.50
 3/19/2017 Rafael De La Cruz            $10.00   43.87   $    9.70               $    19.33   $     19.33
 3/26/2017 Rafael De La Cruz            $10.00   60.95   $    9.70               $   104.75   $    104.75
  4/2/2017 Rafael De La Cruz            $10.00   61.05   $    9.70               $   105.25   $    105.25
  4/9/2017 Rafael De La Cruz            $10.00   62.10   $    9.70               $   110.50   $    110.50
 4/16/2017 Rafael De La Cruz            $10.00   63.67   $    9.70               $   118.33   $    118.33
 4/23/2017 Rafael De La Cruz            $10.00   64.27   $    9.70               $   121.33   $    121.33
 4/30/2017 Rafael De La Cruz            $10.00   48.33   $    9.70               $    41.67   $     41.67
 6/25/2017 Raul Martinez Jimenez        $12.50   52.97   $    9.70               $    81.04   $     81.04
  7/2/2017 Raul Martinez Jimenez        $12.50   55.17   $    9.70               $    94.79   $     94.79
  7/9/2017 Raul Martinez Jimenez        $12.50   45.95   $    9.70               $    37.19   $     37.19
 7/16/2017 Raul Martinez Jimenez        $12.50   54.82   $    9.70               $    92.60   $     92.60
 7/23/2017 Raul Martinez Jimenez        $12.50   54.62   $    9.70               $    91.35   $     91.35
 7/30/2017 Raul Martinez Jimenez        $12.50   55.13   $    9.70               $    94.58   $     94.58
  8/6/2017 Raul Martinez Jimenez        $12.50   56.55   $    9.70               $   103.44   $    103.44
 8/13/2017 Raul Martinez Jimenez        $12.50   55.15   $    9.70               $    94.69   $     94.69
 8/20/2017 Raul Martinez Jimenez        $12.50   59.05   $    9.70               $   119.06   $    119.06
 8/27/2017 Raul Martinez Jimenez        $12.50   58.37   $    9.70               $   114.79   $    114.79
  9/3/2017 Raul Martinez Jimenez        $12.50   56.17   $    9.70               $   101.04   $    101.04
 9/10/2017 Raul Martinez Jimenez        $12.50   51.32   $    9.70               $    70.73   $     70.73
 9/17/2017 Raul Martinez Jimenez        $12.50   56.80   $    9.70               $   105.00   $    105.00
 9/24/2017 Raul Martinez Jimenez        $12.50   54.82   $    9.70               $    92.60   $     92.60
 10/1/2017 Raul Martinez Jimenez        $12.50   55.05   $    9.70               $    94.06   $     94.06
 10/8/2017 Raul Martinez Jimenez        $12.50   53.15   $    9.70               $    82.19   $     82.19
10/15/2017 Raul Martinez Jimenez        $12.50   53.87   $    9.70               $    86.67   $     86.67
10/22/2017 Raul Martinez Jimenez        $12.50   52.30   $    9.70               $    76.88   $     76.88
10/29/2017 Raul Martinez Jimenez        $12.50   56.65   $    9.70               $   104.06   $    104.06
 11/5/2017 Raul Martinez Jimenez        $12.50   59.17   $    9.70               $   119.79   $    119.79
11/12/2017 Raul Martinez Jimenez        $12.50   58.45   $    9.70               $   115.31   $    115.31
11/19/2017 Raul Martinez Jimenez        $12.50   58.02   $    9.70               $   112.60   $    112.60
11/26/2017 Raul Martinez Jimenez        $12.50   47.80   $    9.70               $    48.75   $     48.75


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                                                Exhibit 6
                                   New York State (Other) Computations

  Week                                                     State     Section 7: Section 7: Total Section 7
                                        Hourly Hours/
 Ending               Name                               Minimum      Regular Half-Time Overtime Back
                                         Rate Week
  Date                                                    Wage       Rate Due     Due       Wages Due
 12/3/2017 Raul Martinez Jimenez        $12.50   59.15   $    9.70              $   119.69   $     119.69
12/10/2017 Raul Martinez Jimenez        $12.50   59.47   $    9.70              $   121.67   $     121.67
12/17/2017 Raul Martinez Jimenez        $12.50   57.75   $    9.70              $   110.94   $     110.94
12/24/2017 Raul Martinez Jimenez        $12.50   56.23   $    9.70              $   101.46   $     101.46
12/31/2017 Raul Martinez Jimenez        $12.50   47.28   $   10.40              $    45.52   $      45.52
  1/7/2018 Raul Martinez Jimenez        $12.50   43.48   $   10.40              $    21.77   $      21.77
 1/14/2018 Raul Martinez Jimenez        $12.50   56.75   $   10.40              $   104.69   $     104.69
 1/21/2018 Raul Martinez Jimenez        $12.50   57.17   $   10.40              $   107.29   $     107.29
 1/28/2018 Raul Martinez Jimenez        $12.50   43.13   $   10.40              $    19.58   $      19.58
  2/4/2018 Raul Martinez Jimenez        $12.50   45.83   $   10.40              $    36.46   $      36.46
 2/11/2018 Raul Martinez Jimenez        $12.50   54.47   $   10.40              $    90.42   $      90.42
 2/18/2018 Raul Martinez Jimenez        $12.50   46.22   $   10.40              $    38.85   $      38.85
 2/25/2018 Raul Martinez Jimenez        $12.50   54.33   $   10.40              $    89.58   $      89.58
  3/4/2018 Raul Martinez Jimenez        $12.50   47.73   $   10.40              $    48.33   $      48.33
 3/25/2018 Raul Martinez Jimenez        $12.50   50.38   $   10.40              $    64.90   $      64.90
  4/1/2018 Raul Martinez Jimenez        $12.50   51.27   $   10.40              $    70.42   $      70.42
  4/8/2018 Raul Martinez Jimenez        $12.50   50.67   $   10.40              $    66.67   $      66.67
 4/15/2018 Raul Martinez Jimenez        $12.50   49.50   $   10.40              $    59.38   $      59.38
 4/22/2018 Raul Martinez Jimenez        $12.50   51.33   $   10.40              $    70.83   $      70.83
 4/29/2018 Raul Martinez Jimenez        $12.50   61.72   $   10.40              $   135.73   $     135.73
  5/6/2018 Raul Martinez Jimenez        $12.50   63.00   $   10.40              $   143.75   $     143.75
 5/13/2018 Raul Martinez Jimenez        $12.50   58.07   $   10.40              $   112.92   $     112.92
 5/20/2018 Raul Martinez Jimenez        $12.50   58.45   $   10.40              $   115.31   $     115.31
 5/27/2018 Raul Martinez Jimenez        $12.50   54.08   $   10.40              $    88.02   $      88.02
  6/3/2018 Raul Martinez Jimenez        $12.50   58.98   $   10.40              $   118.65   $     118.65
 6/10/2018 Raul Martinez Jimenez        $12.50   55.58   $   10.40              $    97.40   $      97.40
 6/17/2018 Raul Martinez Jimenez        $12.50   50.03   $   10.40              $    62.71   $      62.71
 6/24/2018 Raul Martinez Jimenez        $12.50   62.82   $   10.40              $   142.60   $     142.60
  7/1/2018 Raul Martinez Jimenez        $12.50   54.82   $   10.40              $    92.60   $      92.60
  7/8/2018 Raul Martinez Jimenez        $12.50   50.07   $   10.40              $    62.92   $      62.92
 7/15/2018 Raul Martinez Jimenez        $12.50   63.38   $   10.40              $   146.15   $     146.15
 7/22/2018 Raul Martinez Jimenez        $12.50   54.10   $   10.40              $    88.13   $      88.13
 7/29/2018 Raul Martinez Jimenez        $12.50   56.45   $   10.40              $   102.81   $     102.81
  8/5/2018 Raul Martinez Jimenez        $12.50   58.77   $   10.40              $   117.29   $     117.29
 8/12/2018 Raul Martinez Jimenez        $12.50   63.95   $   10.40              $   149.69   $     149.69
 8/19/2018 Raul Martinez Jimenez        $12.50   57.98   $   10.40              $   112.40   $     112.40
 8/26/2018 Raul Martinez Jimenez        $12.50   41.05   $   10.40              $     6.56   $       6.56
  9/2/2018 Raul Martinez Jimenez        $12.50   59.73   $   10.40              $   123.33   $     123.33
  9/9/2018 Raul Martinez Jimenez        $12.50   53.28   $   10.40              $    83.02   $      83.02
 9/16/2018 Raul Martinez Jimenez        $12.50   55.90   $   10.40              $    99.38   $      99.38
 9/23/2018 Raul Martinez Jimenez        $12.50   59.87   $   10.40              $   124.17   $     124.17
 9/30/2018 Raul Martinez Jimenez        $12.50   55.48   $   10.40              $    96.77   $      96.77
 10/7/2018 Raul Martinez Jimenez        $12.50   55.98   $   10.40              $    99.90   $      99.90
10/14/2018 Raul Martinez Jimenez        $12.50   51.72   $   10.40              $    73.23   $      73.23
10/21/2018 Raul Martinez Jimenez        $12.50   52.43   $   10.40              $    77.71   $      77.71
10/28/2018 Raul Martinez Jimenez        $12.50   55.73   $   10.40              $    98.33   $      98.33
 11/4/2018 Raul Martinez Jimenez        $12.50   52.90   $   10.40              $    80.63   $      80.63
11/11/2018 Raul Martinez Jimenez        $12.50   59.83   $   10.40              $   123.96   $     123.96


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                                                Exhibit 6
                                   New York State (Other) Computations

  Week                                                     State     Section 7: Section 7: Total Section 7
                                        Hourly Hours/
 Ending               Name                               Minimum      Regular Half-Time Overtime Back
                                         Rate Week
  Date                                                    Wage       Rate Due     Due       Wages Due
11/18/2018 Raul Martinez Jimenez        $12.50   55.15   $   10.40              $    94.69   $      94.69
11/25/2018 Raul Martinez Jimenez        $12.50   47.48   $   10.40              $    46.77   $      46.77
 12/2/2018 Raul Martinez Jimenez        $12.50   40.77   $   10.40              $     4.79   $       4.79
 12/9/2018 Raul Martinez Jimenez        $12.50   50.93   $   10.40              $    68.33   $      68.33
12/16/2018 Raul Martinez Jimenez        $12.50   52.58   $   10.40              $    78.65   $      78.65
12/23/2018 Raul Martinez Jimenez        $12.50   52.75   $   10.40              $    79.69   $      79.69
12/30/2018 Raul Martinez Jimenez        $12.50   45.07   $   10.40              $    31.67   $      31.67
 1/13/2019 Raul Martinez Jimenez        $12.50   52.33   $   11.10              $    77.08   $      77.08
 1/27/2019 Raul Martinez Jimenez        $12.50   58.78   $   11.10              $   117.40   $     117.40
  2/3/2019 Raul Martinez Jimenez        $12.50   58.45   $   11.10              $   115.31   $     115.31
 2/10/2019 Raul Martinez Jimenez        $12.50   56.98   $   11.10              $   106.15   $     106.15
 2/17/2019 Raul Martinez Jimenez        $12.50   41.47   $   11.10              $     9.17   $       9.17
  3/3/2019 Raul Martinez Jimenez        $12.50   44.72   $   11.10              $    29.48   $      29.48
 3/17/2019 Raul Martinez Jimenez        $12.50   58.60   $   11.10              $   116.25   $     116.25
 3/24/2019 Raul Martinez Jimenez        $12.50   57.93   $   11.10              $   112.08   $     112.08
 3/31/2019 Raul Martinez Jimenez        $12.50   59.20   $   11.10              $   120.00   $     120.00
  4/7/2019 Raul Martinez Jimenez        $12.50   60.32   $   11.10              $   126.98   $     126.98
 4/14/2019 Raul Martinez Jimenez        $12.50   57.57   $   11.10              $   109.79   $     109.79
 4/21/2019 Raul Martinez Jimenez        $12.50   58.78   $   11.10              $   117.40   $     117.40
 4/28/2019 Raul Martinez Jimenez        $12.50   59.00   $   11.10              $   118.75   $     118.75
  5/5/2019 Raul Martinez Jimenez        $12.50   61.07   $   11.10              $   131.67   $     131.67
 5/12/2019 Raul Martinez Jimenez        $12.50   60.68   $   11.10              $   129.27   $     129.27
 5/19/2019 Raul Martinez Jimenez        $12.50   56.40   $   11.10              $   102.50   $     102.50
 5/26/2019 Raul Martinez Jimenez        $12.50   59.90   $   11.10              $   124.38   $     124.38
  6/2/2019 Raul Martinez Jimenez        $12.50   50.93   $   11.10              $    68.33   $      68.33
  6/9/2019 Raul Martinez Jimenez        $12.50   60.08   $   11.10              $   125.52   $     125.52
 6/16/2019 Raul Martinez Jimenez        $12.50   63.58   $   11.10              $   147.40   $     147.40
 6/23/2019 Raul Martinez Jimenez        $12.50   63.62   $   11.10              $   147.60   $     147.60
 6/30/2019 Raul Martinez Jimenez        $12.50   63.72   $   11.10              $   148.23   $     148.23
  7/7/2019 Raul Martinez Jimenez        $13.00   40.83   $   11.10              $     5.42   $       5.42
 7/14/2019 Raul Martinez Jimenez        $13.00   64.70   $   11.10              $   160.55   $     160.55
 7/21/2019 Raul Martinez Jimenez        $13.00   63.42   $   11.10              $   152.21   $     152.21
 7/28/2019 Raul Martinez Jimenez        $13.00   64.22   $   11.10              $   157.41   $     157.41
  8/4/2019 Raul Martinez Jimenez        $13.00   56.52   $   11.10              $   107.36   $     107.36
 8/11/2019 Raul Martinez Jimenez        $13.00   40.72   $   11.10              $     4.66   $       4.66
 8/18/2019 Raul Martinez Jimenez        $13.00   63.37   $   11.10              $   151.88   $     151.88
 8/25/2019 Raul Martinez Jimenez        $13.00   66.63   $   11.10              $   173.12   $     173.12
  9/1/2019 Raul Martinez Jimenez        $13.00   64.68   $   11.10              $   160.44   $     160.44
  9/8/2019 Raul Martinez Jimenez        $13.00   54.92   $   11.10              $    96.96   $      96.96
 9/15/2019 Raul Martinez Jimenez        $13.00   58.08   $   11.10              $   117.54   $     117.54
 9/22/2019 Raul Martinez Jimenez        $13.00   64.93   $   11.10              $   162.07   $     162.07
 9/29/2019 Raul Martinez Jimenez        $13.00   64.33   $   11.10              $   158.17   $     158.17
10/20/2019 Raul Martinez Jimenez        $13.00   58.05   $   11.10              $   117.33   $     117.33
10/27/2019 Raul Martinez Jimenez        $13.00   60.08   $   11.10              $   130.54   $     130.54
 11/3/2019 Raul Martinez Jimenez        $13.00   53.63   $   11.10              $    88.62   $      88.62
11/10/2019 Raul Martinez Jimenez        $13.00   57.98   $   11.10              $   116.89   $     116.89
11/17/2019 Raul Martinez Jimenez        $13.00   59.12   $   11.10              $   124.26   $     124.26
11/24/2019 Raul Martinez Jimenez        $13.00   58.17   $   11.10              $   118.08   $     118.08


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                                                Exhibit 6
                                   New York State (Other) Computations

  Week                                                     State     Section 7: Section 7: Total Section 7
                                        Hourly Hours/
 Ending               Name                               Minimum      Regular Half-Time Overtime Back
                                         Rate Week
  Date                                                    Wage       Rate Due     Due       Wages Due
 12/1/2019 Raul Martinez Jimenez        $13.00   48.67   $   11.10              $    56.33   $      56.33
 12/8/2019 Raul Martinez Jimenez        $13.00   52.10   $   11.10              $    78.65   $      78.65
12/15/2019 Raul Martinez Jimenez        $13.00   58.63   $   11.10              $   121.12   $     121.12
12/22/2019 Raul Martinez Jimenez        $13.00   59.87   $   11.10              $   129.13   $     129.13
12/29/2019 Raul Martinez Jimenez        $13.00   49.22   $   11.10              $    59.91   $      59.91
 1/12/2020 Raul Martinez Jimenez        $13.00   60.78   $   11.80              $   135.09   $     135.09
 1/19/2020 Raul Martinez Jimenez        $13.00   59.67   $   11.80              $   127.83   $     127.83
 1/26/2020 Raul Martinez Jimenez        $13.00   58.05   $   11.80              $   117.33   $     117.33
12/30/2018 Raul Perez Rosario            $9.50   45.32   $   10.40   $ 40.79    $    27.65   $      68.43
  1/6/2019 Raul Perez Rosario            $9.50   48.30   $   11.10   $ 77.28    $    46.07   $     123.35
 1/13/2019 Raul Perez Rosario            $9.50   60.55   $   11.10   $ 96.88    $   114.05   $     210.93
 1/20/2019 Raul Perez Rosario            $9.50   61.00   $   11.10   $ 97.60    $   116.55   $     214.15
 1/27/2019 Raul Perez Rosario            $9.50   48.42   $   11.10   $ 77.47    $    46.71   $     124.18
  2/3/2019 Raul Perez Rosario            $9.50   50.33   $   11.10   $ 80.53    $    57.35   $     137.88
 2/10/2019 Raul Perez Rosario            $9.50   62.53   $   11.10   $ 100.05   $   125.06   $     225.11
 2/17/2019 Raul Perez Rosario            $9.50   56.43   $   11.10   $ 90.29    $    91.21   $     181.50
 2/24/2019 Raul Perez Rosario            $9.50   62.32   $   11.10   $ 99.71    $   123.86   $     223.56
  3/3/2019 Raul Perez Rosario            $9.50   62.70   $   11.10   $ 100.32   $   125.99   $     226.31
 3/10/2019 Raul Perez Rosario            $9.50   60.73   $   11.10   $ 97.17    $   115.07   $     212.24
 3/17/2019 Raul Perez Rosario            $9.50   60.75   $   11.10   $ 97.20    $   115.16   $     212.36
 3/31/2019 Raul Perez Rosario            $9.50   60.98   $   11.10   $ 97.57    $   116.46   $     214.03
  4/7/2019 Raul Perez Rosario            $9.50   62.32   $   11.10   $ 99.71    $   123.86   $     223.56
 4/14/2019 Raul Perez Rosario            $9.50   59.52   $   11.10   $ 95.23    $   108.32   $     203.54
 4/21/2019 Raul Perez Rosario            $9.50   60.37   $   11.10   $ 96.59    $   113.04   $     209.62
 4/28/2019 Raul Perez Rosario            $9.50   60.37   $   11.10   $ 96.59    $   113.04   $     209.62
  5/5/2019 Raul Perez Rosario            $9.50   59.20   $   11.10   $ 94.72    $   106.56   $     201.28
 5/12/2019 Raul Perez Rosario            $9.50   60.47   $   11.10   $ 96.75    $   113.59   $     210.34
 5/19/2019 Raul Perez Rosario            $9.50   56.53   $   11.10   $ 90.45    $    91.76   $     182.21
 5/26/2019 Raul Perez Rosario            $9.50   47.92   $   11.10   $ 76.67    $    43.94   $     120.60
  6/2/2019 Raul Perez Rosario            $9.50   50.75   $   11.10   $ 81.20    $    59.66   $     140.86
 6/16/2019 Raul Perez Rosario            $9.50   60.82   $   11.10   $ 97.31    $   115.53   $     212.84
 6/23/2019 Raul Perez Rosario            $9.50   59.82   $   11.10   $ 95.71    $   109.98   $     205.69
 6/30/2019 Raul Perez Rosario            $9.50   63.88   $   11.10   $ 102.21   $   132.55   $     234.77
 7/14/2019 Raul Perez Rosario           $10.50   51.93   $   11.10   $ 31.16    $    66.23   $      97.39
 8/11/2019 Raul Perez Rosario           $10.50   61.42   $   11.10   $ 36.85    $   118.86   $     155.71
 8/18/2019 Raul Perez Rosario           $10.50   61.57   $   11.10   $ 36.94    $   119.70   $     156.64
 8/25/2019 Raul Perez Rosario           $10.50   62.73   $   11.10   $ 37.64    $   126.17   $     163.81
  9/1/2019 Raul Perez Rosario           $10.50   60.12   $   11.10   $ 36.07    $   111.65   $     147.72
  9/8/2019 Raul Perez Rosario           $10.50   50.25   $   11.10   $ 30.15    $    56.89   $      87.04
 9/15/2019 Raul Perez Rosario           $10.50   62.37   $   11.10   $ 37.42    $   124.14   $     161.56
 9/22/2019 Raul Perez Rosario           $10.50   61.15   $   11.10   $ 36.69    $   117.38   $     154.07
 9/29/2019 Raul Perez Rosario           $10.50   60.02   $   11.10   $ 36.01    $   111.09   $     147.10
 10/6/2019 Raul Perez Rosario           $10.50   61.23   $   11.10   $ 36.74    $   117.85   $     154.59
10/13/2019 Raul Perez Rosario           $10.50   63.35   $   11.10   $ 38.01    $   129.59   $     167.60
10/20/2019 Raul Perez Rosario           $11.00   60.32   $   11.10   $   6.03   $   112.76   $     118.79
10/27/2019 Raul Perez Rosario           $11.00   60.43   $   11.10   $   6.04   $   113.41   $     119.45
 11/3/2019 Raul Perez Rosario           $11.00   62.25   $   11.10   $   6.22   $   123.49   $     129.71
11/10/2019 Raul Perez Rosario           $11.00   60.90   $   11.10   $   6.09   $   116.00   $     122.09


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                                              Exhibit 6
                                 New York State (Other) Computations

  Week                                                     State     Section 7: Section 7: Total Section 7
                                        Hourly Hours/
 Ending              Name                                Minimum      Regular Half-Time Overtime Back
                                         Rate Week
  Date                                                    Wage       Rate Due     Due       Wages Due
11/17/2019 Raul Perez Rosario           $11.00   61.77   $   11.10   $    6.18   $   120.81   $    126.98
11/24/2019 Raul Perez Rosario           $11.00   52.02   $   11.10   $    5.20   $    66.69   $     71.89
 12/1/2019 Raul Perez Rosario           $11.00   49.13   $   11.10   $    4.91   $    50.69   $     55.60
 12/8/2019 Raul Perez Rosario           $11.00   58.95   $   11.10   $    5.89   $   105.17   $    111.07
12/15/2019 Raul Perez Rosario           $10.50   60.68   $   11.10   $   36.41   $   114.79   $    151.20
12/22/2019 Raul Perez Rosario           $10.50   51.27   $   11.10   $   30.76   $    62.53   $     93.29
12/29/2019 Raul Perez Rosario           $10.50   47.25   $   11.10   $   28.35   $    40.24   $     68.59
  1/5/2020 Raul Perez Rosario           $10.50   48.87   $   11.80   $   63.53   $    52.31   $    115.84
 1/12/2020 Raul Perez Rosario           $10.50   62.90   $   11.80   $   81.77   $   135.11   $    216.88
 1/19/2020 Raul Perez Rosario           $10.50   62.10   $   11.80   $   80.73   $   130.39   $    211.12
 1/26/2020 Raul Perez Rosario           $10.50   61.73   $   11.80   $   80.25   $   128.23   $    208.48
 3/25/2018 Roberto Sanchez - New Cars   $12.50   53.92   $   10.40               $    86.98   $     86.98
  4/1/2018 Roberto Sanchez - New Cars   $12.50   46.92   $   10.40               $    43.23   $     43.23
  4/8/2018 Roberto Sanchez - New Cars   $12.50   59.25   $   10.40               $   120.31   $    120.31
 4/15/2018 Roberto Sanchez - New Cars   $12.50   55.17   $   10.40               $    94.79   $     94.79
 4/22/2018 Roberto Sanchez - New Cars   $12.50   58.70   $   10.40               $   116.88   $    116.88
 4/29/2018 Roberto Sanchez - New Cars   $12.50   54.95   $   10.40               $    93.44   $     93.44
  5/6/2018 Roberto Sanchez - New Cars   $12.50   52.87   $   10.40               $    80.42   $     80.42
 5/13/2018 Roberto Sanchez - New Cars   $12.50   47.17   $   10.40               $    44.79   $     44.79
 5/20/2018 Roberto Sanchez - New Cars   $12.50   55.47   $   10.40               $    96.67   $     96.67
 5/27/2018 Roberto Sanchez - New Cars   $12.50   47.10   $   10.40               $    44.38   $     44.38
 6/10/2018 Roberto Sanchez - New Cars   $12.50   53.65   $   10.40               $    85.31   $     85.31
 6/17/2018 Roberto Sanchez - New Cars   $12.50   59.75   $   10.40               $   123.44   $    123.44
 6/24/2018 Roberto Sanchez - New Cars   $12.50   49.17   $   10.40               $    57.29   $     57.29
  7/1/2018 Roberto Sanchez - New Cars   $12.50   48.58   $   10.40               $    53.65   $     53.65
 7/15/2018 Roberto Sanchez - New Cars   $12.50   48.75   $   10.40               $    54.69   $     54.69
 7/22/2018 Roberto Sanchez - New Cars   $12.50   57.28   $   10.40               $   108.02   $    108.02
 7/29/2018 Roberto Sanchez - New Cars   $12.50   69.82   $   10.40               $   186.35   $    186.35
  8/5/2018 Roberto Sanchez - New Cars   $12.50   71.03   $   10.40               $   193.96   $    193.96
 8/12/2018 Roberto Sanchez - New Cars   $12.50   54.90   $   10.40               $    93.13   $     93.13
 10/6/2019 Ruben Alfonso Ramos Lopez    $12.00   58.42   $   11.10               $   110.50   $    110.50
10/13/2019 Ruben Alfonso Ramos Lopez    $12.00   50.05   $   11.10               $    60.30   $     60.30
10/20/2019 Ruben Alfonso Ramos Lopez    $12.00   61.33   $   11.10               $   128.00   $    128.00
10/27/2019 Ruben Alfonso Ramos Lopez    $12.00   61.28   $   11.10               $   127.70   $    127.70
 11/3/2019 Ruben Alfonso Ramos Lopez    $12.00   62.25   $   11.10               $   133.50   $    133.50
11/10/2019 Ruben Alfonso Ramos Lopez    $12.00   60.30   $   11.10               $   121.80   $    121.80
11/17/2019 Ruben Alfonso Ramos Lopez    $12.00   51.08   $   11.10               $    66.50   $     66.50
11/24/2019 Ruben Alfonso Ramos Lopez    $12.00   60.92   $   11.10               $   125.50   $    125.50
 12/1/2019 Ruben Alfonso Ramos Lopez    $12.00   51.68   $   11.10               $    70.10   $     70.10
 12/8/2019 Ruben Alfonso Ramos Lopez    $12.00   59.57   $   11.10               $   117.40   $    117.40
12/15/2019 Ruben Alfonso Ramos Lopez    $12.00   61.48   $   11.10               $   128.90   $    128.90
12/22/2019 Ruben Alfonso Ramos Lopez    $12.00   61.30   $   11.10               $   127.80   $    127.80
12/29/2019 Ruben Alfonso Ramos Lopez    $12.00   40.18   $   11.10               $     1.10   $      1.10
  1/5/2020 Ruben Alfonso Ramos Lopez    $12.00   50.28   $   11.80               $    61.70   $     61.70
 1/12/2020 Ruben Alfonso Ramos Lopez    $12.00   62.72   $   11.80               $   136.30   $    136.30
 1/19/2020 Ruben Alfonso Ramos Lopez    $12.00   61.82   $   11.80               $   130.90   $    130.90
 1/26/2020 Ruben Alfonso Ramos Lopez    $12.00   61.83   $   11.80               $   131.00   $    131.00
10/22/2017 Sonny Herrera                $11.50   46.87   $    9.70               $    39.48   $     39.48


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                                                 Exhibit 6
                                    New York State (Other) Computations

  Week                                                      State     Section 7: Section 7: Total Section 7
                                         Hourly Hours/
 Ending              Name                                 Minimum      Regular Half-Time Overtime Back
                                          Rate Week
  Date                                                     Wage       Rate Due     Due       Wages Due
10/29/2017 Sonny Herrera                 $11.50   46.13   $    9.70               $    35.27   $     35.27
 11/5/2017 Sonny Herrera                 $11.50   46.03   $    9.70               $    34.69   $     34.69
11/12/2017 Sonny Herrera                 $11.50   46.93   $    9.70               $    39.87   $     39.87
11/19/2017 Sonny Herrera                 $11.50   47.93   $    9.70               $    45.62   $     45.62
 12/3/2017 Steven Kennedy                $11.50   46.00   $    9.70               $    34.50   $     34.50
12/10/2017 Steven Kennedy                $11.50   53.72   $    9.70               $    78.87   $     78.87
 8/25/2019 Timothy David Ferguson        $12.25   62.97   $   11.10               $   140.67   $    140.67
  9/1/2019 Timothy David Ferguson        $12.25   58.47   $   11.10               $   113.11   $    113.11
  9/8/2019 Timothy David Ferguson        $12.25   58.47   $   11.10               $   113.11   $    113.11
 9/15/2019 Timothy David Ferguson        $12.25   69.83   $   11.10               $   182.73   $    182.73
 9/22/2019 Timothy David Ferguson        $12.25   70.37   $   11.10               $   186.00   $    186.00
 9/29/2019 Timothy David Ferguson        $12.25   75.28   $   11.10               $   216.11   $    216.11
 10/6/2019 Timothy David Ferguson        $12.25   49.87   $   11.10               $    60.43   $     60.43
10/13/2019 Timothy David Ferguson        $12.25   67.82   $   11.10               $   170.38   $    170.38
10/20/2019 Timothy David Ferguson        $12.25   66.32   $   11.10               $   161.19   $    161.19
10/27/2019 Timothy David Ferguson        $12.25   59.33   $   11.10               $   118.42   $    118.42
 11/3/2019 Timothy David Ferguson        $12.25   66.55   $   11.10               $   162.62   $    162.62
11/10/2019 Timothy David Ferguson        $12.25   58.58   $   11.10               $   113.82   $    113.82
11/17/2019 Timothy David Ferguson        $12.25   68.95   $   11.10               $   177.32   $    177.32
11/24/2019 Timothy David Ferguson        $12.25   60.67   $   11.10               $   126.58   $    126.58
 12/1/2019 Timothy David Ferguson        $12.25   61.85   $   11.10               $   133.83   $    133.83
 12/8/2019 Timothy David Ferguson        $12.25   53.13   $   11.10               $    80.44   $     80.44
12/15/2019 Timothy David Ferguson        $12.25   63.67   $   11.10               $   144.96   $    144.96
12/22/2019 Timothy David Ferguson        $12.25   55.82   $   11.10               $    96.88   $     96.88
12/29/2019 Timothy David Ferguson        $12.25   56.35   $   11.10               $   100.14   $    100.14
  1/5/2020 Timothy David Ferguson        $12.25   48.75   $   11.80               $    53.59   $     53.59
 1/12/2020 Timothy David Ferguson        $12.25   71.33   $   11.80               $   191.92   $    191.92
 1/19/2020 Timothy David Ferguson        $12.25   54.13   $   11.80               $    86.57   $     86.57
 1/26/2020 Timothy David Ferguson        $12.25   65.97   $   11.80               $   159.05   $    159.05
 8/18/2019 Tomell Hill                   $11.50   57.15   $   11.10               $    98.61   $     98.61
 8/25/2019 Tomell Hill                   $11.50   57.45   $   11.10               $   100.34   $    100.34
  9/1/2019 Tomell Hill                   $11.50   58.30   $   11.10               $   105.23   $    105.23
  9/8/2019 Tomell Hill                   $11.50   55.27   $   11.10               $    87.78   $     87.78
 9/15/2019 Tomell Hill                   $11.50   57.55   $   11.10               $   100.91   $    100.91
 9/22/2019 Tomell Hill                   $11.50   53.45   $   11.10               $    77.34   $     77.34
 9/29/2019 Tomell Hill                   $11.50   43.07   $   11.10               $    17.63   $     17.63
 10/6/2019 Tomell Hill                   $11.50   43.27   $   11.10               $    18.78   $     18.78
 11/3/2019 Tomell Hill                   $11.80   52.82   $   11.10               $    75.62   $     75.62
11/17/2019 Tomell Hill                   $11.80   50.73   $   11.10               $    63.33   $     63.33
11/24/2019 Tomell Hill                   $11.80   55.67   $   11.10               $    92.43   $     92.43
 12/8/2019 Tomell Hill                   $11.80   47.67   $   11.10               $    45.23   $     45.23
12/15/2019 Tomell Hill                   $11.50   47.55   $   11.10               $    43.41   $     43.41
12/22/2019 Tomell Hill                   $11.50   55.82   $   11.10               $    90.95   $     90.95
  1/5/2020 Tomell Hill                   $11.50   46.28   $   11.80   $   13.89   $    37.07   $     50.96
 1/12/2020 Tomell Hill                   $11.50   59.42   $   11.80   $   17.83   $   114.56   $    132.38
 1/19/2020 Tomell Hill                   $11.50   58.70   $   11.80   $   17.61   $   110.33   $    127.94
 1/26/2020 Tomell Hill                   $11.50   61.33   $   11.80   $   18.40   $   125.87   $    144.27
 7/21/2019 Umar Johnson                  $11.50   45.52   $   11.10               $    31.72   $     31.72


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                                           Exhibit 6
                              New York State (Other) Computations

  Week                                                State     Section 7: Section 7: Total Section 7
                                   Hourly Hours/
 Ending                Name                         Minimum      Regular Half-Time Overtime Back
                                    Rate Week
  Date                                               Wage       Rate Due     Due       Wages Due
 7/28/2019 Umar Johnson            $11.50   44.35   $   11.10              $ 25.01    $        25.01
 8/11/2019 Umar Johnson            $11.50   41.65   $   11.10              $   9.49   $         9.49
 8/25/2019 Umar Johnson            $11.50   43.28   $   11.10              $ 18.88    $        18.88
 4/21/2019 Victor Martinez         $11.50   51.95   $   11.10              $ 68.71    $        68.71
 4/28/2019 Victor Martinez         $11.50   45.57   $   11.10              $ 32.01    $        32.01
  5/5/2019 Victor Martinez         $11.50   52.98   $   11.10              $ 74.65    $        74.65
 5/12/2019 Victor Martinez         $11.50   54.35   $   11.10              $ 82.51    $        82.51
 5/19/2019 Victor Martinez         $11.50   45.48   $   11.10              $ 31.53    $        31.53
 5/26/2019 Victor Martinez         $11.50   54.12   $   11.10              $ 81.17    $        81.17
  6/9/2019 Victor Martinez         $11.50   55.27   $   11.10              $ 87.78    $        87.78
 6/16/2019 Victor Martinez         $11.50   47.58   $   11.10              $ 43.60    $        43.60
 1/28/2018 Walter Caston           $11.00   45.18   $   10.40              $ 28.51    $        28.51
  2/4/2018 Walter Caston           $11.00   48.58   $   10.40              $ 47.21    $        47.21
 2/11/2018 Walter Caston           $11.00   46.28   $   10.40              $ 34.56    $        34.56
 2/18/2018 Walter Caston           $11.00   40.05   $   10.40              $   0.28   $         0.28
 2/25/2018 Walter Caston           $11.00   47.72   $   10.40              $ 42.44    $        42.44
  3/4/2018 Walter Caston           $11.00   45.90   $   10.40              $ 32.45    $        32.45
 3/25/2018 Walter Caston           $11.00   42.78   $   10.40              $ 15.31    $        15.31
  4/8/2018 Walter Caston           $11.00   45.87   $   10.40              $ 32.27    $        32.27
 4/15/2018 Walter Caston           $11.00   48.78   $   10.40              $ 48.31    $        48.31
 4/22/2018 Walter Caston           $11.00   43.33   $   10.40              $ 18.33    $        18.33
 4/29/2018 Walter Caston           $11.00   41.12   $   10.40              $   6.14   $         6.14
  5/6/2018 Walter Caston           $11.00   53.35   $   10.40              $ 73.43    $        73.43
 5/13/2018 Walter Caston           $11.00   41.37   $   10.40              $   7.52   $         7.52
 5/27/2018 Walter Caston           $11.00   44.45   $   10.40              $ 24.48    $        24.48
  6/3/2018 Walter Caston           $11.00   45.40   $   10.40              $ 29.70    $        29.70
 6/10/2018 Walter Caston           $11.00   42.18   $   10.40              $ 12.01    $        12.01
 6/17/2018 Walter Caston           $11.00   41.03   $   10.40              $   5.68   $         5.68
 6/24/2018 Walter Caston           $11.00   47.40   $   10.40              $ 40.70    $        40.70
  7/1/2018 Walter Caston           $11.00   44.30   $   10.40              $ 23.65    $        23.65
  7/8/2018 Walter Caston           $11.00   41.60   $   10.40              $   8.80   $         8.80
 7/15/2018 Walter Caston           $11.00   44.03   $   10.40              $ 22.18    $        22.18
 7/22/2018 Walter Caston           $11.00   54.60   $   10.40              $ 80.30    $        80.30
 7/29/2018 Walter Caston           $11.00   54.32   $   10.40              $ 78.74    $        78.74
  8/5/2018 Walter Caston           $11.00   55.15   $   10.40              $ 83.33    $        83.33
 8/12/2018 Walter Caston           $11.00   55.02   $   10.40              $ 82.59    $        82.59
 8/19/2018 Walter Caston           $11.00   50.17   $   10.40              $ 55.92    $        55.92
 8/26/2018 Walter Caston           $11.00   44.65   $   10.40              $ 25.58    $        25.58
  9/2/2018 Walter Caston           $11.00   44.67   $   10.40              $ 25.67    $        25.67
  9/9/2018 Walter Caston           $11.00   45.97   $   10.40              $ 32.82    $        32.82
 9/16/2018 Walter Caston           $11.00   50.32   $   10.40              $ 56.74    $        56.74
 9/23/2018 Walter Caston           $11.00   46.07   $   10.40              $ 33.37    $        33.37
 9/30/2018 Walter Caston           $11.00   54.13   $   10.40              $ 77.73    $        77.73
 10/7/2018 Walter Caston           $11.00   57.38   $   10.40              $ 95.61    $        95.61
10/14/2018 Walter Caston           $11.00   57.72   $   10.40              $ 97.44    $        97.44
10/21/2018 Walter Caston           $11.00   59.48   $   10.40              $ 107.16   $       107.16
10/28/2018 Walter Caston           $11.00   45.15   $   10.40              $ 28.33    $        28.33
 11/4/2018 Walter Caston           $11.00   56.68   $   10.40              $ 91.76    $        91.76


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                                        Exhibit 6
                           New York State (Other) Computations

  Week                                             State     Section 7: Section 7: Total Section 7
                                Hourly Hours/
 Ending             Name                         Minimum      Regular Half-Time Overtime Back
                                 Rate Week
  Date                                            Wage       Rate Due     Due       Wages Due
11/11/2018 Walter Caston        $11.00   55.53   $   10.40               $    85.43   $     85.43
11/18/2018 Walter Caston        $11.00   55.80   $   10.40               $    86.90   $     86.90
 12/2/2018 Walter Caston        $11.00   57.03   $   10.40               $    93.68   $     93.68
 12/9/2018 Walter Caston        $11.00   47.57   $   10.40               $    41.62   $     41.62
12/16/2018 Walter Caston        $11.00   46.22   $   10.40               $    34.19   $     34.19
12/23/2018 Walter Caston        $11.00   57.22   $   10.40               $    94.69   $     94.69
 1/13/2019 Walter Caston        $11.00   45.02   $   11.10   $    4.50   $    27.84   $     32.34
 1/20/2019 Walter Caston        $11.00   55.30   $   11.10   $    5.53   $    84.91   $     90.44
 1/27/2019 Walter Caston        $11.00   57.25   $   11.10   $    5.72   $    95.74   $    101.46
  2/3/2019 Walter Caston        $11.00   46.02   $   11.10   $    4.60   $    33.39   $     37.99
 2/10/2019 Walter Caston        $11.00   47.13   $   11.10   $    4.71   $    39.59   $     44.30
 2/17/2019 Walter Caston        $11.00   47.57   $   11.10   $    4.76   $    42.00   $     46.75
 2/24/2019 Walter Caston        $11.00   42.17   $   11.10   $    4.22   $    12.03   $     16.24
 3/10/2019 Walter Caston        $11.00   51.43   $   11.10   $    5.14   $    63.46   $     68.60
 3/17/2019 Walter Caston        $11.00   51.88   $   11.10   $    5.19   $    65.95   $     71.14
 3/24/2019 Walter Caston        $11.00   42.23   $   11.10   $    4.22   $    12.40   $     16.62
 3/31/2019 Walter Caston        $11.00   43.68   $   11.10   $    4.37   $    20.44   $     24.81
 4/14/2019 Walter Caston        $11.00   44.42   $   11.10   $    4.44   $    24.51   $     28.95
 4/21/2019 Walter Caston        $11.00   47.38   $   11.10   $    4.74   $    40.98   $     45.72
  5/5/2019 Walter Caston        $11.00   51.98   $   11.10   $    5.20   $    66.51   $     71.71
 5/12/2019 Walter Caston        $11.00   42.55   $   11.10   $    4.25   $    14.15   $     18.41
 5/19/2019 Walter Caston        $11.00   49.78   $   11.10   $    4.98   $    54.30   $     59.28
 5/26/2019 Walter Caston        $11.00   41.20   $   11.10   $    4.12   $     6.66   $     10.78
  6/2/2019 Walter Caston        $11.00   43.33   $   11.10   $    4.33   $    18.50   $     22.83
  6/9/2019 Walter Caston        $11.00   54.33   $   11.10   $    5.43   $    79.55   $     84.98
 6/16/2019 Walter Caston        $11.00   54.65   $   11.10   $    5.46   $    81.31   $     86.77
 6/23/2019 Walter Caston        $11.00   53.68   $   11.10   $    5.37   $    75.94   $     81.31
 6/30/2019 Walter Caston        $11.00   54.87   $   11.10   $    5.49   $    82.51   $     88.00
  7/7/2019 Walter Caston        $11.00   46.57   $   11.10   $    4.66   $    36.45   $     41.10
 7/14/2019 Walter Caston        $11.00   57.60   $   11.10   $    5.76   $    97.68   $    103.44
 7/28/2019 Walter Caston        $11.00   56.82   $   11.10   $    5.68   $    93.33   $     99.01
  8/4/2019 Walter Caston        $11.00   58.20   $   11.10   $    5.82   $   101.01   $    106.83
 8/11/2019 Walter Caston        $11.00   54.85   $   11.10   $    5.48   $    82.42   $     87.90
 8/18/2019 Walter Caston        $11.00   51.23   $   11.10   $    5.12   $    62.35   $     67.47
 8/25/2019 Walter Caston        $11.00   40.87   $   11.10   $    4.09   $     4.81   $      8.90
  9/1/2019 Walter Caston        $11.00   56.07   $   11.10   $    5.61   $    89.17   $     94.78
  9/8/2019 Walter Caston        $11.00   40.97   $   11.10   $    4.10   $     5.37   $      9.46
 9/15/2019 Walter Caston        $11.00   54.10   $   11.10   $    5.41   $    78.26   $     83.66
 9/22/2019 Walter Caston        $11.00   47.05   $   11.10   $    4.70   $    39.13   $     43.83
  2/5/2017 Wayne Freeman        $15.00   46.50   $    9.70               $    48.75   $     48.75
 2/12/2017 Wayne Freeman        $15.00   49.95   $    9.70               $    74.63   $     74.63
 2/19/2017 Wayne Freeman        $15.00   42.18   $    9.70               $    16.38   $     16.38
 2/26/2017 Wayne Freeman        $15.00   54.90   $    9.70               $   111.75   $    111.75
  3/5/2017 Wayne Freeman        $15.00   47.23   $    9.70               $    54.25   $     54.25
 3/12/2017 Wayne Freeman        $15.00   56.55   $    9.70               $   124.13   $    124.13
 3/19/2017 Wayne Freeman        $15.00   45.18   $    9.70               $    38.88   $     38.88
 3/26/2017 Wayne Freeman        $15.00   51.77   $    9.70               $    88.25   $     88.25
 4/23/2017 Wayne Freeman        $15.00   53.53   $    9.70               $   101.50   $    101.50


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                                        Exhibit 6
                           New York State (Other) Computations

  Week                                             State     Section 7: Section 7: Total Section 7
                                Hourly Hours/
 Ending             Name                         Minimum      Regular Half-Time Overtime Back
                                 Rate Week
  Date                                            Wage       Rate Due     Due       Wages Due
 4/30/2017 Wayne Freeman        $15.00   47.33   $    9.70              $    55.00   $      55.00
  5/7/2017 Wayne Freeman        $15.00   54.03   $    9.70              $   105.25   $     105.25
 5/14/2017 Wayne Freeman        $15.00   45.52   $    9.70              $    41.38   $      41.38
 5/21/2017 Wayne Freeman        $15.00   59.07   $    9.70              $   143.00   $     143.00
 5/28/2017 Wayne Freeman        $15.00   57.85   $    9.70              $   133.88   $     133.88
  6/4/2017 Wayne Freeman        $15.00   51.93   $    9.70              $    89.50   $      89.50
 6/11/2017 Wayne Freeman        $15.00   53.73   $    9.70              $   103.00   $     103.00
  7/2/2017 Wayne Freeman        $15.00   44.08   $    9.70              $    30.63   $      30.63
 7/16/2017 Wayne Freeman        $15.00   47.82   $    9.70              $    58.63   $      58.63
 7/23/2017 Wayne Freeman        $15.00   43.55   $    9.70              $    26.63   $      26.63
  8/6/2017 Wayne Freeman        $15.00   55.95   $    9.70              $   119.63   $     119.63
 8/20/2017 Wayne Freeman        $15.00   55.97   $    9.70              $   119.75   $     119.75
 8/27/2017 Wayne Freeman        $15.00   54.93   $    9.70              $   112.00   $     112.00
 9/10/2017 Wayne Freeman        $15.00   40.78   $    9.70              $     5.87   $       5.87
 9/17/2017 Wayne Freeman        $15.00   49.37   $    9.70              $    70.25   $      70.25
 9/24/2017 Wayne Freeman        $15.00   57.37   $    9.70              $   130.25   $     130.25
 10/1/2017 Wayne Freeman        $15.00   58.90   $    9.70              $   141.75   $     141.75
10/15/2017 Wayne Freeman        $15.00   55.47   $    9.70              $   116.00   $     116.00
10/22/2017 Wayne Freeman        $15.00   61.22   $    9.70              $   159.13   $     159.13
10/29/2017 Wayne Freeman        $15.00   56.00   $    9.70              $   120.00   $     120.00
 11/5/2017 Wayne Freeman        $15.00   46.52   $    9.70              $    48.88   $      48.88
11/12/2017 Wayne Freeman        $15.00   53.23   $    9.70              $    99.25   $      99.25
11/19/2017 Wayne Freeman        $15.00   45.43   $    9.70              $    40.75   $      40.75
 12/3/2017 Wayne Freeman        $15.00   45.20   $    9.70              $    39.00   $      39.00
12/10/2017 Wayne Freeman        $15.00   51.27   $    9.70              $    84.50   $      84.50
12/17/2017 Wayne Freeman        $15.00   46.73   $    9.70              $    50.50   $      50.50
12/24/2017 Wayne Freeman        $15.00   50.92   $    9.70              $    81.88   $      81.88
12/31/2017 Wayne Freeman        $15.00   43.53   $   10.40              $    26.50   $      26.50
 1/14/2018 Wayne Freeman        $15.00   50.72   $   10.40              $    80.38   $      80.38
 1/21/2018 Wayne Freeman        $15.00   49.57   $   10.40              $    71.75   $      71.75
 1/28/2018 Wayne Freeman        $15.00   54.47   $   10.40              $   108.50   $     108.50
  2/4/2018 Wayne Freeman        $15.00   43.42   $   10.40              $    25.63   $      25.63
 2/11/2018 Wayne Freeman        $15.00   42.55   $   10.40              $    19.13   $      19.13
 2/18/2018 Wayne Freeman        $15.00   48.07   $   10.40              $    60.50   $      60.50
 2/25/2018 Wayne Freeman        $15.00   43.23   $   10.40              $    24.25   $      24.25
  3/4/2018 Wayne Freeman        $15.00   41.65   $   10.40              $    12.38   $      12.38
 3/25/2018 Wayne Freeman        $15.00   50.40   $   10.40              $    78.00   $      78.00
  4/1/2018 Wayne Freeman        $15.00   53.12   $   10.40              $    98.38   $      98.38
  4/8/2018 Wayne Freeman        $15.00   43.27   $   10.40              $    24.50   $      24.50
 4/15/2018 Wayne Freeman        $15.00   50.12   $   10.40              $    75.88   $      75.88
 4/29/2018 Wayne Freeman        $15.00   44.42   $   10.40              $    33.13   $      33.13
  5/6/2018 Wayne Freeman        $15.00   47.60   $   10.40              $    57.00   $      57.00
 5/20/2018 Wayne Freeman        $15.00   40.20   $   10.40              $     1.50   $       1.50
 5/27/2018 Wayne Freeman        $15.00   41.20   $   10.40              $     9.00   $       9.00
  6/3/2018 Wayne Freeman        $15.00   44.07   $   10.40              $    30.50   $      30.50
 6/10/2018 Wayne Freeman        $15.00   43.80   $   10.40              $    28.50   $      28.50
 7/29/2018 Wayne Freeman        $15.00   53.18   $   10.40              $    98.87   $      98.87
  8/4/2019 Wayne Freeman        $15.00   60.72   $   11.10              $   155.38   $     155.38


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                                         Exhibit 6
                            New York State (Other) Computations

  Week                                              State     Section 7: Section 7: Total Section 7
                                 Hourly Hours/
 Ending              Name                         Minimum      Regular Half-Time Overtime Back
                                  Rate Week
  Date                                             Wage       Rate Due     Due       Wages Due
 8/18/2019 Wayne Freeman         $15.00   63.05   $   11.10               $   172.88   $    172.88
 8/25/2019 Wayne Freeman         $15.00   50.88   $   11.10               $    81.63   $     81.63
  9/1/2019 Wayne Freeman         $15.00   51.88   $   11.10               $    89.13   $     89.13
  9/8/2019 Wayne Freeman         $15.00   54.92   $   11.10               $   111.88   $    111.88
 9/22/2019 Wayne Freeman         $15.00   40.20   $   11.10               $     1.50   $      1.50
 9/29/2019 Wayne Freeman         $15.00   42.85   $   11.10               $    21.38   $     21.38
 10/6/2019 Wayne Freeman         $15.00   48.40   $   11.10               $    63.00   $     63.00
  9/8/2019 Yohansi Tobias        $10.00   50.35   $   11.10   $   55.39   $    57.44   $    112.83
 9/15/2019 Yohansi Tobias        $10.00   60.70   $   11.10   $   66.77   $   114.89   $    181.66
 9/22/2019 Yohansi Tobias        $10.00   60.48   $   11.10   $   66.53   $   113.68   $    180.21
 9/29/2019 Yohansi Tobias        $10.00   61.07   $   11.10   $   67.17   $   116.92   $    184.09
 10/6/2019 Yohansi Tobias        $10.00   61.18   $   11.10   $   67.30   $   117.57   $    184.87
10/13/2019 Yohansi Tobias        $10.00   63.20   $   11.10   $   69.52   $   128.76   $    198.28
10/20/2019 Yohansi Tobias        $10.00   60.38   $   11.10   $   66.42   $   113.13   $    179.55
10/27/2019 Yohansi Tobias        $10.00   47.75   $   11.10   $   52.53   $    43.01   $     95.54
 11/3/2019 Yohansi Tobias        $10.00   51.07   $   11.10   $   56.17   $    61.42   $    117.59




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